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From:             Trey Wells
To:               "Brown, T. Michael"; "Bob Spotswood"; "William Paulk"; "Ken McNeil"; "Niewoehner, Christopher"
Cc:               Tony Davis; Ben Presley; "Sara Kropf"
Subject:          Emergency Request
Date:             Friday, August 14, 2015 11:03:47 AM
Attachments:      A9R29F (A9R29F.tmp;1).pdf



Mike and Defendants' counsel:
In light of the issues currently being investigated concerning Mr. Collingsworth's emails, we request that
Defendants be ordered to produce to us by the end of today the native form of the attached email
(outlined in red) from Mr. Collingsworth's Gmail account. As Defendants' expert just recently copied
that Gmail account, this should not be difficult to accomplish.
Regards,
Trey
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 1                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
 2                           SOUTHERN DIVISION

 3                         CASE NO. 2:11-cv-3695-RDP

 4

 5
       DRUMMOND COMPANY, INC.,
 6
                      Plaintiff ,
 7
       Vs.
 8
       TERRENCE P. COLLINGSWORTH,
 9     individually and as agent of Conrad &
       Scherer, LLP; and CONRAD & SCHERER,
10     LLP,
                  Defendants.
11     _____________________________________/

12

13
                                      Conrad & Scherer, LLP
14                                    633 South Federal Highway
                                      2nd Floor
15                                    Fort Lauderdale, Florida 33301
                                      Tuesday, August 25, 2015
16                                    9:11 a.m. - 3:45 p.m.
17

18            VIDEOTAPED DEPOSITION OF JUAN CARLOS RODRIGUEZ

19                             as 30(b)(6) witness

20                    Taken before Beverly Bourlier James,

21      Registered Professional Reporter, Certified Realtime

22      Reporter and Notary Public in and for the State of

23      Florida at Large, pursuant to Notice of Taking

24      Deposition filed in the above-mentioned cause.

25

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 1      APPEARANCES:

 2
                        H. THOMAS WELLS, III, ESQUIRE
 3                      twells@starneslaw.com
                        WILLIAM ANTHONY DAVIS, III, ESQUIRE
 4                      tdavis@starneslaw.com
                        BENJAMIN T. PRESLEY, ESQUIRE
 5                      bpresley@starneslaw.com
                        Starnes Davis Florie, LLP
 6                      P.O. Box 59812
                        Birmingham, Alabama 35259
 7                      on behalf of the Plaintiff

 8
                        ROBERT SPOTSWOOD, ESQUIRE
 9                      rks@spotswoodllc.com
                        Spotswood Sansom & Sansbury, LLC
10                      One Federal Place
                        1819 Fifth Avenue North, Suite 1050
11                      Birmingham, Alabama 35203

12                      -and-

13                      KENDALL ENYARD, ESQUIRE
                        kenyard@steptoe.com
14                      Steptoe & Johnson, LLP
                        115 S. LaSalle Street
15                      Suite 3100
                        Chicago, Illinois 60603
16                      on behalf of the Defendants
17
        ALSO PRESENT:
18
                       Al Frevola, Esquire
19                     Conrad & Scherer, LLP

20                     Justin Routt, videographer

21

22

23

24

25

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 1                     THE VIDEOGRAPHER:        We are now on the

 2            videotaped deposition in the United States

 3            District Court for the Northern District of

 4            Alabama, Southern Division, case 2:11-CV-3695-RDP

 5            in the matter of Drummond Company, Inc.,

 6            Plaintiff, versus Terrence P. Collingsworth,

 7            individually as an agent of Conrad & Scherer, LLP,

 8            and Conrad & Scherer, LLP, Defendants.

 9                     Our witness today is Juan Carlos

10            Rodriguez.      Today's date is August 25, 2015.             Time
11            is exactly 9:11 a.m.         We are located at 633 South

12            Federal Highway, Fort Lauderdale, Florida, 33301.

13                     Will all attorneys please introduce
14            themselves for the record and state who they

15            represent?

16                     MR. WELLS:      Trey Wells for Plaintiff
17            Drummond Company, Inc.

18                     MR. PRESLEY:       Ben Presley for the

19            Plaintiff Drummond Company.

20                     MR. DAVIS:      Tommy Davis for the Plaintiff.

21                     MR. SPOTSWOOD:       Robert Spotswood for

22            Terrence Collingsworth and Conrad & Scherer, LLP.

23                     MR. ENYARD:      Kendall Enyard for Defendants

24            Terrence Collingsworth and Conrad & Scherer, LLP.

25

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 1      THEREUPON:

 2                            JUAN CARLOS RODRIGUEZ

 3      called as a witness on behalf of the Plaintiff

 4      herein, duly sworn and responding "Yes," was examined

 5      and testified as follows:

 6                              DIRECT EXAMINATION

 7      BY MR. WELLS:

 8            Q.       Can you please state your name for the

 9      record?

10            A.       Juan Carlos Rodriguez.
11            Q.       Mr. Rodriguez, have you ever given a

12      deposition before?

13            A.       No.
14            Q.       Okay.    I'm sure you've been explained the

15      process, but I'll be asking you a series of questions

16      today.     Your duty here is to answer them truthfully
17      and to the best of your ability.              Do you understand

18      that?

19            A.       Yes, I do.

20            Q.       If I ask you a question that is unclear or

21      you're not entirely sure what I'm asking, I'll ask

22      you please let me know that so I can get you a

23      question you understand.           Will you please do that for

24      me?

25            A.       Absolutely.

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 1            Q.       Where do you currently work?

 2            A.       I work at Conrad & Scherer.

 3            Q.       In what --

 4            A.       In Fort Lauderdale.

 5            Q.       Okay.    In what capacity?

 6            A.       I am the IT director.

 7            Q.       How long have you held that position?

 8            A.       Since December 2010 with a brief

 9      interruption on October 2014.

10            Q.       Okay.    What was the brief interruption?
11            A.       I was offered a position on a different

12      company.      I went for the position, but I didn't like

13      the position, so I came back here.
14            Q.       Before you were IT director, did you work

15      in another capacity at Conrad & Scherer?

16            A.       No.
17            Q.       So your first employment with the firm was

18      in October of 2010?

19            A.       No.

20            Q.       Okay.    When was your first employment with

21      the firm?

22            A.       It was on December 2010.

23            Q.       December 2010.       I apologize.

24                     What job functions do you perform as an IT

25      director?

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 1            A.       I make sure that the systems are operating

 2      normally for the employees of the firm.

 3            Q.       Do you have responsibilities relating to

 4      upkeep of the e-mail server?

 5            A.       Yes.

 6            Q.       Do you have responsibilities concerning

 7      preservation of firm computers?

 8            A.       I wouldn't say it like that.            My

 9      responsibilities were to maintain the system so the

10      users can access their functions normally.
11            Q.       Okay.    Mr. Scherer told us yesterday there

12      was some sort of process in place when a firm

13      computer was changed out, that you or someone else in
14      IT would pull the hard drive out of that and maintain

15      the hard drive.        Is that correct?

16            A.       That is correct.
17            Q.       How long has that system been in place?

18            A.       For a long time.        We have done -- we have

19      preserved the hard drives for certain people.                  Since

20      I got here, we changed computers and we preserved the

21      hard drives for certain attorneys.              And

22      after -- yeah, that's my answer.

23            Q.       When you say "certain attorneys," are there

24      certain attorneys their hard drives are not

25      preserved?

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 1            A.       I wouldn't say like that.           There were a

 2      couple of cases where an attorney will stay here for

 3      like a month and the hard drive was not preserved.

 4            Q.       Okay.    Would it be fair to say that for

 5      attorneys that work here for some reasonable period

 6      of time, the process is to preserve their hard drive

 7      when they switch out from one computer to the other?

 8            A.       Yes.

 9            Q.       And you understand, do you not, that you

10      are here today both in your personal capacity as well
11      as a 30(b)(6) representative for the firm?

12            A.       Yes.

13                     (Plaintiff's Exhibit 1, notice, was marked
14      for Identification.)

15      BY MR. WELLS:

16            Q.       I'm going to show you what has been marked
17      as Exhibit 1 to your deposition, which is a copy of

18      the 30(b)(6) notice.          Have you seen this document

19      before?

20            A.       Yes, I have.

21            Q.       Okay.    Could you -- and you don't have to

22      actually read them out, but if you could just tell me

23      the numbers of the topics that you have done some

24      work to prepare to testify for?

25            A.       I'm sorry, can you ask me the question

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 1      again?

 2            Q.       Could you go through this notice and tell

 3      me the numbers of the topics that you are prepared to

 4      testify to today as 30(b)(6) representative?

 5            A.       Well, I don't recall exactly the numbers.

 6      I know the generalities of what -- of what I have

 7      been prepared for this declaration.

 8            Q.       Okay.    What are those generalities?

 9                     MR. SPOTSWOOD:       Trey, I mean, I have --

10            we've designated to you in writing what he would
11            be responsive to either in whole or in part.                     I

12            think he's always in part.           So, I mean, do you

13            want him to go through every paragraph of this
14            notice and then tell you what I've already told

15            you or something -- because I'm not going to

16            designate him, for example, on some topics.
17                     MR. WELLS:      Right.     And there was a little

18            bit of shifting yesterday as to who was testifying

19            to what.     There are a couple of things that Mr.

20            Scherer was designated and he said, well, Juan

21            Carlos would know more about that than me.                   I

22            think there was one where you specifically added

23            Juan Carlos to, so I really just want to know from

24            Juan Carlos in general what is he prepared to

25            testify about today.         I think he said he does not

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 1            remember the precise topics.

 2                     MR. SPOTSWOOD:       Well, I think the only

 3            thing I -- where I added him yesterday, if I'm not

 4            mistaken, was the topics 11 and 12, which were

 5            searches for documents, which is 11, and then 12

 6            was the knowledge and position regarding the

 7            computers and hard drives identified as missing in

 8            the April Williams report.           So, I mean, you could

 9            do whatever you want with the time we have here,

10            but I just -- you know, he's not designated for
11            all these topics.

12                     MR. WELLS:      I understand that.

13      BY MR. WELLS:
14            Q.       Could you tell me in your own words what

15      you feel you have prepared to testify for?

16                     MR. SPOTSWOOD:       Just go topic by topic.
17            If you have knowledge on the topics, tell him.

18                     THE WITNESS:       Okay.

19                     MR. SPOTSWOOD:       Don't tell him the

20            topic -- don't tell him what you know, identify

21            what topics you're prepared to address in whole or

22            in part.

23                     THE WITNESS:       I am prepared on topic

24            number 1, "Conrad & Scherer's effort to preserve

25            evidence for the libel case."

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 1                      I'm prepared in part on number 2, "Conrad

 2            & Scherer's policies and procedures regarding

 3            security and confidentiality of case-related

 4            information for the libel case."

 5                      I'm prepared for topic number 3, "Conrad &

 6            Scherer's policies and procedures regarding

 7            transfer and preservation of electronic data and

 8            files when employee, partners or officers

 9            transition from using an old computer to a new

10            computer since October 2009."
11                      Topic number 4, "Conrad & Scherer's

12            policies and procedures regarding

13            retention/disposal of computers and hard drives
14            since October 2011."

15                      Topic number 5, "Conrad & Scherer's

16            policies and procedures regarding the
17            retention/disposal of e-mails since October 2011."

18                      MR. SPOTSWOOD:        So, just to be clear,

19            these are topics that, you know, that he's saying

20            he is, in part, responsive to.              Okay.

21                      THE WITNESS:       Nothing on topic 6.

22                      MR. SPOTSWOOD:        He's not designated for 7.

23                      THE WITNESS:       Yes, and I don't think so as

24            well.

25                      Not 8.

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 1                     Nothing on 9.

 2                     Nothing on 10.

 3                     I'm prepared on number 11, "Conrad &

 4            Scherer's searches for documents in response to

 5            Drummond's written discovery request in this case

 6            from October 2011 through October 15, 2014."

 7                     I'm in part responsible for "Conrad &

 8            Scherer's knowledge and/or position regarding the

 9            computers and hard drives identified as missing in

10            the April 14, 2015 Williams report."
11                     Nothing on 13 -- well, partially on 13.

12            It's very limited, my position on this.

13                     Don't recall exactly on number 14.
14            "Conrad & Scherer's knowledge and/or position

15            regarding Mr. Collingsworth's missing e-mails."              I

16            don't think I'm responsible on that one, not fully
17            responsible on this.

18                     Number 15, "Conrad & Scherer's knowledge

19            and/or position regarding whether any employee,

20            agent, partner or executive other than Mr.

21            Collingsworth who performed any work Defendants'

22            litigation against Drummond has disposed of any

23            computers or hard drives during the pendency of

24            this case since October 2011."            I think I am

25            responsible on that.

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 1                     Number 16, "Conrad & Scherer's knowledge

 2            and position regarding whether any employee,

 3            agent, partner or executive other than Mr.

 4            Collingsworth who worked on litigation against

 5            Drummond has been unable to locate any of his or

 6            her e-mails since October 2011."

 7                     I'm not responsible on number 17.

 8      BY MR. WELLS:

 9            Q.       Okay.

10            A.       I -- and let me correct something for the
11      record.

12                     I think I am partially responsible on

13      number 8, "Conrad & Scherer's knowledge and position
14      regarding the truth or falsity of representations

15      regarding the scope, extent and nature of the

16      Defendants' searches for documents that are being
17      challenged in the sanctions hearing and which are

18      listed in Drummond's proposed findings of fact."

19            Q.       Thank you.

20                     What have you done to prepare to testify

21      as to those topics you listed?

22            A.       I had a meeting yesterday with counsel.

23            Q.       And I don't want to know anything you

24      discussed with counsel.           Did you interview anyone

25      within the firm?

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 1            A.       No.

 2            Q.       Is the extent of your preparation your

 3      meeting with counsel yesterday?

 4            A.       Yes.

 5            Q.       What type of e-mail server does Conrad &

 6      Scherer use?

 7            A.       Conrad & Scherer has an Exchange 2010

 8      server.

 9            Q.       Has that been in place your entire time

10      with the firm?
11            A.       No.

12            Q.       What was used prior to Exchange 2010?

13            A.       Exchange 2007.
14            Q.       And how long was that in place?

15            A.       I don't recall the exact date, but we did

16      a migration from Exchange 2007 to Exchange 2010
17      around April 2011.         Don't recall the exact date, I'm

18      sorry.

19            Q.       So, at least during the times that you have

20      been employed at the firm, the firm has used some

21      version of Microsoft Exchange?

22            A.       That is correct.

23            Q.       How is that system backed up?

24            A.       That system is backed up using Microsoft

25      Data Protection Manager.

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 1            Q.       And if you could explain for me how does

 2      that backup work?

 3            A.       Well, the backup takes a copy of the

 4      Exchange database and it stores it into local hard

 5      drives on the Data Protection Manager, DPM, server

 6      and retains a copy of those backups for 90 days.

 7            Q.       And then after 90 days, what happens?

 8            A.       They get overwritten.          I mean, that --

 9      when I set up this -- that happened when I set up the

10      system.
11            Q.       Okay.    How often are the backups of the

12      server made?

13            A.       Daily.
14            Q.       Daily, okay.

15                     So, every day, essentially a picture is

16      taken of what the server looks like on that day and
17      it's saved to this DPM backup?

18            A.       That is correct.

19            Q.       And that picture, so to speak, of what was

20      on the server at that day is retained for a period of

21      90 days after which, it's overwritten, is that

22      correct?

23                     MR. SPOTSWOOD:       I object to the form.          You

24            have to be very precise here about what time frame

25            you're talking about because the situation did

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 1            change over time.

 2                     MR. WELLS:      Okay.    I'm just trying to get

 3            a general picture right now.

 4                     MR. SPOTSWOOD:       Okay.

 5                     THE WITNESS:       Well, prior to the legal

 6            hold that it was in place, the server -- the

 7            snapshots were -- yeah, they leave snapshots and

 8            they were kept for 90 days.

 9      BY MR. WELLS:

10            Q.       Okay.    And you mention a legal hold.              When
11      was that put in place?

12            A.       On -- around late or early July 2014.

13            Q.       '14?
14            A.       Yes.

15            Q.       So, in 2011, 2012 and 2013, the server was

16      being backed up daily, correct?
17            A.       That's correct.

18            Q.       But those daily backups were only retained

19      for 90 days, is that right?

20            A.       That is correct.

21            Q.       Okay.    And there was no legal hold put on

22      the server prior to June or July of 2014, is that

23      right?

24                     MR. SPOTSWOOD:       Object to the form.

25                     You may answer.

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 1                     THE WITNESS:       We are pack rats.        We tell

 2            our users to keep everything in the servers.                 They

 3            don't delete anything.          They don't -- they are

 4            instructed to save everything onto the servers.

 5            That's our system.        That's the way that we keep

 6            our system.      We have everything stored into our

 7            servers, we tell the users to save case-related

 8            e-mails into our document management system, which

 9            is write protected every night so nobody can

10            delete anything from the server -- from the
11            document management system.           And there -- and the

12            system does not delete anything, so we keep

13            everything.
14      BY MR. WELLS:

15            Q.       But if a user for some reason did not save

16      case-related e-mails to the document management
17      system, the backup of those e-mails on the server

18      would only be retained for 90 days, is that correct?

19            A.       But the e-mails -- I wouldn't say that.

20      The e-mails will stay on the server.               The e-mails

21      will be stored on the server and they will be backed

22      up on the database server as well.

23            Q.       So if a user deletes an e-mail in 2011, for

24      example --

25            A.       Uh-huh.

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 1            Q.       -- that deleted e-mail will no longer exist

 2      on their computer, right?

 3            A.       No.    The e-mail will be deleted -- will be

 4      moved onto a deleted items folder on Outlook and

 5      then -- I mean, that's the first step for when a user

 6      deletes an e-mail.

 7            Q.       And then if they empty out the deleted

 8      items folder, that deleted e-mail is off their

 9      Outlook, right?

10            A.       Yes.
11            Q.       Now, that deleted item would still exist on

12      the server at least for a period of time, correct?

13            A.       That is correct.
14            Q.       But as of 2011, that period of time was

15      90 days, is that true?

16            A.       They were backed up onto the -- onto the
17      database server, onto the DPM server.

18            Q.       Which, after 90 days, would be overwritten,

19      correct?

20            A.       That's correct.

21                     MR. SPOTSWOOD:       I think we are having a

22            miscommunication here.

23      BY MR. WELLS:

24            Q.       Did you misunderstand my question?

25                     MR. SPOTSWOOD:       So -- what he's asking you

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 1            is if their -- if something goes into a deleted

 2            folder and it's not deleted from the deleted

 3            folder, do you still have a backup in your system

 4            of the deleted e-mail?

 5                     THE WITNESS:       Yes.

 6      BY MR. WELLS:

 7            Q.       That's not what I asked.

 8            A.       Can you -- can you repeat the question

 9      again?

10            Q.       All right.      Someone is working on their
11      computer, deletes an e-mail out of their Outlook and

12      then empties their deleted items folder.                You with me

13      so far?
14            A.       Yes.

15            Q.       That e-mail at that point is no longer in

16      that user's Outlook, correct?
17            A.       That is correct.

18            Q.       That deleted e-mail still exists on the

19      backup server, correct?

20            A.       It exists on Exchange.          There are

21      retention policies for Exchange that will keep the

22      dumpster for a period of time and that dumpster is

23      being backed up for 90 days.

24            Q.       Okay, but in 2011 after that 90-day period,

25      that deleted item that was backed up to the backup

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 1      server is overwritten, correct?

 2                     MR. ENYARD:      Objection to form.

 3                     MR. SPOTSWOOD:       Yes, sorry, my bad.

 4                     Objection to form.

 5                     THE WITNESS:       Can you ask the question

 6            again?

 7      BY MR. WELLS:

 8            Q.       Someone deletes something off their

 9      Outlook, it is still maintained on the backup server

10      that takes a picture of the server every day,
11      correct?

12            A.       Correct.

13            Q.       But it is only maintained on that backup
14      server for 90 days, correct?

15            A.       On October 2011, yes.

16            Q.       After which time, after the 90 days, it is
17      overwritten, correct?

18            A.       That is correct.

19            Q.       That deleted e-mail is no longer

20      recoverable at that point, correct?

21            A.       I mean, if a user -- there are multiple

22      ways to see this, and one of the ways is if there is

23      an e-mail that a user receives and it doesn't forward

24      it, he doesn't send to anybody on his team or he

25      doesn't get a reply, well, the e-mail wouldn't be

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 1      preserved.      It's just like an advertisement, you

 2      delete an advertisement, you don't forward it, you

 3      just delete it.

 4                     But if there is an e-mail that you get and

 5      you have to do something with it, you either forward

 6      it or you copy it to somebody or it was copied to

 7      somebody else within the e-mail system, yes, we will

 8      have a copy of that e-mail.

 9            Q.       All right.      I'm just trying to get an

10      understanding of how your system and the backup
11      works.     The advertisement you gave me an example of,

12      it's not forwarded to anybody, it just comes from an

13      outside source to someone's e-mail, they delete it
14      off their Outlook, it is saved in backup for 90 days

15      after which time it's overwritten, correct?

16            A.       That is correct.
17            Q.       And same -- even if it wasn't an

18      advertisement, if it was an e-mail from a client

19      outside the firm that was not forwarded to someone

20      else in the firm, once that is deleted and after the

21      90-day period, it's gone, correct?

22                     MR. SPOTSWOOD:       Objection to form.

23                     MR. ENYARD:      Objection.

24                     THE WITNESS:       Can I --

25                     MR. SPOTSWOOD:       No, you can go ahead and

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 1            answer.

 2                     THE WITNESS:       Can you ask the question

 3            again?

 4                     MR. WELLS:      Can you read it back?

 5                     (The Reporter read back the requested

 6      portion.)

 7                     THE WITNESS:       On October 2011, yes.

 8      BY MR. WELLS:

 9            Q.       Okay.    Now, sometimes people using Outlook

10      will utilize Outlook folders.             Do you know what I'm
11      talking about?

12            A.       Yes, sir.

13            Q.       Some people organize it, say if it's a
14      lawyer, they may organize it by case name and drag

15      from their inbox into a folder.

16            A.       That's correct.
17            Q.       In that case, someone drags a case-related

18      e-mail into a folder on their Outlook, what impact

19      does that have on that e-mail on the server, does it

20      pull it off of the server at that point?

21            A.       No.

22            Q.       Okay.    So even the folders are still

23      maintained on the server?

24            A.       Correct.

25            Q.       Just in the 90-day backup form or on the

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 1      active server?

 2            A.       On the active server.

 3            Q.       Okay.    And if someone were to drag from

 4      their inbox e-mails onto an external device, would

 5      those be removed from the active server?

 6            A.       First, how are you going to drag something

 7      to an external device?          I don't see that as a

 8      possibility.

 9            Q.       If someone plugs in, say, an external hard

10      drive.
11            A.       Correct.

12            Q.       You can select any number of e-mails,

13      highlight them, you understand that?
14            A.       Uh-huh, yes.

15            Q.       And you can drag those e-mails onto that

16      external device, correct?
17            A.       I don't think you can do that.

18            Q.       You don't think it makes a copy of those

19      e-mails onto the external device?

20            A.       No, I don't think you can do what you are

21      describing.

22            Q.       Okay.    All right.      We have identified one

23      possibility of an e-mail being removed from the

24      server and that is deleting it, right?

25                     MR. ENYARD:      Objection.

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 1                     THE WITNESS:       I'm sorry, can you -- can

 2            you -- so what are you saying?            I'm sorry.

 3      BY MR. WELLS:

 4            Q.       One possibility that we've discussed today

 5      of removing an e-mail from the Conrad & Scherer

 6      server is deleting it, right?

 7                     MR. SPOTSWOOD:       Objection to form.

 8                     You may answer.

 9                     THE WITNESS:       In order to delete an

10            e-mail, you have to do a double delete.                  You have
11            to delete the e-mail and then go into the deleted

12            folders and purge delete and then wait 90 days

13            and -- no, actually more than 90 days because it's
14            going to be backed up on the transport dumpster

15            for a certain period of time and wait 90 days

16            until that e-mail disappears.
17      BY MR. WELLS:

18            Q.       Okay.    So that's one way an e-mail can be

19      removed from the server, right?

20            A.       That is correct.

21            Q.       What other ways can e-mails be removed from

22      the Conrad & Scherer server?

23            A.       That's -- to my knowledge, that's the only

24      way.

25            Q.       We spoke a little while ago about transfer

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 1      of computers, a user has one computer for a period of

 2      time and they get a new computer.              I'd like to ask

 3      you a little bit about what goes on in that transfer.

 4      One thing I think Mr. Scherer said is the hard drive

 5      from the old computer is removed and then is it

 6      maintained in your department?

 7                     MR. SPOTSWOOD:       Object to the form.

 8                     You may answer.

 9                     THE WITNESS:       On which period of time?

10      BY MR. WELLS:
11            Q.       October 2011 through December 2013.

12            A.       They were preserved for certain cases.

13      And let me -- yeah, basically, they were -- they
14      were -- the hard drives were removed for certain

15      cases, yes.

16            Q.       Certain legal cases?
17            A.       No.    How do I say this?        I'm sorry.         As my

18      attorney told you before, my -- I have to translate

19      the question in my mind.           English is not my native

20      language.

21                     It's not for certain -- I'm sorry.

22            Q.       Let me see if I ask you this way:               You gave

23      us an example earlier of somebody that may work here

24      for a month.

25            A.       Yes.

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 1            Q.       You would not necessarily remove that

 2      person's hard drive.          Is that what you're referring

 3      to as far as in certain cases?

 4            A.       No, no, no, no.        What I am referring to is

 5      if there is a secretary that leaves, I mean, during

 6      that -- during that period of time, we wouldn't

 7      necessarily preserve the hard drive for that person.

 8            Q.       How about attorneys?

 9            A.       Usually we will preserve the hard drives.

10            Q.       Before preserving the hard drive, is there
11      any effort to transfer the data from the old computer

12      to the new computer?

13            A.       The way that the process works --
14                     MR. SPOTSWOOD:       I'm going to -- I'm going

15            to object to the form because you've now

16            transitioned, I think, from current employee, old,
17            new computer as opposed to somebody leaving.                 So

18            just -- I want clarity about what you're asking.

19      BY MR. WELLS:

20            Q.       Okay.    Well, let me ask you this way:             If

21      you have an attorney that's not leaving the firm --

22            A.       Uh-huh.

23            Q.       -- he's just transferring from one computer

24      to another --

25            A.       Correct.

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 1            Q.       -- is the hard drive from the old computer

 2      preserved?

 3            A.       In most of the cases, yes.

 4            Q.       Okay.     All right.      Same circumstances,

 5      attorney's staying at the firm but just switching

 6      from an old computer to a new computer.                 Before the

 7      hard drive is preserved, is there an effort made to

 8      transfer the data from the old computer to the new

 9      computer?

10            A.       The easiest way -- I wouldn't say it like
11      that.      What we do is a simple process.             It is let's

12      say an attorney is changing computers, so it's

13      quicker instead of transferring the data from one
14      computer to the other, we pull the old hard drive, we

15      connect it into the new computer and copy the data

16      from the old hard drive to the new computer, then we
17      preserve the hard drive.

18            Q.       Okay.     When you're doing that, do you copy

19      the entire hard drive or just selected data?

20            A.       I'll copy only the user profile which

21      stores the user data.          I don't copy the entire hard

22      drive, which will be programs and operating system

23      files.

24            Q.       Okay, but the user profile that's copied,

25      that would include any e-mails?

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 1            A.       We rely on a system -- Exchange is a

 2      system that relies on the server.              We sync the

 3      e-mails from the server.           We rely on a system that

 4      preserves everything on the server.               So when we copy

 5      the user's profile from one computer to another, yes,

 6      we copy all the data, but the e-mails will start

 7      syncing from the server, will be syncing whatever

 8      content is on the server.

 9            Q.       Okay, but the e-mails that are on that

10      person's old computer that are not stored solely on
11      the computer -- on the server, they are on the

12      computer, are those transferred over to the new

13      computer?
14                     MR. SPOTSWOOD:       Object to the form.

15                     You may answer.

16                     THE WITNESS:       The users will have
17            everything synced on the server before the

18            computer is even moved, so the primary repository

19            of the data, it's on the server.

20      BY MR. WELLS:

21            Q.       I understand that, but, for example, if

22      someone has a laptop, takes it on an airplane, it's

23      not connected to the server at that point if they

24      have no internet connection, would that be accurate?

25            A.       That is correct.

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 1            Q.       They could open up their Outlook and see

 2      whatever e-mails were already in their Outlook at

 3      that point, couldn't they -- could they not?

 4            A.       That is correct.

 5            Q.       Okay.    So those e-mails that exist on the

 6      computer and can be viewed without actually having to

 7      sync to the server --

 8            A.       Uh-huh.

 9            Q.       -- do those get transferred when you're

10      transferring data from the old computer to new
11      computer?

12                     MR. SPOTSWOOD:       Object to the form.

13                     You may answer.
14                     THE WITNESS:       When a user gets on a plane,

15            the data is on the server.           What works on the

16            computer is just a copy of whatever is on the
17            server, but the primary repository is on the

18            server.

19      BY MR. WELLS:

20            Q.       I understand that, but there is a copy on

21      the computer, right?

22            A.       That is correct.

23            Q.       Does that copy, is that part of the data

24      that is transferred from the old computer to the new

25      computer?

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 1                     MR. SPOTSWOOD:       Object to the form.

 2                     You may answer.

 3                     THE WITNESS:       The information -- I mean,

 4            the -- if you are referring to the local storage,

 5            that -- it wouldn't matter.           I mean, it will be

 6            copied, but it will be resynced the moment that it

 7            connects to the server.

 8      BY MR. WELLS:

 9            Q.       Okay.    Well, there may be duplication, but

10      there -- the copies on the computer will be
11      transferred over?

12                     MR. SPOTSWOOD:       Object to the form.

13      BY MR. WELLS:
14            Q.       Correct?

15                     MR. SPOTSWOOD:       Object to the form.

16                     THE WITNESS:       I think I already answered
17            the question.

18      BY MR. WELLS:

19            Q.       Well, if you would, please, answer that

20      question again.

21            A.       It is -- everything is synced from the

22      server.     The primary copy of the e-mails, the primary

23      repository of the e-mails is on the server.                    The

24      computer syncs with the server and grabs whatever is

25      on the server.        So if the e-mail file has been

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 1      copied, it will be, but it will be resynced with

 2      whatever is on the server.

 3            Q.       Okay.    When in this case were the e-mails

 4      of Bill Scherer searched?

 5            A.       Excuse me?

 6            Q.       When in this case were the e-mails of Bill

 7      Scherer first searched?

 8                     MR. SPOTSWOOD:       Object to the form.

 9                     You may answer.

10                     THE WITNESS:       E-mails from Bill Scherer on
11            this case?

12      BY MR. WELLS:

13            Q.       Yes.
14            A.       I don't recall -- I don't -- I don't know

15      the details on that.

16            Q.       All right.      We've been provided some
17      documentation showing certain Exchange Server

18      searches, if you're familiar with those.

19            A.       Yes, I'm familiar with those.

20            Q.       Outside of those Exchange Server searches,

21      do you have knowledge of any other searches that were

22      performed on the e-mails in this case?

23                     MR. SPOTSWOOD:       Object to the form.            I

24            actually request that you show the witness what

25            you're talking about with respect to the Exchange

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 1            Server documents in question.

 2                     MR. WELLS:      We are going to get there.

 3                     THE WITNESS:       So can you rephrase again?

 4            I'm sorry.      I'm not following the train of thought

 5            that you have right now.

 6      BY MR. WELLS:

 7            Q.       Were there searches performed of Conrad &

 8      Scherer individual's e-mails other than Exchange

 9      Server searches?

10            A.       On what --
11                     MR. SPOTSWOOD:       Object to the form.

12                     You may answer.

13                     THE WITNESS:       On what period of time?
14      BY MR. WELLS:

15            Q.       From October 2011 to the end of 2013.

16            A.       There were some searches on Conrad &
17      Scherer's e-mail servers and there were some searches

18      on the IRAdvocates servers.

19                     THE REPORTER:       On the what servers?

20                     THE WITNESS:       IRAdvocates.

21      BY MR. WELLS:

22            Q.       When were those searches performed?

23            A.       I don't recall the exact dates.             I know

24      there were some searches on June 2012 and some others

25      on September 2013, but I wouldn't say -- I know there

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 1      were more searches.

 2            Q.       Okay.

 3            A.       And those searches were preserved and

 4      stored and we still have copies of those searches.

 5            Q.       And those searches you just identified for

 6      me were done on the Exchange Server, is that right?

 7            A.       Yes.

 8                     I'm sorry, can I take a break?

 9                     MR. WELLS:      Sure.

10                     THE VIDEOGRAPHER:        Okay.     We are off the
11            record.     It's 9:51 p.m. -- a.m.

12                     (Brief recess was taken.)

13                     THE VIDEOGRAPHER:        We are back on record.
14            It is 10:01 a.m.

15                     MR. WELLS:      Mr. Rodriguez, before we

16            broke, we were discussing a little bit about
17            Exchange Server searches.           I'm going to show you

18            what's been marked as Exhibit 2.

19                     (Plaintiff's Exhibit 2, spreadsheet, was

20      marked for Identification.)

21      BY MR. WELLS:

22            Q.       Is that a spreadsheet that reflects

23      Exchange Server searches performed in this case?

24            A.       Give me a minute.

25            Q.       Take your time.

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 1            A.       This is going to take some time.                It's a

 2      large spreadsheet as you may have noticed.

 3                     Yes.

 4            Q.       Okay.    As we go through this document, just

 5      so we are both on the same page, you can see on the

 6      left-hand side, there's a column that has numbers in

 7      it.

 8            A.       Yes.

 9            Q.       And then on the top, there's a row that has

10      letters.
11            A.       Yes.

12            Q.       Okay.    When I try to direct you to a

13      particular box, I'll refer you to the number and
14      letter.

15            A.       Correct.

16            Q.       Okay.    Now, first of all, before we get
17      into this, is Conrad & Scherer aware of other

18      searches for Conrad & Scherer e-mails other than what

19      is reflected on this Exchange Server search

20      spreadsheet?

21                     MR. SPOTSWOOD:       Object to the form.

22                     You may answer.

23                     THE WITNESS:       These Excel spreadsheet only

24            refers, from what I am seeing, the searches done

25            only on Conrad & Scherer's e-mail server.

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 1      BY MR. WELLS:

 2            Q.       Okay.     So is the answer that you're aware

 3      of other searches that were done for e-mails?

 4            A.       Yes, there were other searches done.

 5            Q.       What were those searches?

 6                     MR. SPOTSWOOD:        Object to the form.

 7                     You may answer if you know.

 8                     THE WITNESS:       There were searches on the

 9            IRAdvocates e-mail server which are not reflected

10            on this spreadsheet.
11      BY MR. WELLS:

12            Q.       Okay.     When were those performed?

13            A.       There were many searches.            I don't recall
14      the dates.

15            Q.       Can you give me a year?

16            A.       2014.     I don't recall the dates.              Not the
17      year.      I don't remember in detail that information.

18      I may have to check.

19                     MR. SPOTSWOOD:        And just so you know, the

20            time frame that we're talking about here for

21            purposes of this deposition is not after, in my

22            understanding, October 15th of 2014.               That's not

23            what we are talking about here.

24                     THE WITNESS:       We are talking about

25            after --

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 1                     MR. SPOTSWOOD:       Pre-October --

 2                     THE WITNESS:       2011?

 3                     MR. SPOTSWOOD:       Pre-October 2014.

 4                     THE WITNESS:       2014.

 5                     MR. SPOTSWOOD:       Before that.

 6                     THE WITNESS:       There were searches done on

 7            that server.

 8                     MR. SPOTSWOOD:       Okay.

 9      BY MR. WELLS:

10            Q.       Where is the documentation reflecting those
11      searches?

12            A.       It's on the IRAdvocates server.

13            Q.       All right.      Was there a spreadsheet created
14      similar to this one to show those searches?

15            A.       I don't recall.

16            Q.       Were the searches that were performed on
17      the IRAdvocates server, whether in documentary form

18      or otherwise, provided to Dennis Williams for review?

19            A.       Excuse me, can you -- what is the question

20      again?

21            Q.       Were the searches that were performed on

22      the IRAdvocates server --

23            A.       Uh-huh.

24            Q.       -- provided to Dennis Williams for review?

25                     MR. SPOTSWOOD:       Object to the form.

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 1                     You may answer.

 2                     THE WITNESS:       I don't recall, but,

 3            actually, let me -- I think they were given to

 4            Dennis Williams, but I am not a hundred percent

 5            sure on that.

 6      BY MR. WELLS:

 7            Q.       When were these searches performed?

 8            A.       Again, I think I already answered that

 9      question.      The searches were done before

10      October 2014.
11            Q.       Were they done before January of 2014?

12            A.       As I stated to you before, I don't recall

13      the exact date.
14            Q.       Are you aware of any searches that were

15      done in the year 2013 on the IRAdvocates server?

16                     MR. SPOTSWOOD:       Object to the form.
17                     You may answer.

18                     THE WITNESS:       I don't recall.       I will have

19            to see that information.

20      BY MR. WELLS:

21            Q.       So this spreadsheet that we are looking at

22      here which is Exhibit 2 would reflect all of the

23      Exchange Server searches for the Conrad & Scherer

24      e-mails, is that right?

25            A.       That is correct.

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 1            Q.       Okay.    And the only person in Conrad &

 2      Scherer that runs e-mails through the IRAdvocates

 3      server is Terry Collingsworth?

 4                     MR. SPOTSWOOD:       Object to the form.

 5                     You may answer.

 6      BY MR. WELLS:

 7            Q.       Is that correct or incorrect?

 8                     MR. SPOTSWOOD:       Object to the form.

 9                     THE WITNESS:       I'm sorry, I think I did not

10            understand your question.
11      BY MR. WELLS:

12            Q.       Who utilizes the IRAdvocates server for

13      e-mail purposes?
14            A.       Terry Collingsworth and the IRAdvocates

15      people.

16            Q.       Who other than Terry Collingsworth that is
17      also an employee of Conrad & Scherer?

18            A.       I don't -- I don't recall.           I don't recall

19      the users, I'm sorry.

20            Q.       Okay.    One thing I meant to ask you

21      earlier, for paralegals -- when we were talking about

22      changing computers and the process of removing and

23      preserving the hard drive, you said it is not done

24      for secretaries, it is done for attorneys, is that

25      correct?

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 1            A.       It is done for attorneys.

 2            Q.       And it's not done for any secretaries?

 3                     MR. SPOTSWOOD:       Object to the form.            Time,

 4            time frame.

 5                     THE WITNESS:       Well, you're talking about

 6            which period of time?

 7      BY MR. WELLS:

 8            Q.       2011 through the end of 2013.

 9            A.       It depends.      There were some paralegals

10      where their computers -- their hard drives were
11      preserved.

12            Q.       Who?

13            A.       Danielle Kisslan, for example.
14            Q.       How about Susana Tellez?

15                     MR. SPOTSWOOD:       Object to the form.

16                     You may answer.
17                     THE WITNESS:       I think we do have her hard

18            drive.

19      BY MR. WELLS:

20            Q.       How about Victoria Ryan?

21            A.       We have the computer that she used.

22            Q.       Maggie Crosby?

23            A.       She used the same computer as Victoria

24      Ryan, so the computer was preserved.

25            Q.       Back to Exhibit 2, if you flip to the

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 1      second page of this exhibit, row 3, looking at

 2      box 3E --

 3            A.       Uh-huh.

 4            Q.       -- does that show you whose e-mails were

 5      searched?

 6            A.       No.    It says which mailbox was searched.

 7            Q.       Okay.    So which mailbox was searched in

 8      that search?

 9            A.       Terry Collingsworth.

10            Q.       All right.      That search would not have been
11      firm wide, correct?

12            A.       No.

13            Q.       So this search would only recover e-mails
14      in Terry Collingsworth's mailbox, right?

15            A.       That is correct.

16            Q.       And as far as page numbering, do you see at
17      the bottom right-hand corner, there's the CSTC

18      number?

19            A.       Yes.

20            Q.       I will just refer you to the last three

21      numbers of those as we go along, if that's okay.

22            A.       That is correct.

23            Q.       All right.      Let's flip over to 020.

24            A.       020?

25            Q.       Yeah, just the last three numbers of that

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 1      long --

 2            A.       I'm sorry, let me go back again.                So

 3      CSTC020, okay.

 4            Q.       I'll give you the whole number.

 5      CSTC012020.

 6            A.       Okay.    Oh, sorry.      Yes.

 7            Q.       And in box 3I --

 8            A.       Uh-huh.

 9            Q.       -- it shows that this search was performed

10      for e-mails in Mr. Collingsworth's mailbox where the
11      senders were either oteromivan@hotmail.com or

12      jblanco1999@yahoo.com, right?

13            A.       That is correct.
14            Q.       And then you flip on the next page at 3J,

15      the search was also for e-mails that would have come

16      from either of those two e-mail addresses, right?
17            A.       That is correct.

18            Q.       And if we flip to CSTC012023, in box 3X,

19      does that show you when the search was performed?

20            A.       That is correct.

21            Q.       And that was June 15, 2012?

22            A.       Yes.

23            Q.       And then in 3W, does that tell you who ran

24      the search?

25            A.       Yes.

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 1            Q.       And this says, "Admin."

 2            A.       Yes.

 3            Q.       Would that be you?

 4            A.       Usually I use the admin account, yes.

 5            Q.       Okay.    Is anyone else in Conrad & Scherer

 6      able to search using this admin account other than

 7      you?

 8            A.       Yes.

 9            Q.       Who?

10            A.       Natasha, Natasha Klaverweide.            She's my
11      assistant.

12            Q.       Okay.    She works here in the Fort

13      Lauderdale office?
14            A.       Yes.

15            Q.       Okay.    Anyone other than Natasha?

16            A.       Nobody else.
17            Q.       Okay.    You can just keep that in front of

18      you because we'll probably be talking about it some

19      more, but I wanted to show you --

20            A.       Let me put it together.

21                     Do I need this?

22            Q.       You can put that to the side.

23            A.       Okay.

24                     (Plaintiff's Exhibit 3, e-mails, was marked

25      for Identification.)

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 1      BY MR. WELLS:

 2            Q.       I'm going to show you what's been marked --

 3                     MR. SPOTSWOOD:       Trey, this --

 4      BY MR. WELLS:

 5            Q.       -- Exhibit 3.

 6                     MR. SPOTSWOOD:       I want to be clear about

 7            what we are doing here in terms of, you know, are

 8            we -- are we on 30(b)(6) issues, are you talking

 9            to him individually?         I frankly assume that you've

10            been talking to him in his capacity as a 30(b)(6)
11            representative and that's what I'm going to assume

12            unless you tell me otherwise.

13                     MR. WELLS:      Well, if he needs to
14            distinguish, that's fine.           I think pretty much

15            everything I'll be asking him will -- although a

16            lot of it will be in his personal knowledge, would
17            also be encompassed in these topics.

18                     MR. SPOTSWOOD:       Okay.

19      BY MR. WELLS:

20            Q.       All right.      This is an e-mail from -- or an

21      e-mail chain, I guess, from June 15, 2012, is that

22      right?

23            A.       That is correct.

24            Q.       On the second page, there's an e-mail from

25      Maggie Crosby to you on June 15, 2012, is that right?

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 1            A.       That is correct.

 2            Q.       Okay.    And it looks like she's asking you

 3      to perform that search we just looked at for these

 4      two e-mail addresses, oteromivan@hotmail and

 5      jblanco99@yahoo?

 6            A.       That is correct.

 7            Q.       And we just saw you did perform that search

 8      on that day, right?

 9            A.       Uh-huh.

10            Q.       After Maggie's e-mail, you respond to her
11      and say, "Maggie, the search is done.               The PST file

12      is located on the I drive under Drummond lawsuit.

13      The file is called TC Drummond search."                Do you see
14      that?

15            A.       Sorry.

16            Q.       At the very bottom.
17            A.       Yes.

18            Q.       So you performed that search, created a PST

19      of the results and then put them on the I drive?

20            A.       That is correct.

21            Q.       What is the I drive?

22            A.       That's the drive that the Washington

23      office uses to store the documents.

24            Q.       Is it accessible from the Fort Lauderdale

25      office?

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 1            A.       Yes, it is.

 2            Q.       Just above your e-mail, Ms. Crosby responds

 3      to you and says, "Thank you, Juan.               Can you tell me

 4      how to look on his Mac also?"             Do you see that?

 5            A.       Yes.

 6            Q.       And this time in mid 2012 was a period of

 7      time that Mr. Collingsworth was using a MacBook

 8      laptop, is that your understanding?

 9                     MR. SPOTSWOOD:        Object to the form.

10                     You may answer.
11                     THE WITNESS:       He was using a MacBook Pro,

12            yes.

13      BY MR. WELLS:
14            Q.       Then above that, it appears you give her

15      some instructions how to do that.               And then above

16      that, she asks you again essentially referring to the
17      instructions you gave her, "For the e-mails that you

18      pulled to his Mac?"          Do you see that?

19            A.       Yes.

20            Q.       And you respond, "No, those are the

21      e-mails" on the e-mail -- "from the e-mail system.                 I

22      don't have his Mac, so I cannot get anything from

23      there."      Did I read that correctly?

24            A.       Yes.

25            Q.       So you're telling her there that the

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 1      e-mails that you pulled from this search that are in

 2      that PST are from the e-mail system, the server,

 3      right?

 4                      MR. SPOTSWOOD:        Object to the form.

 5                      You may answer.

 6                      THE WITNESS:       Yes.

 7      BY MR. WELLS:

 8            Q.        But there are also e-mails on his Mac that

 9      are not on the server, right?

10                      MR. SPOTSWOOD:        Object to the form.
11                      You may answer.

12                      THE WITNESS:       Again, what is the question

13            again?     I'm sorry.
14      BY MR. WELLS:

15            Q.        At the time of this e-mail, you're aware

16      there were e-mails on his Mac that were not also on
17      the server, weren't you?

18                      MR. SPOTSWOOD:        Object to the form.

19                      You may answer.

20                      MR. ENYARD:       I'm sorry, could you restate

21            the question?

22                      THE REPORTER:        You want me to read it

23            back?

24                      MR. ENYARD:       Yeah.

25                      (The Reporter read back the requested

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 1      portion.)

 2                      MR. SPOTSWOOD:        Object to the form of

 3            that.

 4                      You may answer.

 5                      THE WITNESS:       No, that's what it -- that's

 6            what the e-mail says.

 7      BY MR. WELLS:

 8            Q.        That there are e-mails on his Mac that you

 9      can't access because they are not on the server?

10            A.        I mean, this is -- first, there's a
11      problem with the context of these e-mail, not all the

12      information is on this e-mail.

13                      Yeah, that's what it says.
14                      (Plaintiff's Exhibit 4, e-mails, was marked

15      for Identification.)

16      BY MR. WELLS:
17            Q.        Let me show you what's been marked as

18      Exhibit 4, which is another series of e-mails from

19      the day before.

20            A.        Uh-huh.

21            Q.        And this is the day before the e-mails we

22      were just talking about, right?

23            A.        Correct.

24            Q.        Ms. Crosby, in the first e-mail, says to

25      you, "Hi, Juan.         I need to run searches through

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 1      Terry's old e-mails to produce for Defendants in a

 2      case," right?

 3            A.       That is correct.

 4            Q.       She says, "I know that you had had to pull

 5      them off and save them somewhere when his computer

 6      got switched over."         Was that the switch to the

 7      MacBook?

 8            A.       I don't know what she meant by that.

 9            Q.       Okay.    Did you pull old e-mails off

10      somewhere?
11            A.       I did not pull any e-mails from anywhere

12      and I don't know what she meant by "pull off."

13            Q.       Okay.    She concludes by asking you, "What's
14      the best way for me to run searches through all his

15      old e-mails," right?

16            A.       Yes, that's her question.
17            Q.       And then you respond to her by saying,

18      "Maggie, his old e-mails are in the Mac," right?

19            A.       Yes.

20            Q.       What e-mails were you referring to there?

21            A.       But also I'm asking her what -- I need

22      more information.

23            Q.       Right.     What old e-mails were in the Mac?

24            A.       I'm going to give you a little background

25      of what happened.         I got to the firm in December 2010

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 1      and on October, late October 2011, I was able to

 2      control -- to grab control from the IRAdvocates

 3      e-mail server.

 4                     So, in an effort to be able to run the

 5      searches, I don't have anymore -- so I transferred

 6      what -- Terry Collingsworth, he had a series of web

 7      e-mail servers during that period of time.                 So I

 8      copied the e-mail that was on one of the web mail

 9      servers into my Conrad & Scherer e-mail server so we

10      can do those searches and we can have a historic
11      record of what's going on besides other reasons.                   So

12      that's what it is.         I'm guessing that anything that

13      he had prior to that, probably they are on his Mac,
14      but that's -- that's that.

15            Q.       Okay.    So, June 14, 2012, you're telling

16      Ms. Crosby Mr. Collingsworth's old e-mails are on the
17      Mac, right?

18            A.       But I need a time frame.           I mean, old

19      e-mails, I don't remember which old e-mails is she

20      referring to.

21            Q.       Mr. Rodriguez, you wrote this e-mail,

22      correct?

23            A.       That is correct.

24            Q.       All right.      You say to Maggie Crosby on

25      June 14, 2012, "His old e-mails are in the Mac."                   Is

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 1      that right?

 2            A.       That is correct.

 3            Q.       On June 15, 2012, you inform Ms. Crosby

 4      that you have done a search on the Exchange Server,

 5      correct?

 6            A.       Uh-huh.

 7            Q.       I need a verbal answer.

 8            A.       Yes.

 9            Q.       And she asks you about those e-mails and

10      you say those are only the e-mails from the server,
11      they are not the e-mails on his Mac because you can't

12      get the e-mails from his Mac.             Isn't that what you

13      tell her?
14            A.       That's what I say, yes.

15            Q.       Okay.    On the June 14th e-mail -- what

16      exhibit number is that?
17            A.       4.

18            Q.       I notice you copied Mr. Collingsworth on

19      your response, is that right?

20            A.       That is correct.

21            Q.       Why did you copy him if he wasn't included

22      in Ms. Crosby's first e-mail?

23            A.       I wouldn't recall that.          E-mail was from

24      three years ago.

25            Q.       So you don't recall?

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 1            A.       No.

 2            Q.       Let's go back to Exhibit 2, which is the

 3      large spreadsheet.

 4                     MR. DAVIS:      Let's just say -- let me just

 5            say this:      If you're assuming this is a 30(b)(6)

 6            deponent, then "I don't recall," that really is

 7            not a good answer because he needs to -- it's not

 8            his personal knowledge, it's the firm's knowledge

 9            that he's being asked, but anyway --

10                     MR. SPOTSWOOD:       He's the most
11            knowledgeable person that we have with respect to

12            the e-mail traffic that he's being questioned

13            about and that's -- that's, I think, fully
14            responsive to our obligations.

15                     MR. DAVIS:      Okay.    Well, I don't.         And he

16            was -- he's charged with the responsibility to
17            have refreshed his recollection prior to today and

18            this is not -- for the record, it does not appear

19            to be a good faith refreshing of his recollection.

20                     MR. ENYARD:      Could you identify for me

21            which topic that e-mail goes to?

22                     MR. WELLS:      Searches for e-mails as well

23            as Mr. Collingsworth's missing e-mails.

24                     MR. ENYARD:      Which number?       In Exhibit 1,

25            which number?

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 1                     MR. WELLS:      All right.       We are going to

 2            stop right here.        Bob, I'm kind of getting now

 3            three lawyers and I understand if Kendall needs to

 4            jump in on some sort of technical issue, which is

 5            what was represented at the beginning of the

 6            deposition, but now we are getting a

 7            non-technical --

 8                     MR. SPOTSWOOD:        I think of the three

 9            lawyers you're talking about might be Tony here,

10            but --
11                     MR. DAVIS:      So we are all even, but going

12            forward, let's be you and Trey, okay?

13                     MR. SPOTSWOOD:        The best of -- I may need
14            a little help, I respect the rules, but I hear

15            you.    Let's go.

16                     MR. WELLS:      All right.       For you, number
17            11.    Number 12.

18      BY MR. WELLS:

19            Q.       All right.      Back to Exhibit 2.

20            A.       Uh-huh.

21            Q.       This is the spreadsheet of the Exchange

22      Server --

23            A.       Yes.

24            Q.       -- searches?

25                     We've already talked about row 3, which

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 1      was that June of 2012 search just of Mr.

 2      Collingsworth's e-mails and just with those two

 3      e-mail addresses we mentioned.

 4            A.       That is correct.

 5            Q.       The next two searches on this first page

 6      are in rows 6 and 7, is that right?

 7            A.       Yes.

 8            Q.       All right.      Look at the second page of the

 9      exhibit.

10            A.       One second.
11                     Yes.

12            Q.       6E and 7E show you whose mailboxes were

13      searched, right?
14            A.       That is correct.

15            Q.       And every one of these people works in the

16      Fort Lauderdale Conrad & Scherer office, true?
17            A.       That is correct.

18            Q.       Okay.    This search did not search Mr.

19      Collingsworth's e-mails, right?

20            A.       That is correct.

21            Q.       Or anyone else in the Conrad & Scherer

22      Washington, D.C. office's e-mails, correct?

23            A.       That is correct.

24            Q.       Let's look at page CSTC012023.

25            A.       Uh-huh.

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 1            Q.       Shows that both these searches were run on

 2      September 18, 2013.

 3            A.       That is correct.

 4            Q.       And run by admin, so that would have been

 5      either you or Natasha?

 6            A.       That is correct.

 7            Q.       Do you know whether it was you or Natasha

 8      that ran these particular searches?

 9            A.       I don't remember who did it, but -- I

10      don't remember who.
11            Q.       Who requested that these two searches be

12      performed?

13            A.       I don't -- I mean, I know you said that I
14      don't recall exactly who -- who requested these

15      searches.      I mean, you will have to -- I don't recall

16      exactly, sorry.
17            Q.       All right.      Let's look at CSTC012019.

18            A.       Yes.

19            Q.       And in row 6 and 7, does this show the

20      search terms that were run for these two searches we

21      are discussing?

22            A.       Yes.

23            Q.       Row 6 includes the name Fernando Rubio,

24      right?

25            A.       Yes.

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 1            Q.       Also includes a search for Ivan Otero and

 2      Mejia?

 3            A.       Uh-huh, yes.

 4            Q.       Do you know who Mejia is?

 5            A.       No idea.

 6            Q.       Also included as search terms are Joe

 7      Carrera and the name Mark Carlson.              Do you know who

 8      either of those two individuals are?

 9            A.       No idea.

10            Q.       All right.      And in number 7, the other
11      search that was run only in the Fort Lauderdale

12      office in September of 2013 includes work -- words

13      such as Mike Hugo?
14            A.       Yes.

15            Q.       Mejia?

16            A.       Yes.
17            Q.       Ivan Otero?

18            A.       Uh-huh, yes.

19            Q.       Fernando?

20            A.       Yes.

21            Q.       Payment?

22            A.       Yes.

23            Q.       Or nonpayment?

24            A.       Yes.

25            Q.       And you don't have any knowledge as to who

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 1      requested these searches be performed?

 2                     MR. SPOTSWOOD:       Object to the form.

 3                     You may answer.

 4                     THE WITNESS:       I don't recall.       I will have

 5            to go and check records in order to give this

 6            information for you.

 7      BY MR. WELLS:

 8            Q.       Okay.    You think you can do that today at a

 9      break?

10            A.       I don't think so.        Maybe, I don't know.
11      It would require some effort to look for who

12      requested these searches.           I don't have the -- yeah,

13      requires some effort.          I don't recall.
14            Q.       Who gave you the search terms?

15            A.       I wish I recall.

16            Q.       Who were the results provided to?
17            A.       I'm sorry, but I don't recall to whom I

18      gave these results.

19            Q.       Were the results of these searches saved

20      somewhere?

21            A.       Oh, yes.

22            Q.       Where?

23            A.       In the e-mail server, they are saved.

24      They are there.

25            Q.       Okay, but here in September of 2013,

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 1      searches were not performed with these search terms

 2      on the D.C. office mailboxes, is that right?

 3            A.       That's right.

 4            Q.       So we have identified one search performed

 5      on Mr. Collingsworth's e-mails in June of 2012 just

 6      with Ivan Otero and Jaime Blanco, right?

 7            A.       That is correct.

 8            Q.       And then two searches performed in

 9      September of 2013 just of certain people in the

10      Florida office and just for these -- these search
11      terms that we've just discussed?

12            A.       That is correct.

13            Q.       Okay.    Now, there is a lot on this
14      spreadsheet that is redacted as privileged.                    Do you

15      see that?

16            A.       Yes.
17            Q.       And is it your understanding that anything

18      that's redacted does not relate to this case?

19            A.       I don't know.       I'm not an attorney.

20            Q.       Okay.    Well, I'm just trying to figure out

21      do you have any knowledge -- well, let me do it this

22      way:    After these September 2013 searches, everything

23      in the spreadsheet is redacted until you get to

24      CSTC012068.

25            A.       Yes.

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 1            Q.       And we see some searches, looks like these

 2      searches were performed in November of 2014, page

 3      number CSTC012075.

 4            A.       That is correct.

 5            Q.       Between September of 2013 and November of

 6      2014, are you aware of any other searches on the

 7      Exchange Server for this case?

 8            A.       Again, between what dates?           I'm sorry.

 9            Q.       September of 2013 where they -- we had

10      those Rubio Mejia search terms.
11            A.       Yes.

12            Q.       And then here in November where we start

13      seeing terms such as Samario, El Tigre.                Are you
14      aware of any search terms between -- any searches on

15      the Exchange Server between September of 2013 and

16      November of 2014?
17            A.       Related to the case?

18            Q.       Yes.

19            A.       I mean, my job is to run the searches.              I

20      am not aware of which cases they are.               I mean, I know

21      there were a lot of searches run during that period

22      of time; however, I wouldn't know if it's related to

23      Drummond or any other case or -- I mean, there are

24      many cases with Drummond, but I don't know if this is

25      related to the libel case.

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 1                     MR. WELLS:      All right.      Bob, I mean, he

 2            has been designated as the person knowledgeable

 3            about searches for this case and that question

 4            goes directly to that issue.

 5                     MR. FREVOLA:       Can I have the question

 6            back, please?

 7                     (The Reporter read back the requested

 8      portion.)

 9                     MR. SPOTSWOOD:       Okay.     Let me have about

10            two minutes.
11                     MR. WELLS:      Go off the record.

12                     THE VIDEOGRAPHER:        We are off the record.

13            Time is 10:39 a.m.
14                     (Brief recess was taken.)

15                     THE VIDEOGRAPHER:        We are back on record.

16            It is 10:50 a.m.
17                     MR. SPOTSWOOD:       Okay.     Couple of things.

18            One is I can represent to you that the information

19            that's been deleted or marked -- rather, marked

20            privileged from Exhibit 2 is our searches that are

21            unrelated to this case.

22                     With respect to searches that are

23            reflected here, these are the searches for which

24            JC and his staff were responsible, okay?                 So to

25            the extent that were -- there were additional

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 1            searches done by Terry individually or people

 2            reporting to Terry individually -- did you hear

 3            me?

 4                      THE VIDEOGRAPHER:         Yeah, I heard you.

 5                      MR. SPOTSWOOD:        Okay.

 6                      THE VIDEOGRAPHER:         Clear and --

 7                      MR. SPOTSWOOD:        Okay, good.

 8                      To the extent that others did searches

 9            individually on their own systems, JC would not be

10            knowledgeable of those.
11                      MR. WELLS:      Well, who is going to be the

12            30(b)(6) for that?

13                      MR. SPOTSWOOD:        The person who would be
14            knowledgeable about the searches that were

15            conducted in the D.C. office would be Terry

16            Collingsworth and presumably he could -- he would
17            know or we could get him ready to know what the

18            searches were done by the people that he was

19            working with in that office.

20                      MR. WELLS:      Well, the problem is he did

21            not know, we've already asked him, which was the

22            purpose for this 30(b)(6) is to get an

23            understanding of who did know, he said he didn't

24            do the searches, so he wouldn't know what was

25            done.

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 1                      MR. SPOTSWOOD:        Okay.

 2                      MR. WELLS:      So this witness has been put

 3            up as the firm's representative on the firm's

 4            document searches, which would include the D.C.

 5            office of the firm, but y'all are saying he does

 6            not have any knowledge as to any searches that may

 7            have been done in the D.C. firm?

 8                      MR. SPOTSWOOD:        I believe that's correct.

 9            I'll let him confirm that.

10                      That's correct?
11                      THE WITNESS:       Yeah, that's correct.           I

12            mean, I am responsible for these searches.                   If a

13            user goes on his mailbox and searches for
14            something, I don't have any record of what he has

15            searched on his computer.

16      BY MR. WELLS:
17            Q.        All right.      Let me ask you a couple

18      questions.

19                      MR. SPOTSWOOD:        Are you also -- just to

20            clarify, you also asked, I think, for what the

21            instructions were for these searches and we are,

22            as we sit here right now, trying to undertake

23            that -- to find that out so he can respond to

24            that.

25

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 1      BY MR. WELLS:

 2            Q.       All right.      One of the topics you were

 3      identified for and presume prepared for is topic 11,

 4      "Conrad & Scherer's searches for documents in

 5      response to Drummond's written discovery requests in

 6      this case from October 2011 through October 15,

 7      2014."     Now, in order to prepare as a 30(b)(6)

 8      representative for that topic, you had a meeting with

 9      counsel yesterday, is that correct?

10            A.       That is correct.
11            Q.       Did you interview anyone in the Washington,

12      D.C. office?

13            A.       No, I did not.
14            Q.       Did you interview anyone in the Fort

15      Lauderdale office?

16            A.       No, I did not.
17            Q.       And you have not gained any knowledge as to

18      what searches may have been performed by Conrad &

19      Scherer's Washington, D.C. office?

20            A.       The only searches that I am responsible is

21      what is on the Excel spreadsheet here and the ones on

22      the IRAdvocates.

23            Q.       In order to prepare for Conrad & Scherer's

24      searches, you did not do any investigation of what

25      may have been done in the D.C. office, is that true?

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 1            A.       That's true.

 2                     MR. WELLS:      All right.       We need to take a

 3            break.

 4                     THE VIDEOGRAPHER:         We are off the record.

 5            It is 10:55 a.m.

 6                     (Brief recess was taken.)

 7                     THE VIDEOGRAPHER:         We are back on record.

 8            It's 11:11 a.m.

 9                     THE WITNESS:       Ready?

10                     MR. SPOTSWOOD:        Go ahead.
11                     THE WITNESS:       Just to clarify the record,

12            on line 6 and 7, I just educated myself on what is

13            this about.      This is an unrelated Drummond search.
14            This is for another case that -- I mean, they

15            request me to do the searches.             This is not

16            related to the Drummond libel case on Exhibit
17            Number 2.

18      BY MR. WELLS:

19            Q.       What case is it -- well, let me ask you

20      this:      Here on page CSTC012016 --

21            A.       Yes, Drummond search 2 and Drummond.

22            Q.       Right.     Both of them are identified as

23      Drummond searches, right?

24            A.       They are identified on this document as

25      Drummond searches; however, I just learned a few

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 1      minutes ago that these searches were not related with

 2      this Drummond case.

 3            Q.        What were they related to?

 4            A.        To the Securepoint case.

 5            Q.        Okay.     So if we take those two searches

 6      out, we've got a June of 2012 search of just Mr.

 7      Collingsworth's e-mail box and just to and from Ivan

 8      Otero and Jaime Blanco, right?

 9            A.        That's correct.

10            Q.        And then we skip on to November of 2014,
11      where we start seeing terms such as "Samario" and "El

12      Tigre."     I'm not going to read all of them, but --

13            A.        That is correct.
14            Q.        That's the next searches relating to this

15      case?

16            A.        Yes.
17            Q.        Okay.     So, between June of 2012 and

18      November of 2014, there were no Exchange Server

19      searches for any e-mails relating to this case?

20            A.        I wouldn't --

21                      MR. SPOTSWOOD:        Object to the form.

22                      You may answer.

23                      THE WITNESS:       I may -- I wouldn't say

24            that.     There were no searches done by me or my IT

25            staff on this -- during that period of time, that

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 1            doesn't mean that if a user searches his own

 2            mailbox, the documents will not come up.

 3      BY MR. WELLS:

 4            Q.        Okay.     What all users searched their

 5      mailboxes in that time period?

 6                      MR. SPOTSWOOD:        And let me tell you, at

 7            this point, we have got more work to do on that.

 8            This witness today is not ready to respond to what

 9            happened with the folks up in D.C. on that, but we

10            are working on it very hard right now.
11      BY MR. WELLS:

12            Q.        How about the folks in Florida; what users

13      in Florida searched their e-mail boxes between 2012
14      and 2014?

15            A.        I wouldn't know that.          I don't keep a

16      record of who searches their own mailbox during that
17      period of time.

18            Q.        So Conrad & Scherer has no knowledge of any

19      individual user in the Florida office searching their

20      individual e-mail box for e-mails responsive to this

21      case?

22                      MR. SPOTSWOOD:        Object to the form.

23                      You may answer.

24                      THE WITNESS:       Yeah, there's no way to know

25            that.

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 1                     MR. WELLS:      All right.       We are going to

 2            object to more work being done on a topic this

 3            person has been designated as the 30(b)(6)

 4            representative for.         We contend and believe that

 5            if he does not have knowledge of it today on a

 6            topic he's been designated for, the firm does not

 7            have knowledge of it and we will object to the

 8            firm attempting to backfill.

 9                     MR. SPOTSWOOD:        The deposition notice says

10            that this will happen on dates and times to
11            agree -- be agreed by the parties or as ordered by

12            the Court.      We finally reached agreement on these

13            topics, these narrow topics, just a couple of days
14            ago.    We have been working very, very hard to

15            respond to these.        We obviously have some gaps

16            here with respect to these searches that are
17            outside of this individual's knowledge, scope, and

18            our effort is going to be to learn what that

19            information is which is missing and provide it to

20            you through an appropriate supplemental

21            designation.       If you don't want to listen to it,

22            that's your call.

23                     MR. WELLS:      Well, we are here to hear

24            about it today.

25                     MR. DAVIS:      Yes.

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 1                     MR. WELLS:      And yesterday.

 2                     MR. SPOTSWOOD:       And you had 365-page

 3            deposition yesterday.

 4                     MR. WELLS:      All right.      We asked Mr.

 5            Scherer the first time his e-mails were searched

 6            for this case and he said you'll have to ask the

 7            IT department, which we are doing today.

 8      BY MR. WELLS:

 9            Q.       Are you aware of the first time Mr.

10      Scherer's e-mails were searched for this case?
11            A.       No.

12            Q.       Okay.    Your only knowledge is what's

13      reflected on this spreadsheet, is that right?
14            A.       That is correct.

15            Q.       So, to the best of your knowledge as

16      30(b)(6) here today, the first time Mr. Scherer's
17      e-mails were searched for this case was in November

18      of 2014?

19                     MR. SPOTSWOOD:       Object to the form.

20                     You may answer.

21                     THE WITNESS:       From what it's saying --

22            what it says here, yes.

23      BY MR. WELLS:

24            Q.       Same for Billy Scherer, first time his were

25      searched would have been November of 2014 or later?

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 1            A.       That is correct.

 2            Q.       Same for Richard Drath?

 3            A.       That is correct.

 4            Q.       Same for any other member of the Florida

 5       office?

 6                     MR. SPOTSWOOD:        Object to the form.

 7                     You may answer.

 8                     THE WITNESS:       Yes.

 9       BY MR. WELLS:

10            Q.       All right.      And it appears the first time
11       the words "El Tigre" or "Samario" was searched in

12       this case was November of 2014.

13            A.       What page are you, I'm sorry?
14            Q.       Oh, CSTC012068.

15                     MR. SPOTSWOOD:        Object to the form.

16                     You may answer.
17                     THE WITNESS:       Let me go to the page first,

18            then --

19                     MR. SPOTSWOOD:        What was the page number

20            again?

21                     MR. WELLS:      CSTC012068.

22                     THE WITNESS:       I don't have 68.

23                     MR. SPOTSWOOD:        I don't either.

24       BY MR. WELLS:

25            Q.       (Indicating).

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 1            A.        Oh, you're right, sorry.

 2                      Line 85?

 3                      MR. ENYARD:       Hold on, JC.

 4                      MR. SPOTSWOOD:        Hang on a second, I'm --

 5            got it, sorry.

 6                      THE WITNESS:       Yes.

 7       BY MR. WELLS:

 8            Q.        Yes, line 85, looks like a search for

 9       Samario or El Tigre, first time those two search

10       terms were searched in this case was November of
11       2014, is that right?

12                      MR. SPOTSWOOD:        Object to the form of

13            that.     We've already told you that he is not
14            knowledgeable about the individual searches that

15            were done, if any.

16       BY MR. WELLS:
17            Q.        You can answer the question.

18            A.        That I have knowledge, yes, that's the

19       first time that I, as Juan Rodriguez, an individual,

20       have knowledge about it.

21            Q.        Well, then based on all the preparation

22       you've done for today, that's the best of your

23       knowledge, right?

24                      MR. SPOTSWOOD:        Object to the form.

25                      You may answer.

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 1                     THE WITNESS:       That is correct.

 2       BY MR. WELLS:

 3            Q.       Look down at line 92.          Looks like a search

 4       for the Spanish word "pagos."            Is that right?

 5            A.       That is correct.

 6            Q.       That is Spanish for payments, true?

 7            A.       Yes.

 8            Q.       First term that -- first time that term was

 9       searched for in this case was November of 2014,

10       right?
11                     MR. SPOTSWOOD:        Object to the form.

12                     You may answer as to your personal

13            knowledge based upon what you've told your
14            limitations of knowledge are.

15                     THE WITNESS:       Give me a minute, I'm going

16            to put the spreadsheet so I can see the whole
17            spreadsheet.

18                     So we are talking about line 92, right?

19       BY MR. WELLS:

20            Q.       Yes.

21            A.       That is correct.

22            Q.       All right.      So, based on both your personal

23       knowledge and everything you've done to prepare for

24       this deposition today, the first time the Spanish

25       word for payments was searched for in this case was

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 1       November of 2014?

 2                     MR. SPOTSWOOD:        Object to the form of the

 3            question and simply assumes that this individual,

 4            and I've corrected this designation, he is not

 5            knowledgeable of what -- about what happened in

 6            the individual searches.

 7                     THE WITNESS:       Should I answer?

 8       BY MR. WELLS:

 9            Q.       Yes.

10                     MR. DAVIS:      Just object to the form, not
11            speaking objections.

12                     THE WITNESS:       Again, should I answer?

13       BY MR. WELLS:
14            Q.       Yes.

15            A.       Okay.     To my knowledge, these searches

16       were run -- the search that you -- the word
17       "payments" in Spanish, pagos, it was run on November

18       of 2014.

19            Q.       And to your knowledge and based on what

20       you've done to prepare for today, you're not aware of

21       it being searched prior to November of 2014, correct?

22                     MR. SPOTSWOOD:        Object to the form.

23                     You may answer.

24                     THE WITNESS:       Not to -- yeah, to my

25            knowledge, I don't -- I don't know.

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 1       BY MR. WELLS:

 2            Q.       So first time Samario or El Tigre was

 3       searched was in November of 2014, true?

 4                     MR. SPOTSWOOD:        Object to the form.

 5                     You may answer.

 6                     THE WITNESS:       Again, I wouldn't say that.

 7            It was searched by me on the server.

 8       BY MR. WELLS:

 9            Q.       And that's all you have knowledge of?

10            A.       That's all I have knowledge.             I don't know
11       in -- I don't know if the users run those searches on

12       their individual mailboxes; I don't have a record of

13       that.
14            Q.       And the first time this Spanish word for

15       payments was run was November of 2014?

16            A.       That is correct.
17                     MR. SPOTSWOOD:        Object to the form.

18                     You may answer.        Sorry.

19                     THE WITNESS:       Okay.

20                     MR. WELLS:      He's answered.

21                     (Plaintiff's Exhibit 5, brief, was marked

22       for Identification.)

23       BY MR. WELLS:

24            Q.       All right.      I'll show you what's been

25       marked as Exhibit 5.

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 1            A.       Give me a minute.

 2            Q.       Okay.

 3            A.       Do I need the spreadsheet?

 4            Q.       You can put it away for right now.

 5            A.       Okay.

 6                     Okay.

 7            Q.       This is a brief filed by the Defendants as

 8       well as IRAdvocates.         And if you could just -- turn

 9       to page 1 for me, please, the first numbered page.

10            A.       Okay.
11            Q.       Do you see the indented quotation there at

12       the bottom?      It's single spaced.

13            A.       Yes.
14            Q.       It says, "As we've previously discussed,

15       since 2008, Conrad & Scherer and IRAdvocates files

16       have overlapped for the purpose of the Drummond
17       litigation."      Do you know if that's a true statement?

18            A.       (Shaking head.)

19                     MR. SPOTSWOOD:        Object to the form.

20                     You may answer.

21                     THE WITNESS:       Let me read the whole

22            document.      I don't know the context.           I don't know

23            anything about this.          This is the first time that

24            I've seen this document.

25

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 1       BY MR. WELLS:

 2            Q.       Okay.     Well, you can just not look at the

 3       document.     Did Conrad & Scherer and IRAdvocates'

 4       files overlap to your knowledge for purposes of the

 5       Drummond litigation?

 6                     MR. SPOTSWOOD:        Object to the form.

 7                     You may answer.

 8                     THE WITNESS:       That's a question for the

 9            attorneys.      I don't know if the files have been

10            overlap and I don't know which files are you
11            referring to, electronic files, documents.                   I

12            don't know.

13       BY MR. WELLS:
14            Q.       Let's focus on electronic files.                 Did the

15       electronic files overlap for purposes of the Drummond

16       litigation?
17                     MR. SPOTSWOOD:        Object to the form.

18                     You may answer.

19                     THE WITNESS:       What I know is that the

20            Washington office uses a single file server and

21            they have the files in that server.               So I wouldn't

22            say overlapped, I would say they were stored in

23            the same server.

24       BY MR. WELLS:

25            Q.       At Conrad & Scherer's server?

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 1            A.       On Conrad & Scherer's Washington server,

 2       yes.

 3                     MR. SPOTSWOOD:        Object to the form and

 4            time frames are important here.

 5                     THE WITNESS:       Yeah.

 6       BY MR. WELLS:

 7            Q.       All right.      The next sentence says, "The

 8       files for both entities were searched," both entities

 9       being Conrad & Scherer and IRAdvocates, you

10       understand that?
11            A.       Correct.

12            Q.       Files for both of those entities were

13       searched and responsive documents were produced.
14                     MR. SPOTSWOOD:        Object to the form.

15                     You may answer.

16                     THE WITNESS:       Question:      This is -- I
17            mean, the time frame for this, I mean, this is

18            prior -- I see that the document is filed on --

19       BY MR. WELLS:

20            Q.       October 24, 2013.

21            A.       Yes, so I don't know.

22            Q.       Okay.     We do know and you do know that, as

23       of October 24, 2013, that no searches had been run on

24       the Conrad & Scherer server for the terms -- we'll

25       start with the term "El Tigre," right?

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 1            A.       Let --

 2                     MR. SPOTSWOOD:        Object to the form.

 3                     You may answer.

 4                     THE WITNESS:       Let me correct that

 5            statement.      What the spreadsheet shows are the

 6            searches done on the e-mail server, not on the

 7            file server.       So the searches done on the file

 8            server, I mean, I don't have a record of those

 9            searches.

10       BY MR. WELLS:
11            Q.       Do you have knowledge of them sitting here

12       today?

13            A.       Sorry?
14            Q.       Do you have knowledge of them so that you

15       can testify about them today, the searches on the

16       file server?
17            A.       Of the logs?       I don't have the logs.           I

18       don't know -- prior to October 24, 2013, I don't -- I

19       don't know that information.

20            Q.       Okay.     So, sitting here today based on your

21       personal knowledge as well as any knowledge you

22       gained in preparing for this deposition, it is your

23       understanding that no searches had been performed to

24       your knowledge as of October 2013 containing the word

25       "El Tigre," right?

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 1                     MR. SPOTSWOOD:        Object to the form.

 2                     You may answer.

 3                     THE WITNESS:       I didn't -- I wouldn't say

 4            that the searches were not run, I just said that I

 5            don't know if the searches were run.

 6       BY MR. WELLS:

 7            Q.       And you don't know of any searches being

 8       run in -- as of October 2013 containing the word

 9       "Samario," do you?

10                     MR. SPOTSWOOD:        Object to the form.
11                     You may answer.

12                     THE WITNESS:       Again, as I stated before, I

13            don't have a record of what the user searched on
14            their local mailboxes nor the searches that the

15            users could have done on the file servers.

16       BY MR. WELLS:
17            Q.       And I'm asking you based on what you can

18       testify to here today based on all the work you've

19       done to prepare for this deposition --

20                     MR. SPOTSWOOD:        Object to the form --

21       BY MR. WELLS:

22            Q.       -- what searches do you have knowledge of

23       prior to October of 2013 that contain the word

24       "Samario"?

25                     MR. SPOTSWOOD:        Object to the form.

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 1                     You may answer.

 2                     THE WITNESS:       I don't know any -- I don't

 3            know anything about any searches performed for the

 4            word "Samario" or "El Tigre."

 5                     MR. WELLS:      Okay.

 6                     (Plaintiff's Exhibit 6, brief, was marked

 7       for Identification.)

 8       BY MR. WELLS:

 9            Q.       I'm going to show you what's been marked as

10       Exhibit 6, this is a brief filed by the Defendants on
11       October 31, 2013, and if you could just turn for me

12       to page 3.      Toward the bottom of the page, about

13       seven lines up, do you see the sentence beginning,
14       "Defendants disclosed the fact of security payments"?

15            A.       Yes, I -- I see the phrase.

16            Q.       All right.      It says, "Defendants disclosed
17       the fact of security payments in Balcero producing

18       all responsive non-privileged documents regarding

19       funds provided to Drummond witnesses through

20       June 2012, nearly a year after the letters at issue

21       were sent.      And Defendants recently supplemented this

22       with over 400 additional pages netted by the broader

23       requests in the libel case for all communications

24       regarding security payments."

25                     What searches were done to respond to the

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 1       request in the libel case for all communications

 2       regarding security payments?

 3                     MR. SPOTSWOOD:        Object to the form.

 4                     You may answer.

 5                     THE WITNESS:       Which time?

 6       BY MR. WELLS:

 7            Q.       As of October 31, 2013.

 8            A.       I'll stay with the fact that me, Juan

 9       Carlos Rodriguez, I did not know any searches that I

10       have run for these terms prior to October 2013.
11            Q.       And based on what you've done to prepare

12       for this deposition, you also don't know of any

13       searches done prior to October of 2013 responsive to
14       a request like that?

15                     MR. SPOTSWOOD:        Object to the form.

16                     You may answer.
17                     THE WITNESS:       I do not know who -- or any

18            searches.      I mean, I don't know.          I don't know if

19            the searches were performed.

20                     (Plaintiff's Exhibit 7, brief, was marked

21       for Identification.)

22       BY MR. WELLS:

23            Q.       I'm going to show you Exhibit 7, which is a

24       brief filed by the Defendants on April 14, 2014 in

25       opposition to Drummond's motion for sanctions.                    If

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 1       you'll turn with me to page 1.

 2            A.       Uh-huh.

 3            Q.       The bottom paragraph in the second sentence

 4       begins, "There's absolutely."            Do you see that?

 5            A.       Where, excuse me?

 6            Q.       The final paragraph.

 7            A.       Uh-huh.

 8            Q.       Second sentence.

 9            A.       Okay.

10            Q.       It says, "There's absolutely no issue of
11       the propriety of Defendants' searches or the

12       completeness of their production."              Well, as of April

13       2014, you are not aware of any searches being
14       performed for e-mails containing the search term "El

15       Tigre," are you?

16                     MR. SPOTSWOOD:        Object to the form.
17                     You may answer.

18                     THE VIDEOGRAPHER:         10 minutes to tape

19            change.

20                     THE WITNESS:       I don't know.

21       BY MR. WELLS:

22            Q.       You're not aware of any searches having

23       been performed as of April 2014 for e-mails

24       containing the term "Samario," are you?

25                     MR. SPOTSWOOD:        Object to the form.

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 1                     You may answer.

 2                     THE WITNESS:       I don't know.

 3       BY MR. WELLS:

 4            Q.       You are not aware of any searches as of

 5       April 2014 of Bill Scherer's mailbox, are you?

 6                     MR. SPOTSWOOD:        Object to the form.

 7                     You may answer.

 8                     THE WITNESS:       There were searches on Bill

 9            Scherer's mailbox for many other -- for many other

10            things.     I mean, there were searches on Bill
11            Scherer's mailbox.

12       BY MR. WELLS:

13            Q.       Before April of 2014?
14            A.       Yes.

15            Q.       Okay.     Tell me about those.

16                     MR. SPOTSWOOD:        I think you guys have lost
17            communication.       He thinks you're talking about

18            anything.

19       BY MR. WELLS:

20            Q.       Have you searched Bill Scherer's mailbox

21       for this case prior to April of 2014?

22            A.       Not that I'm aware of.

23            Q.       Okay.     And has anyone, to your knowledge?

24                     MR. SPOTSWOOD:        Object to the form.

25                     You may answer.

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 1                     THE WITNESS:       I don't know.

 2       BY MR. WELLS:

 3            Q.       Okay.     Same question for Billy Scherer, Mr.

 4       Scherer's son.       As of April of 2014, you're not aware

 5       of anyone having searched his mailbox for e-mails

 6       responsive to this case, are you?

 7            A.       I don't know.

 8            Q.       And with respect to Richard Drath, as of

 9       April 2014, you're not aware of any search done by

10       this firm for e-mails responsive to this case, are
11       you?

12                     MR. SPOTSWOOD:        Object to the form.

13                     You may answer.
14                     THE WITNESS:       I don't know.

15       BY MR. WELLS:

16            Q.       Do you offer IT support to the people in
17       the D.C. office?

18                     MR. SPOTSWOOD:        Object to the form.

19                     You may answer.

20                     THE WITNESS:       Yes, I do.

21       BY MR. WELLS:

22            Q.       At times, you go up to the D.C. office to

23       assist with IT issues, right?

24            A.       Sometimes.

25                     MR. SPOTSWOOD:        Object to the form.

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 1                     You may answer.

 2       BY MR. WELLS:

 3            Q.       Other times, you are able to remotely log

 4       in to someone's workstation to assist them with some

 5       issue they're having, right?

 6            A.       Yes, but we rely primarily on CTSS to do

 7       the work for the Washington office.

 8            Q.       I'm just asking have you had occasion to

 9       log in remotely to D.C. office computers to assist

10       with IT issues?
11            A.       Yes, I do.

12            Q.       And you had that capability, obviously,

13       right?
14            A.       Yes.

15            Q.       Have you also assisted Mr. Collingsworth

16       with computers he uses in his home office?
17            A.       I have not or not that I recall.                 I'm

18       sorry, not that I recall.

19            Q.       Has he ever sent old home office computers

20       back to you --

21                     MR. SPOTSWOOD:        Object to the form.

22       BY MR. WELLS:

23            Q.       -- for preservation or deletion?

24                     MR. SPOTSWOOD:        Object to the form.

25                     You may answer.

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 1                     THE WITNESS:       No.

 2       BY MR. WELLS:

 3            Q.       He's never done that?

 4            A.       No.

 5            Q.       Are you aware that certain of Mr.

 6       Collingsworth's work computers were transferred from

 7       his work office for use at his home?

 8                     MR. SPOTSWOOD:        Object to the form.

 9                     You may answer.

10                     THE WITNESS:       Can you give me a time frame
11            on that, please?

12       BY MR. WELLS:

13            Q.       There was an HP Compaq desktop in his home
14       from, say, 2010 to possibly into 2012.

15            A.       I was made aware of that during the

16       process of the litigation, but at the time, I did not
17       know about it.

18            Q.       Okay.     So if he had a home computer --

19       excuse me, if he had a work computer that was moved

20       into his home office for use in his work, there was

21       no pulling of the hard drive out of that computer,

22       for example?

23            A.       I mean, you are asking -- you're -- I

24       don't know --

25            Q.       Yeah.

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 1            A.       You are -- that's a hypothetical.

 2            Q.       Do you have any knowledge of that?

 3                     MR. SPOTSWOOD:        Object to the form.

 4                     You may answer.

 5                     THE WITNESS:       Can you ask -- can you ask

 6            the question again?         I'm don't sure -- I'm not

 7            sure if I got it.

 8       BY MR. WELLS:

 9            Q.       Do you have any knowledge of any computer

10       being transferred from Mr. Collingsworth's office in
11       D.C. to his home office?

12            A.       No.

13            Q.       Based on that answer, I assume you also
14       have no knowledge of any hard drive being pulled out

15       of that office computer prior to being sent to his

16       home?
17            A.       Yes, I don't have any knowledge about it.

18            Q.       And no knowledge regarding any transfer of

19       data off of that computer prior to it going to his

20       home?

21                     MR. SPOTSWOOD:        Object to the form.

22                     You may answer.

23                     THE VIDEOGRAPHER:         Four minutes to tape

24            change.

25

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 1       BY MR. WELLS:

 2            Q.       You can answer.

 3            A.       Let me think about it.

 4                     Again, as I told you before, I did not

 5       know about his home computer.            I did not know

 6       anything, I just learned it through the litigation.

 7                     I'm sorry, I'm hungry and kind of tired.

 8                     (Plaintiff's Exhibit 8, document, was

 9       marked for Identification.)

10       BY MR. WELLS:
11            Q.       Let me show you Exhibit 8.            And if you

12       could flip to page 2 of this document.

13            A.       That is correct.
14            Q.       The top right-hand box -- well, really just

15       the top row is talking about the Mac laptop, do you

16       see that?
17            A.       Top right corner?

18            Q.       Yeah, that whole top of the page.

19            A.       Yes.

20            Q.       In the top right-hand corner, it's

21       discussing the Mac laptop being given to Mr.

22       Collingsworth's niece in Brazil and then it says,

23       "Mr. Collingsworth told JC about this since it was a

24       laptop purchased by Conrad & Scherer."                Is that a

25       true statement?

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 1                     MR. SPOTSWOOD:        Object to the form.

 2                     You may answer.

 3       BY MR. WELLS:

 4            Q.       Was the Mac laptop purchased by Conrad &

 5       Scherer?

 6            A.       I don't know.

 7            Q.       You do know he was utilizing it as his work

 8       computer at the time, don't you?

 9            A.       I do know that he was using that computer

10       at the time, but I do know -- I do not know if that
11       was a Conrad & Scherer computer.

12            Q.       Well, the policy of Conrad & Scherer with

13       respect to computers and using them for work is that
14       only Conrad & Scherer computers be used for Conrad &

15       Scherer work, isn't that right?

16                     MR. SPOTSWOOD:        Object to the form.
17                     You may answer.

18                     THE WITNESS:       That's the standard

19            procedure.

20                     THE VIDEOGRAPHER:         Two minutes.

21       BY MR. WELLS:

22            Q.       So if Mr. Collingsworth was using a

23       non-Conrad & Scherer computer for Conrad & Scherer

24       work, that would be a violation of the policy?

25                     MR. SPOTSWOOD:        Object to the form.

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 1                     You may answer.

 2                     THE WITNESS:       We have a standard way of

 3            doing things.       We have -- we purchase our own

 4            computers and that's the way that we run this

 5            business -- we run this partnership.               So, I mean,

 6            I don't know if the Mac computer was purchased by

 7            Conrad & Scherer or not.           I mean, it was -- from

 8            my understanding during the litigation, I think

 9            that laptop was purchased around when I got here.

10            So I wouldn't have a handle on if it was purchased
11            by Conrad & Scherer or by him.

12       BY MR. WELLS:

13            Q.       You just don't know one way or another?
14            A.       Yeah.

15                     THE VIDEOGRAPHER:         Okay.     We are off the

16            record.     This is the end of media unit number 1.
17            11:43 a.m.

18                     (Luncheon recess was taken from 11:43 a.m.

19       to 12:20 p.m.)

20                     THE VIDEOGRAPHER:         We are back on the

21            record.     This begins media 2.          The time is

22            12:20 p.m.

23       BY MR. WELLS:

24            Q.       Mr. Rodriguez, before we broke for lunch,

25       we were discussing exhibit -- what number is that?

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 1            A.       8.

 2            Q.       8.

 3                     Before we go back to that document, you

 4       worked, I guess, alongside or assisted Dennis

 5       Williams in his review of this matter, right?

 6            A.       Yes.

 7            Q.       And you are aware of an issue where Mr.

 8       Collingsworth's e-mails from his IRAdvocates e-mail

 9       account were missing prior to March of 2013?

10                     MR. SPOTSWOOD:        Object to the form.
11                     You may answer.

12                     THE WITNESS:       That is correct.

13       BY MR. WELLS:
14            Q.       Okay.     If you will look at page 3 of

15       Exhibit 8, there's that date March 22, 2013.                   Do you

16       see that?
17            A.       Yes.

18            Q.       And the last sentence in that box says,

19       "There are no IRA e-mails on Terry Collingsworth's

20       work desktop prior to this date."              Was that an

21       observation you made; did you look at his work

22       desktop to see what e-mails were in it?

23            A.       I did look on his work desktop, but this

24       is not -- I mean, I didn't wrote this, so I don't

25       know if --

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 1            Q.       Right.     And I'm not asking if you wrote

 2       that sentence, but I'm asking did you actually

 3       witness that fact; did you look in his work desktop

 4       and see that there were no e-mails prior to March 22,

 5       2013?

 6            A.       That is correct.

 7            Q.       Okay.     And is that what was also on the

 8       Conrad & Scherer server?

 9                     MR. SPOTSWOOD:        Object to the form.

10                     You may answer.
11       BY MR. WELLS:

12            Q.       Only Terry Collingsworth e-mails postdating

13       March 22, 2013.
14            A.       Let me correct this statement.              This is

15       incorrect.      What we couldn't find is that there were

16       no e-mails -- there were no e-mails on his inbox
17       prior to March 22, 2013.           All the sent items since

18       2008 have been on his inbox -- on his mailbox on the

19       Conrad & Scherer e-mail server.

20            Q.       But that's only for his Conrad & Scherer

21       e-mail account, right?

22            A.       Yes.

23            Q.       The inbox and the outbox for --

24                     MR. SPOTSWOOD:        Hang on a second.          He was

25            in the middle of explaining an answer, I thought.

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 1                     THE WITNESS:       Yes.

 2                     So let me go back again.            Can you read

 3            what I have said, I'm sorry?

 4                     (The Reporter read back the requested

 5       portion.)

 6                     THE WITNESS:       Yes.    Also we found -- well,

 7            please scratch that.

 8                     Also, there were on his computer the sent

 9            e-mails on the Office 365 account from very late

10            February 2012 to the present on that computer, all
11            the same items on the IRAdvocates account.

12       BY MR. WELLS:

13            Q.       Okay.     So when -- and I'm talking about
14       before Dennis Williams or you goes and tries to find

15       other sources of e-mails, when you look in Terry

16       Collingsworth's e-mail account just on the
17       IRAdvocates, there's nothing -- there's no e-mails in

18       the inbox prior to March 22, 2013?

19            A.       Uh-huh.

20            Q.       Yes?

21            A.       Yes.

22            Q.       And there are no e-mails in his IRAdvocates

23       sent items prior to February of 2012?

24            A.       Yes, but there is another condition on

25       that.     Terry's mailbox was merged -- Terry's

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 1       IRAdvocates mailbox was merged onto Conrad &

 2       Scherer's on October of 2011.            So we would -- he

 3       would lose the ability to send e-mails as

 4       IRAdvocates.      So his only outgoing e-mail from

 5       October 2011 to February late February 2012 is going

 6       from Conrad & Scherer e-mails -- from the Conrad &

 7       Scherer e-mail server.

 8            Q.       So, between October of '11 and February of

 9       2012, the only way he could send e-mails would be

10       from his Conrad & Scherer account?
11            A.       That is correct.

12            Q.       So, in that time period, there should not

13       be any e-mails that we have that show from
14       TC@iradvocates.org, is that right?

15            A.       There could be -- I think there's a test

16       or something when I was trying to find out how to
17       make him send out as IRAdvocates, but the primary

18       mailbox was on Conrad & Scherer and he was only able

19       to send out as TC@conradscherer.com --

20       conradscherer.com.

21            Q.       So e-mails during that October 2011 through

22       February 2012 time period to the extent they have

23       been produced in this case, should all say from

24       TC@conradscherer.com?

25            A.       That is correct.

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 1            Q.       So you mentioned earlier when someone gets

 2       a new computer and connects it to the Conrad &

 3       Scherer system or the server, it syncs with whatever

 4       e-mails are on the server, right?

 5            A.       That is correct.

 6            Q.       Is that the same with the IRA server,

 7       IRAdvocates?

 8            A.       It depends on the time frame.

 9            Q.       2013?

10            A.       That is correct.
11            Q.       So if someone were to open up Mr.

12       Collingsworth's new computer in June of 2013 and look

13       at his inbox, there would be no IRAdvocates e-mails
14       earlier than March of 2013, is that right?

15                     MR. SPOTSWOOD:        Object to the form.

16                     You may answer.
17                     THE WITNESS:       They would be able to see

18            whatever was on the server at that time.

19       BY MR. WELLS:

20            Q.       Which only went back to March of 2013,

21       right?

22                     MR. SPOTSWOOD:        Object to the form.

23                     You may answer.

24                     THE WITNESS:       If you want to

25            know -- yes -- I'm sorry, can you ask me the

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 1            question again?        I'm not sure if I got it

 2            correctly.

 3       BY MR. WELLS:

 4            Q.       There were no IRAdvocates' e-mails in Mr.

 5       Collingsworth's inbox on the server prior to March of

 6       2013?

 7                     MR. SPOTSWOOD:        Object to the form.

 8                     You may answer, go ahead.

 9                     THE WITNESS:       On the e-mails.

10       BY MR. WELLS:
11            Q.       On the inbox.

12                     So if someone opened up his computer, say,

13       in May of 2013, they would see only inbox e-mails
14       going back to March, right?

15            A.       I wouldn't know that.          I mean --

16            Q.       Can you explain to me how it could be
17       anything other than that; they are not on the server

18       now, are they?

19            A.       They are not in the server right now.

20            Q.       Have they been deleted off the server after

21       March of 2013?

22            A.       Yes, but the problem is I don't know when

23       they were removed from the server within that time

24       frame.

25            Q.       Have e-mails been -- have Mr.

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 1       Collingsworth's e-mails been deleted off the server

 2       since he started using whatever laptop it was that he

 3       got after the MacBook -- let me back up.

 4                     Do you understand Mr. Williams has offered

 5       the opinion that the reason these e-mails are not on

 6       the server prior to March of 2013 is because there

 7       was some sort of auto archive feature enabled on the

 8       MacBook?

 9            A.       That's what Williams says.

10            Q.       Okay.     You understand the MacBook was given
11       away?

12            A.       Yes.

13            Q.       Are you aware of any of Mr. Collingsworth's
14       e-mails being deleted off the server after that

15       MacBook was given away?

16            A.       I was made aware of those deletions during
17       the litigation when we were doing the searches.

18            Q.       Okay.     I'm not asking when you became aware

19       but are you aware of whether any e-mails have been

20       deleted from the server after Mr. Collingsworth gave

21       the computer away or was it just the MacBook having

22       this auto archive that caused the e-mails to get

23       pulled off the server?

24                     MR. SPOTSWOOD:        Object to the form.

25                     You may answer.

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 1                     THE WITNESS:       Can you read the question

 2            again, please?

 3                     (The Reporter read back the requested

 4       portion.)

 5                     THE WITNESS:       I am not aware.

 6       BY MR. WELLS:

 7            Q.       Did you have any occasion to look in Mr.

 8       Collingsworth's e-mail account between March of 2013

 9       and November of 2014?

10            A.       Most likely close to November 2014, to the
11       end of November 2014.

12            Q.       Okay.     So you don't have any recollection

13       of anytime in 2013 you would have looked into his
14       inbox?

15            A.       That is correct.

16            Q.       When you did ultimately look at his e-mail
17       account, you discovered there were no incoming

18       e-mails in the IRAdvocates account prior to March 22,

19       2013?

20                     MR. SPOTSWOOD:        Object to the form.

21       BY MR. WELLS:

22            Q.       Right?

23                     MR. SPOTSWOOD:        You may answer.

24                     THE WITNESS:       Can you read the question?

25                     (The Reporter read back the requested

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 1       portion.)

 2                     THE WITNESS:       That's when I did the

 3            searches on 2014, yes, so the answer is yes.

 4       BY MR. WELLS:

 5            Q.       Okay.     How did that come to your attention

 6       that there were these gaps?

 7            A.       Outside counsel request -- made a request

 8       to get the PSTs for each user in Washington.                   So I

 9       ran a script and Terry's mailbox was unusually small

10       in the number of kilobytes for the inbox, so I
11       thought it was an error from the server.

12                     When I went on the server and I see what I

13       have, I basically raised my hand and say I don't see
14       any Terry's e-mails prior to March 22, 2013.                   While

15       doing these searches, because it was a really tough

16       month, we were working under the clock to get the
17       searches, I also went and see his IRAdvocates and we

18       saw the same behavior.          The sent e-mails were in the

19       server and in the computer, but the inbox, all the

20       e-mails -- all the content in the e-mails was gone

21       prior to March 22, 2013.

22            Q.       Okay.     So you were pulling PSTs from

23       various users to give to counsel or to whoever the

24       e-discovery vendor was and you saw that Terry's was

25       much smaller than everyone else's?

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 1            A.       That is correct.

 2                     MR. SPOTSWOOD:        Object to the form.

 3                     Sorry.

 4                     THE WITNESS:       I'm sorry.

 5                     MR. SPOTSWOOD:        Go ahead.

 6                     THE WITNESS:       That is correct.

 7       BY MR. WELLS:

 8            Q.       All right.      Flip to page 1 of this exhibit.

 9       In the second box from top, you've got a date range

10       between June 2008 and March of 2011 and it says,
11       "Terry's incoming e-mails located by JC/computer

12       consultant."      Do you know if that's referring to

13       Conrad & Scherer e-mails or IRAdvocates e-mails?
14            A.       I'm going to make a clarification here.

15       I -- no, I'm sorry.         I don't know.       I don't know to

16       which e-mails is he referring to.
17            Q.       Okay.     Well, what -- when did you locate

18       e-mails in this time frame?

19            A.       On which server?

20            Q.       Well, either one.         From the incoming.

21            A.       On the incoming.

22                     Well, question, can I say anything about

23       my conversations with Dennis Williams?

24                     MR. SPOTSWOOD:        Yes, you can talk about

25            your conversation with Dennis Williams, but I

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 1            don't want you talking about your conversations

 2            with the lawyers.

 3                      THE WITNESS:      Okay.

 4                      I have, during the first when they

 5            out -- someone, I don't know who, retained

 6            Mr. Williams, he was asking me multiple questions

 7            trying to get a grasp of how our system works and

 8            everything, and I was telling him the history of

 9            my e-mail server.

10                      When I told him that we did the migration
11            from Exchange 2007 to Exchange 2010, he asked me

12            don't you have a backup of that migration and it

13            triggered in my mind that, yes, I do have that
14            backup.     So I went to that backup and I recover

15            those e-mails on the Conrad & Scherer server.

16       BY MR. WELLS:
17            Q.        Okay.    And that's really what I'm asking.

18       So that chunk of time of e-mails that's referred to

19       here, that was located during the course of the work

20       with Mr. Williams?

21            A.        Yes, sir.

22            Q.        And the next box down talks about, "Sent

23       e-mails from the SiteGround server."               Now that would

24       have been IRAdvocates, right?

25            A.        That is correct.

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 1            Q.        These are sent e-mails between November of

 2       2010 and October of 2011.           Were those also located

 3       from the SiteGround server during the course of the

 4       work with Mr. Williams?

 5            A.        No, that was prior.

 6            Q.        When were those located?

 7            A.        On November/December 2014.

 8            Q.        After you had discovered there was this

 9       issue with the small inbox?

10            A.        Yes.    We were trying to locate the e-mails
11       in our best way, so we did a great effort to look for

12       those e-mails.

13            Q.        Okay.    And this is referring to IRAdvocates
14       sent e-mails between November 2010 and October 2011,

15       and it says there's only a handful.               Is that

16       accurate?
17                      MR. SPOTSWOOD:       Object to the form.

18                      You may answer.

19                      THE WITNESS:      I don't recall.        I mean,

20            they say it's a handful, it's a handful.                  I don't

21            know, I didn't wrote this.

22       BY MR. WELLS:

23            Q.        Okay.    How were these e-mails recovered

24       from the SiteGround server; did you all have to go

25       out to the SiteGround company and see if they had

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 1       e-mails?

 2                      MR. SPOTSWOOD:       Object to the form.

 3                      You may answer.

 4       BY MR. WELLS:

 5            Q.        How was that recovered?

 6                      MR. SPOTSWOOD:       Same objection.

 7                      And, again, if he only knows that from

 8            attorney information -- let me -- go ahead, but

 9            don't reveal any attorney-client communications.

10                      THE WITNESS:      Okay.     Can you ask me the
11            question again?

12       BY MR. WELLS:

13            Q.        Yeah.    It looks like here in this second
14       box and the third box they are talking about we've

15       gotten e-mails from the SiteGround server.

16            A.        Uh-huh.
17            Q.        How were those obtained; did you have to go

18       to the SiteGround company and ask for their copies of

19       the e-mails or where were they located?

20            A.        I was going to -- I knew for a fact that I

21       did the migration from IRAdvocates on October 22,

22       2011 to the Conrad & Scherer e-mail server.                    So when

23       I did the migration, I pulled the e-mails -- sorry,

24       not pulled, I copied the e-mails from the SiteGround

25       server into the Conrad & Scherer so Terry can see a

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 1       unified mailbox.

 2                      So, in the effort of trying to locate

 3       these e-mails, I remembered that the e-mails were

 4       still in the SiteGround server.             So we -- I asked

 5       Terry about the password of the server and we tried

 6       to get the password and I was able to log into that

 7       server and grab those e-mails again.

 8            Q.        Okay, but before you did that, those

 9       e-mails were not in Mr. Collingsworth's inbox or

10       outbox?
11                      MR. SPOTSWOOD:       Object to the form.

12                      You may answer.

13                      THE WITNESS:      Before when?
14       BY MR. WELLS:

15            Q.        Before you went and found that migration

16       backup.
17            A.        No, no, no, no.       The migration -- let's go

18       back -- let's check the timeline.              That was not

19       before that -- that was before the restore of the

20       migration.      Yes, that was before.

21            Q.        All right.      When you found these e-mails

22       from the SiteGround server, I think you mentioned

23       that was because you knew that you had done a

24       migration on October 27, 2011 and you created a

25       backup of those e-mails?

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 1            A.        No, no, that's what -- that's not what I

 2       said.

 3            Q.        Okay.    I'm just trying to understand.             What

 4       did you say?

 5            A.        What I said was on October 27th when I

 6       move -- there are processes on an e-mail migration.

 7       The first process is the mail flow.               So there's

 8       something called a change of an MX record.                 So I

 9       changed the MX record from SiteGround to Conrad &

10       Scherer.
11                      The next step is, okay, now you have

12       everything in Conrad & Scherer, now you have your

13       mail coming into Conrad & Scherer, now we need to
14       copy the e-mail that it was prior, whatever you have

15       on the server, and put it onto a new server.                   That's

16       the logical step.        So I copied everything that was in
17       the SiteGround server onto the Conrad & Scherer

18       e-mail server so he can see his IRAdvocates and his

19       Conrad & Scherer e-mails on the same mailbox, one

20       single mailbox.

21            Q.        Okay.

22            A.        Okay.

23            Q.        So when you pulled the PST of Terry's

24       inbox --

25            A.        Uh-huh.

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 1             Q.       -- and noticed it was smaller than everyone

 2       else's --

 3             A.       Yes.

 4             Q.       -- were these e-mails that were referring

 5       to the SiteGround server, were they in that PST?

 6             A.       No.

 7             Q.       It was nothing prior to March of 2013?

 8             A.       That is correct.

 9             Q.       These SiteGround issues were able --

10       they -- never mind.
11                      Do you have any judgment as to how many

12       e-mails were in this handful of e-mails, these sent

13       e-mails from the SiteGround server?
14             A.       I'm sorry, I don't understand the

15       question.

16             Q.       Do you have any judgment as to how many of
17       these sent e-mails referred to here from the

18       SiteGround server as being only a handful, do you

19       have any judgment as to how many e-mails that would

20       be?   And you can give me a range if you have any

21       judgment.

22             A.       No, I don't have any.

23             Q.       Okay.

24             A.       I don't know.

25

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 1                      (Plaintiff's Exhibit 9, e-mails, was marked

 2       for Identification.)

 3       BY MR. WELLS:

 4            Q.        Let me show you what's been marked as

 5       Exhibit 9.      These are a few e-mails from January 18,

 6       2011.     I want to direct your attention to the one at

 7       the bottom of this first page, looks like you're cc'd

 8       on it, right?

 9            A.        Uh-huh.

10            Q.        Is that a yes?
11            A.        Yes.

12                      Let me read the e-mail, please.

13                      MR. SPOTSWOOD:       Yeah, me, too.
14                      THE WITNESS:      Okay.

15       BY MR. WELLS:

16            Q.        In general, this e-mail is discussing the
17       fact that Mr. Collingsworth now has a new MacBook?

18            A.        Yes.

19            Q.        And it says that he's planning for that

20       MacBook to take the place of his current PC here in

21       the office (Windows 7) as well as his Acer notebook

22       that he normally uses during travel.               Do you see

23       that?

24            A.        Yes.

25            Q.        The current PC that he had in the office at

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 1       that time was what, the Dell Optiplex?

 2            A.        I don't know.

 3            Q.        Well, one of these is actually named -- is

 4       also taking the place of the Acer notebook that he

 5       would use during travel?

 6            A.        Yes.

 7            Q.        Were both of those computers Conrad &

 8       Scherer computers, the PC in his office as well as

 9       the Acer notebook?

10            A.        Well, January 18, 2011, I just saw it
11       here.     I don't know, I have no idea.

12            Q.        Further on that paragraph, he -- or

13       Victoria Ryan is saying, "However, he does plan to
14       keep his home computer in use."

15            A.        Uh-huh.

16            Q.        Do you know what home computer that is
17       referring to?

18            A.        Ung-ugh, I don't know.

19            Q.        All right.      Here on January 18th, one of

20       the things Ms. Ryan is also saying about setting up

21       this new MacBook is -- this is the second to last

22       paragraph, I think, "We will also need to work out a

23       system for backing up information on that laptop."

24       Do you see that?

25            A.        Okay.    Yes, I see it.

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 1            Q.        And three days after this e-mail, an

 2       external hard drive was purchased to back up Mr.

 3       Collingsworth's files, right?

 4                      MR. SPOTSWOOD:       Object to the form.

 5                      THE WITNESS:      I don't know.

 6                      MR. SPOTSWOOD:       You may answer.

 7                      (Plaintiff's Exhibit 10, e-mail, was marked

 8       for Identification.)

 9       BY MR. WELLS:

10            Q.        Let me show you Exhibit 10.            This is an
11       e-mail from you to Mr. Dennis Williams?

12            A.        Yes, that is correct.

13            Q.        And you were sending him a receipt for a
14       USB drive, right?

15            A.        That is correct.

16            Q.        This is something he had asked you to
17       provide to him?

18            A.        I've got a question.         Can I -- can I have

19       a break for a moment, please?            No, sorry, let me

20       answer this.

21                      Can you repeat the question again?              Sorry.

22            Q.        Just asking did Dennis Williams ask you to

23       provide this receipt that you are providing in this

24       e-mail?

25            A.        It's --

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 1                      MR. SPOTSWOOD:       I don't want you to reveal

 2            any communications with counsel.              Can you answer

 3            that question without doing that?

 4                      THE WITNESS:      Give me a minute to think.

 5                      Okay.    Unfortunately, I cannot answer;

 6            that was a discussion that we had --

 7                      MR. SPOTSWOOD:       Okay.

 8                      THE WITNESS:      -- with counsel.

 9       BY MR. WELLS:

10            Q.        In any event, the receipt that's attached
11       is a Staples receipt?

12            A.        Yes.

13            Q.        For a GoFlex 500 gigabyte hard drive?
14            A.        Yes.

15            Q.        The date of the receipt is January 21,

16       2011?
17            A.        Yes.

18            Q.        Whose handwriting is this on this receipt?

19            A.        I have no idea.

20            Q.        It's not yours, is it?

21            A.        No.

22            Q.        This isn't something you wrote on the

23       receipt prior to giving it to Mr. Williams, is it?

24            A.        No, I didn't.

25            Q.        Is this how the receipt was maintained in

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 1       the files when you found it, with this handwriting

 2       already on it?

 3            A.        I -- I will have to consult with my

 4       counsel on -- on how I obtained this.

 5                      MR. SPOTSWOOD:       That's not what he's

 6            asking you.

 7                      THE WITNESS:      Sorry.

 8       BY MR. WELLS:

 9            Q.        I'm just asking, you scanned this receipt

10       as a PDF to Dennis Williams.
11            A.        I did not scan this receipt.

12            Q.        It's attached to an e-mail you sent to him.

13       Can we agree on that?
14            A.        Yes.    It's agreed on that, but if you

15       notice, it was sent from the second floor scanner to

16       me and I forward the e-mail to Dennis Williams.
17            Q.        Okay.    In any event, the handwriting on

18       this receipt says, "External hard drive for TC

19       files"?

20            A.        That is correct.

21            Q.        Do you know that that external hard drive

22       is missing today?

23            A.        I learned -- I learned that during the

24       course of this litigation, yes.

25            Q.        Okay.    Does Conrad & Scherer have any

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 1       knowledge as to the last time that hard drive was

 2       used?

 3            A.        No.

 4            Q.        Does Conrad & Scherer have any knowledge as

 5       to who was the last person to use that hard drive?

 6            A.        No.

 7            Q.        Does Conrad & Scherer have any knowledge as

 8       to when it was lost?

 9            A.        No.

10            Q.        Does Conrad & Scherer have any knowledge as
11       to what was on that hard drive?

12            A.        No.

13            Q.        Does Conrad & Scherer have any knowledge as
14       to how many times that hard drive was plugged into

15       and used with Mr. Collingsworth's MacBook?

16            A.        All that information that you are asking
17       me is provided on Dennis Williams' report, but I

18       don't -- I don't know that information firsthand.

19            Q.        And based on all the work you've done to

20       get prepared today, you don't have any information as

21       to whether or how many times that external hard drive

22       was plugged into the MacBook?

23            A.        Yeah.

24                      MR. SPOTSWOOD:       And just for the record, I

25            think we previously advised in yesterday's

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 1            deposition that this information would have to

 2            come from Mr. Williams and that you already had

 3            it.

 4                      MR. WELLS:      I think he didn't know,

 5            either.

 6                      (Plaintiff's Exhibit 11, e-mail, was marked

 7       for Identification.)

 8       BY MR. WELLS:

 9            Q.        Handing you Exhibit 11, which is a

10       March 31, 2011 e-mail from Victoria Ryan to you and
11       subject line is "D.C. office machines."                Do you see

12       that?

13            A.        Yes.
14            Q.        She's providing you here the work computers

15       for the D.C. office?

16            A.        Yes.
17            Q.        Is this something that you keep sort of an

18       inventory of, what computers are in use in both the

19       Florida and D.C. offices?

20            A.        Yes.

21            Q.        Okay.    And the one she lists for Terry

22       Collingsworth is the Mac laptop, right?

23            A.        Yes.

24            Q.        Down on the bottom, there's a few machines

25       listed under -- as "other machines," I guess maybe

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 1       not work --

 2            A.        Uh-huh.

 3            Q.        -- in the office machines.            One of them is

 4       TC home office and they discuss a previous desktop PC

 5       that was shipped up from Conrad & Scherer last year.

 6            A.        Yes.

 7            Q.        Would that have been shipped up by you?

 8                      MR. SPOTSWOOD:        Object to the form of

 9            that.

10                      You may answer.
11                      THE WITNESS:       I don't think so.

12       BY MR. WELLS:

13            Q.        Okay.     Do you know what desktop PC Ms. Ryan
14       is referring to in this e-mail to you?

15            A.        She writes that it's TC home office, but I

16       don't --
17            Q.        As far as what type of computer it was,

18       where it is today, do you know that?

19            A.        I think -- I don't know.

20                      (Plaintiff's Exhibit 12, e-mail, was marked

21       for Identification.)

22       BY MR. WELLS:

23            Q.        Showing you what's been marked as

24       Plaintiff's 12, it's a January 25, 2012 e-mail from

25       Victoria Ryan to you and here she's discussing the

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 1       subject of rerouting Terry's e-mails, is that right?

 2            A.        Uh-huh.

 3            Q.        Is that a yes?

 4            A.        That's -- that's a yes.

 5            Q.        And I'm not going to read the whole thing,

 6       but in general, what she's discussing is a process

 7       where they could route his IRAdvocates e-mail through

 8       Gmail?

 9            A.        Let me read the e-mail first.

10            Q.        Okay.
11            A.        Okay.    I have read it.

12            Q.        The question is was this proposal ever done

13       routing his IRAdvocates e-mail through Gmail?
14            A.        No.

15            Q.        So something, I guess, was considered but

16       not done, it was left on the SiteGround server at
17       this point?

18            A.        On January 25, 2012, it was on the Conrad

19       & Scherer server.        This -- the second paragraph on

20       this e-mail where she says, "Terry still has problems

21       with his IRAdvocates e-mail which is hosted by

22       SiteGround," that statement is incorrect.                 On

23       January 25, 2012, Terry's mailbox was -- Terry's

24       IRAdvocates mailbox was merged on the Conrad &

25       Scherer e-mail server.

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 1            Q.        Okay.    So this proposal of moving it to

 2       Gmail was not done, so it stayed on the Conrad &

 3       Scherer server at that point?

 4            A.        Yes, yes.

 5            Q.        Until at some point the IRAdvocates was

 6       moved off and onto an Office 365 server?

 7            A.        That is correct, and it was --

 8            Q.        It was --

 9            A.        -- February 2nd or 3rd of 2012 when I -- I

10       think it's further down when -- I'll be there on the
11       2nd of February, so it was during my visit to

12       Washington.

13            Q.        Okay.    So the Gmail option was proposed but
14       the ultimate resolution was we'll go with Office 365

15       instead?

16            A.        That is correct.
17                      Sorry, just can I grab a bottle of water?

18            Q.        Absolutely.

19                      MR. SPOTSWOOD:       Would you get one for me,

20            too?

21                      THE WITNESS:      Thank you.

22                      (Plaintiff's Exhibit 12, e-mails, was

23       marked for Identification.)

24       BY MR. WELLS:

25            Q.        I'm going to show you Exhibit 13.               This is

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 1       a series of e-mails from May 2012.              Go ahead and read

 2       them and I'll ask you a couple of questions.

 3            A.        May 21, 2012.

 4                      Okay.

 5            Q.        The string begins with Mr. Collingsworth

 6       asking you to remote into his laptop to help him with

 7       some issue he's having?

 8            A.        That is correct.

 9            Q.        And that was at that time the Mac laptop,

10       correct?
11            A.        Yes.

12            Q.        So you had the capability, while Mr.

13       Collingsworth was using the Mac laptop, to remote
14       into his computer to assist with it?

15                      MR. SPOTSWOOD:       Object to the form.

16                      You may answer.
17                      THE WITNESS:      I may answer?

18                      MR. SPOTSWOOD:       Yes.

19                      THE WITNESS:      Yes, I have the ability to

20            remote in.

21       BY MR. WELLS:

22            Q.        And that Mac laptop was connected directly

23       to the Conrad & Scherer server, wasn't it?

24            A.        It was connected to the e-mails, to the

25       e-mail server on Conrad & Scherer.

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 1            Q.        In other words, Mr. Collingsworth was not

 2       using that Mac laptop and going online to a web

 3       hosted e-mail access point; he had Outlook on his

 4       computer that was connected to the server, so all he

 5       had to do was open Outlook and his e-mails would be

 6       there?

 7            A.        That is correct.

 8            Q.        Are you aware of any non-Conrad & Scherer

 9       computers on which that is the case, that they are

10       connected directly to the server?
11                      MR. SPOTSWOOD:       Object to the form.

12                      You may answer.       Go ahead.

13                      THE WITNESS:      I'm sorry, I'm having
14            trouble double negations.           Can you repeat the

15            question again?

16       BY MR. WELLS:
17            Q.        Are you aware of any non-Conrad & Scherer

18       computer, non-firm computer --

19            A.        Uh-huh.

20            Q.        -- that is directly connected to the Conrad

21       & Scherer e-mail server?

22                      MR. SPOTSWOOD:       Object to the form.

23                      You may answer.

24                      THE WITNESS:      No, I'm not aware.

25

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 1       BY MR. WELLS:

 2            Q.        That's firm policy?

 3            A.        Yes.

 4            Q.        That only firm computers be connected to

 5       the firm server, right?

 6            A.        That is the policy, that is the general --

 7       let me correct that.         That is the standard -- our

 8       standard way of doing things.

 9            Q.        Okay.

10                      (Plaintiff's Exhibit 14, e-mails, was
11       marked for Identification.)

12       BY MR. WELLS:

13            Q.        I'm going to show you Exhibit 14 which are
14       some e-mails in June of 2012 and appears there's some

15       discussion about Mr. Collingsworth's new computer

16       being set up and transitioning from his old computer,
17       is that right?

18            A.        Yes.

19            Q.        What was the new computer?

20            A.        I think -- I cannot exactly pinpoint to

21       which computer is she referring to.

22            Q.        Can you say that it was the -- whatever

23       brand it was, it was the computer that he utilized in

24       the office?

25            A.        Could be.

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 1            Q.        I mean, this isn't referring to replacing

 2       his MacBook, is it?

 3            A.        No.

 4                      MR. SPOTSWOOD:       Object to the form.

 5                      You may answer.       Go ahead.

 6                      THE WITNESS:      This is not referring to the

 7            MacBook -- to a MacBook.

 8       BY MR. WELLS:

 9            Q.        Can you identify what the old computer

10       she's referring to is?
11            A.        If you give me some document, I may.                I

12       don't -- I don't know at this moment in time.

13            Q.        Was there any transfer of data from the
14       MacBook to either of these computers referred to in

15       this e-mail?

16                      MR. SPOTSWOOD:       Object to the form.
17                      You may answer.

18                      THE WITNESS:      Give me a minute to think.

19                      Yes, I don't know what she's referring to.

20       BY MR. WELLS:

21            Q.        Okay, but are you aware of -- whatever

22       these computers are, are you aware of any transfer of

23       data from the MacBook to any of Mr. Collingsworth's

24       office computers?

25            A.        Not from the MacBook, not from the

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 1       MacBook.     At the time, Terry was also using a desktop

 2       computer and I -- no, I don't recall exactly the

 3       date, but I remember that there was an issue with a

 4       Dell computer.       He had a desktop computer and that

 5       desktop computer failed, so we have to transfer the

 6       data from one computer to the other.               So that's what

 7       I think she's referring to.

 8            Q.        But was there any transfer from the MacBook

 9       to that new computer to ensure that both the

10       MacBook --
11            A.        I don't think so.

12            Q.        -- had the same thing on it?

13            A.        I don't know.
14                      MR. SPOTSWOOD:       Object to the form.

15                      You may answer.       Go ahead.

16                      THE WITNESS:      I don't think so.
17                      (Plaintiff's Exhibit 15, e-mails, was

18       marked for Identification.)

19       BY MR. WELLS:

20            Q.        Showing you Exhibit 15, this is a series of

21       July 2012 e-mails, appear to be discussing the same

22       subject of transferring from one computer to another.

23            A.        Uh-huh.

24                      Oh.   So this confirms what I just told you

25       before.

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 1            Q.        Which was what, this is the Dell that had

 2       an issue?

 3            A.        The Dell that had an issue.

 4            Q.        And it was replaced with a Dell Vostro that

 5       Conrad & Scherer still maintains?

 6            A.        Yes.

 7            Q.        Okay.    And, again, you're not aware of any

 8       transfer of data from the MacBook to the Dell Vostro?

 9            A.        No.

10                      MR. SPOTSWOOD:       Object to the form.
11                      You may answer.

12       BY MR. WELLS:

13            Q.        In any event, when he was going from one
14       Dell to the next Dell, the data from the previous

15       Dell was transferred to the new Dell, right?

16            A.        That is correct.
17            Q.        And that was handled by Conrad & Scherer IT

18       personnel?

19            A.        Yes.

20            Q.        Was that the regular procedure at this

21       period in time for Conrad & Scherer IT to handle

22       transfer of data from one work computer to the next?

23                      MR. SPOTSWOOD:       Object to the form.

24                      You may answer.

25                      THE WITNESS:      Yeah, it's routine

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 1            procedure.

 2                      Can I have a quick break?

 3                      MR. WELLS:      Sure.

 4                      THE VIDEOGRAPHER:        We are off the record

 5            at 1:08 p.m.

 6                      (Brief recess was taken.)

 7                      THE VIDEOGRAPHER:        We are back on the

 8            record.     It's 2:16 -- 1:16 p.m.

 9                      THE WITNESS:      I want to clarify something

10            for the record.        The last question, can you read
11            me his last question, please?

12                      (The Reporter read back the requested

13       portion.)
14                      THE WITNESS:      I want to correct my answer.

15                      On this case, we transferred the data from

16            an old computer to a new computer because there
17            was a warranty issue on the computer, but it's not

18            a routine procedure to change -- to transfer data

19            from one computer to another.

20       BY MR. WELLS:

21            Q.        Did you discuss your response to that

22       question with counsel during the break?

23                      MR. SPOTSWOOD:       You can answer that.

24                      THE WITNESS:      Yes.

25                      MR. SPOTSWOOD:       You can also ask if that's

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 1            your answer or the lawyer's answer.

 2                      MR. WELLS:      Well, you can follow up and

 3            get your questions answered at the end of the day,

 4            Bob.

 5                      (Plaintiff's Exhibit 16, e-mails, was

 6       marked for Identification.)

 7       BY MR. WELLS:

 8            Q.        I'm going to show you Exhibit 16, which is

 9       a series of e-mails from February 15th, 2013 between

10       you and Mr. Collingsworth, right?
11                      MR. SPOTSWOOD:       Hang on a second, let me

12            catch up with you.

13                      MR. WELLS:      Okay.
14                      THE WITNESS:      That is correct.

15       BY MR. WELLS:

16            Q.        Looks like Mr. Collingsworth is complaining
17       about his e-mail being slow when he's trying to type

18       an e-mail in Outlook, right?

19            A.        Yes.

20            Q.        He asked if you can remote in and you say

21       yes, you can, correct?

22            A.        Yes.

23            Q.        Do you recall what you did on this occasion

24       to assist?

25            A.        No, I don't recall.

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 1            Q.        What was the issue causing the Outlook to

 2       be moving slowly?

 3            A.        I don't recall.

 4                      (Plaintiff's Exhibit 17, e-mail, was marked

 5       for Identification.)

 6       BY MR. WELLS:

 7            Q.        Showing you Exhibit 17, this is an April 3,

 8       2013 e-mail from Maggie Crosby to you talking about

 9       the fact that Mr. Collingsworth has traded out his

10       MacBook, correct?
11            A.        Yes.

12            Q.        And the new computer he obtained was an HP

13       laptop?
14            A.        Yes.

15            Q.        Ms. Crosby is telling you, "Hi, Juan.

16       Terry has traded out his Mac.            Is there a time that
17       you or someone from your team can transfer everything

18       from his Mac to his new computer."              Did I read that

19       correctly?

20            A.        Yes.

21            Q.        So, at least as of early April 2013, there

22       are discussions going on with you about transferring

23       data from Mr. Collingsworth's MacBook to his new

24       computer?

25            A.        That is correct.

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 1            Q.        Did that transfer ever take place?

 2            A.        No.

 3            Q.        And what was the reason for that transfer

 4       not taking place?

 5                      MR. SPOTSWOOD:       Object to the form.

 6                      You may answer.

 7                      THE WITNESS:      Let me correct my answer

 8            before, my prior answer.           I personally do not know

 9            if the transfer was done from his computer.                   All I

10            got was a response saying that it's
11            already -- it's already been taken care of.

12       BY MR. WELLS:

13            Q.        Who did that response come from?
14            A.        If I am not mistaken, from Maggie.

15            Q.        Was this in an e-mail?

16            A.        Yes.
17            Q.        Did you review that e-mail yesterday in

18       preparing for today?

19            A.        No.

20            Q.        Are you aware of whether it's been produced

21       in this case?

22            A.        I don't know if it was produced in this

23       case.

24            Q.        When was this e-mail?

25            A.        I don't remember exactly when, but I know

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 1       we were busy at that time and we couldn't get to it

 2       when they requested it.          So we asked later or I don't

 3       exactly recall -- I don't recall the details.                  I'm

 4       sorry.

 5                      (Plaintiff's Exhibit 18, e-mails, was

 6       marked for Identification.)

 7       BY MR. WELLS:

 8            Q.        Let me show you Exhibit 18.            This is some

 9       e-mail correspondence between Ms. Crosby and Mr.

10       Collingsworth on April 23, 2013, approximately
11       20 days after this last e-mail we just looked at,

12       where Mr. Collingsworth says that he won't worry

13       about transferring old e-mails, music, et cetera.
14       Have you seen that e-mail in your preparation for

15       today's testimony?

16                      MR. SPOTSWOOD:       Object to the form.
17                      You may answer.

18                      THE WITNESS:      I'm reading.

19                      Yes, I have seen the e-mail.

20       BY MR. WELLS:

21            Q.        And Mr. Collingsworth is telling Ms.

22       Crosby," Don't worry about transferring my old

23       e-mails over to my new computer."

24                      MR. SPOTSWOOD:       Object to the form.

25

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 1       BY MR. WELLS:

 2             Q.       Right?

 3                      MR. SPOTSWOOD:        You may answer.

 4                      Same objection.

 5                      THE WITNESS:       That's what is written on

 6             the e-mail.

 7       BY MR. WELLS:

 8             Q.       And you think it was -- well, let me go up

 9       to Ms. Crosby's e-mail above and she says, "Sounds

10       good.      Those computer tasks should be easy enough.
11       I'll work with Juan to get that all worked out."                   Do

12       you see that?

13             A.       That is correct.
14             Q.       All right.      Was it after this date,

15       April 23, 2013, that you received some communication

16       from Maggie Crosby about the transfer from Mr.
17       Collingsworth's MacBook has already been taken care

18       of?

19                      MR. SPOTSWOOD:        Object to the form.

20                      You may answer.        Go ahead.

21                      THE WITNESS:       I don't recall the date of

22             that e-mail.       I don't know if it was prior or

23             after.

24                      MR. WELLS:      Bob, do you know what e-mail

25             he's talking about or whether it's been produced?

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 1                      MR. SPOTSWOOD:       I would have to check.         I

 2            don't know as I sit here.

 3                      MR. WELLS:      All right.      We would request

 4            that it be produced if there is such an e-mail.

 5            It was not in anything we've seen.               I don't know

 6            if it's in something that was taken out of the

 7            Dennis Williams file or what this e-mail is he's

 8            referring to, but we want to see it.

 9       BY MR. WELLS:

10            Q.        All right.      This e-mail or verbal
11       communication, however it was relayed to you from Ms.

12       Crosby that the transfer from the Mac to a new

13       computer had been --
14            A.        I'm sorry, can you slow down?

15            Q.        Yes.

16                      You said you were told by Maggie Crosby
17       that the transfer of data from the Mac to Mr.

18       Collingsworth's new computer had been taken care of.

19            A.        Yes.

20            Q.        Did she advise you who took care of it?

21            A.        No, not that I recall.

22            Q.        Now -- well, ask it this way:            We do know

23       that Mr. Collingsworth's e-mails that were stored

24       only on the MacBook were not transferred to his new

25       computer, don't we?

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 1                      MR. SPOTSWOOD:       Object to the form.

 2                      You may answer.

 3                      THE WITNESS:      Excuse me, I don't -- what

 4            is the question again?          I'm not sure if I got it

 5            correctly.

 6       BY MR. WELLS:

 7            Q.        Well, Mr. Williams has opined that because

 8       of some auto archive feature on the MacBook, it was

 9       archiving all of his inbox e-mails only to the

10       MacBook and that's the reason there's a gap in this
11       pre-2013 period.        Do you understand that?

12            A.        Yes.

13            Q.        Okay.    Mr. Collingsworth's new computer
14       after the MacBook was an HP laptop?               I think we

15       already established that.

16            A.        Yes.
17            Q.        We know those e-mails are not on the HP

18       laptop, don't we?

19            A.        Yes.

20            Q.        So, to the best of Conrad & Scherer's

21       knowledge, isn't it true that there was no transfer

22       of e-mails from the MacBook to the HP laptop?

23            A.        I wouldn't say it that way.            We had a

24       system where the e-mails sync from the e-mail server

25       to a computer.        The main repository is the server,

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 1       not the computer.        So it wouldn't matter if the

 2       computer was stolen, destroyed, the main repository

 3       of the data was on the server, not on the

 4       local -- not on the device that was -- that was being

 5       used at the time.

 6            Q.        Well, in this case, the pre-March 2013

 7       e-mails were not on the server, they were only on Mr.

 8       Collingsworth's MacBook, right?

 9            A.        Pre-March -- can you say it again?              I'm

10       sorry.     Can you read it again?
11                      (The Reporter read back the requested

12       portion.)

13                      THE WITNESS:      I don't know if they were on
14            his MacBook.       I don't know where they are.

15       BY MR. WELLS:

16            Q.        Well, they weren't on the server; can we
17       agree on that?

18            A.        Yes.

19            Q.        So when the HP laptop was plugged in and it

20       synced, it would not sync up any incoming e-mails

21       prior to March of 2013, right?

22            A.        Right.

23            Q.        So when Mr. Collingsworth opened up his HP

24       laptop for the first time and it synced with the

25       server, he would not see any incoming e-mails

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 1       predating March 2013, right?

 2            A.        Correct.

 3            Q.        Let me ask you this:         The hard drive of the

 4       MacBook was not removed and preserved, was it?

 5            A.        Not to my knowledge.

 6            Q.        Did anybody request that that be done?

 7            A.        Nobody did that request.

 8            Q.        Did anyone advise Conrad & Scherer that Mr.

 9       Collingsworth's MacBook, which was his primary work

10       computer, was being given away to a relative?
11            A.        Not to my knowledge.

12            Q.        Well, to anyone in Conrad & Scherer's

13       knowledge?
14            A.        I don't know.

15            Q.        Based on everything you've done to get

16       prepared for this deposition, you have no knowledge
17       of that occurring?

18            A.        I have no knowledge.

19            Q.        Now, Mr. Collingsworth has testified that

20       after that MacBook was purportedly stolen in Brazil,

21       he told you.       Is that true?

22                      MR. SPOTSWOOD:       Object to the form.

23                      You may answer.

24                      THE WITNESS:      When he told me that?

25

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 1       BY MR. WELLS:

 2            Q.        I'm asking did he tell you that.

 3            A.        During the course of the litigation, he

 4       told us that.

 5            Q.        The first time you heard this story about

 6       the computer being stolen in Brazil was when the

 7       Dennis Williams work was being done, is that right?

 8                      MR. SPOTSWOOD:       Object to the form.

 9                      You may answer.

10                      THE WITNESS:      Yes.
11                      (Plaintiff's Exhibit 19, e-mails, was

12       marked for Identification.)

13       BY MR. WELLS:
14            Q.        Showing you Exhibit 19.          These are some

15       e-mails between you and Mr. Collingsworth in June of

16       2013 and it looks like, at this point, he has got his
17       new HP laptop up and running, is that right?

18            A.        Yes.

19            Q.        In the bottom e-mail, he is writing to you

20       as well as Maggie Crosby and says, "Thanks to both of

21       you for getting this set up.            It is working very

22       well.     I have just one question.          I'm working from

23       home and have a good internet connection.                 How can I

24       access my files on Dropbox?"            Do you see that?

25            A.        Yes.

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 1            Q.        Now, Mr. Collingsworth testified that he

 2       was certain he did not have any e-mails stored on

 3       Dropbox.     You know that is not true, right?

 4                      MR. SPOTSWOOD:       Object to the form.

 5                      You may answer.

 6                      THE WITNESS:      Sorry, I don't -- I don't

 7            get the question, so e-mails on Dropbox?

 8       BY MR. WELLS:

 9            Q.        Is it a true statement that Mr.

10       Collingsworth never stored any e-mails on Dropbox?
11                      MR. SPOTSWOOD:       Object to the form.

12                      You may answer.

13                      THE WITNESS:      I don't know.
14                      (Plaintiff's Exhibit 20, e-mail, was marked

15       for Identification.)

16       BY MR. WELLS:
17            Q.        Going to show you Exhibit 20.            This is an

18       e-mail exchange from this year between you and Dennis

19       Williams, and see down at the bottom a reference to

20       Dropbox?

21            A.        (Nodding head.)

22                      Yes.

23            Q.        It says -- this is Dennis Williams

24       speaking, "I saw mention of a Dropbox.                Did Terry

25       Collingsworth keep data in a Dropbox, any e-mails in

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 1       a Dropbox?      What kind of data kept in Terry

 2       Collingsworth's Dropbox."           And your response was

 3       what?

 4            A.        That, "He has some data, however only some

 5       PSTs already examined.          If I am not mistaken, only

 6       2010 e-mails."

 7            Q.        And PSTs are basically a file that contains

 8       multiple e-mails, right?

 9            A.        That is correct.

10            Q.        So you are aware that Mr. Collingsworth did
11       have e-mails in his Dropbox?

12            A.        He has the database for those e-mails in

13       his Dropbox.
14            Q.        Did you access Mr. Collingsworth's Dropbox

15       here in June of 2013 when he's asking for help

16       accessing it?
17                      MR. SPOTSWOOD:       That's going back to

18            Exhibit 19?

19                      MR. WELLS:      Right.

20                      MR. SPOTSWOOD:       Okay.

21                      THE WITNESS:      I don't recall.

22       BY MR. WELLS:

23            Q.        After June of 2013 when Mr. Collingsworth

24       has got his HP laptop set up, did he ever contact

25       Conrad & Scherer IT support for assistance in

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 1       locating his incoming e-mails prior to 2013?

 2            A.        No.

 3            Q.        Did anyone in the D.C. office contact

 4       Conrad & Scherer IT for assistance in locating Mr.

 5       Collingsworth's incoming e-mails prior to 2013?

 6            A.        No.

 7            Q.        Did anyone express any concern about not

 8       being able to find Mr. Collingsworth's e-mails prior

 9       to March of 2013?

10                      MR. SPOTSWOOD:       Object to the form.
11                      You may answer.

12                      THE WITNESS:      Again, Terry sent e-mails

13            were -- anything that Terry sent prior to
14            March 22, 2013 was on the e-mail server.

15       BY MR. WELLS:

16            Q.        I'm talking about the inbox.            Did anybody
17       say, hey, we can't find Mr. Collingsworth's e-mails

18       prior to 2013 in the inbox?

19            A.        That is correct.

20            Q.        Nobody said that?

21            A.        Nobody said that.

22            Q.        Let me just ask you this:           We discussed

23       earlier in the deposition this backup of the server

24       that would be maintained for 90 days and then it was

25       overwritten.       Do you recall that?

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 1            A.        Yes.

 2            Q.        Is there any backup of that backup?

 3            A.        Backup of the DPM server?

 4            Q.        Yes.

 5            A.        No.

 6            Q.        During the time y'all have been using this

 7       90-day DPM server backup, y'all have not also been

 8       utilizing backup tapes or disks attached to a server

 9       that maintain the documents for longer than 90 days?

10            A.        I'm sorry, can you read the question
11       again?

12            Q.        I'll ask it a different way.

13                      Other than the 90-day DPM server backup,
14       is there any other backup of the e-mail server that

15       stays around longer than 90 days?

16            A.        Stays around longer than 90 days, a
17       backup?

18            Q.        Yes.

19                      MR. SPOTSWOOD:       I'll object to the form of

20            this because I think the time frame is important.

21       BY MR. WELLS:

22            Q.        October 2011 to December 2013.

23            A.        There is a replica for disaster recovery

24       purposes --

25                      THE REPORTER:       For what purposes?          I

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 1            didn't hear you.

 2                      THE WITNESS:      Disaster recovery purposes.

 3                      THE REPORTER:       Thank you.

 4                      THE WITNESS:      In an Orlando data center

 5            which keeps the last 24 hours a replica of the

 6            server, a daily replica of the server.                So, in

 7            case something fails, we can go back to Orlando

 8            and get -- and be able to operate normally.                   As

 9            far as backup, backup goes, we only have the DPM

10            server.
11       BY MR. WELLS:

12            Q.        Okay.    So the disaster recovery, if there

13       was some hurricane or something that knocked out
14       server here, you have something over in Orlando that

15       was backed up within the last 24 hours?

16            A.        Yes.
17            Q.        But that daily backup is not maintained

18       beyond, I guess, that 24-hour period, is that right?

19            A.        That is correct.

20            Q.        Okay.

21                      (Plaintiff's Exhibit 21, e-mail, was marked

22       for Identification.)

23       BY MR. WELLS:

24            Q.        Let me show you Exhibit 21, which is an

25       e-mail from one of Dennis Williams' associates to you

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 1       asking, "Juan, can you check your e-mail around the

 2       June 23, 2013 range or slightly after for any e-mails

 3       regarding Terry Collingsworth's e-mail?"

 4            A.        Yes.

 5            Q.        Did you comply with this request and search

 6       for e-mails discussing Mr. Collingsworth's e-mails?

 7            A.        Yes.

 8            Q.        Did you find any?

 9            A.        No.

10            Q.        No e-mails saying, hey, we can't find
11       e-mails prior to March 2013?

12            A.        Yes.

13            Q.        So, as far as you are aware, Mr.
14       Collingsworth did not notify anyone at Conrad &

15       Scherer that the MacBook was allegedly stolen until

16       Mr. Williams started asking for a copy of it, is that
17       right?

18            A.        I wouldn't say it that way.

19            Q.        All right.      Well, give me --

20                      (Plaintiff's Exhibit 22, e-mails, was

21       marked for Identification.)

22       BY MR. WELLS:

23            Q.        Showing you Exhibit 22, which is an e-mail

24       string involving you and Mr. Williams where it

25       appears -- Mr. Williams says, "We also need to image

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 1       the Mac laptop that Terry Collingsworth used and then

 2       gave to a relative.         Please try to have Terry provide

 3       the Mac laptop."

 4            A.        Let me read the e-mail first.

 5            Q.        Okay.

 6            A.        Yes.

 7            Q.        All right.      You would agree that

 8       Mr. Williams would not be asking for a copy of the

 9       Mac laptop if he knew at that time it had been

10       stolen, right?
11                      MR. SPOTSWOOD:       Object to the form.

12                      You may answer.

13                      THE WITNESS:      Sorry, can you read the
14            question slowly?

15                      (The Reporter read back the requested

16       portion.)
17                      MR. SPOTSWOOD:       Object to the form.

18                      You may answer.

19                      THE WITNESS:      Yes.

20       BY MR. WELLS:

21            Q.        And you respond to Mr. Williams and inform

22       him that Mr. Collingsworth gave the laptop to his

23       niece and apparently it was stolen in Brazil, right?

24            A.        Yes.

25            Q.        When did you learn that information?

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 1            A.        During the litigation.

 2            Q.        During the Dennis Williams' involvement in

 3       the litigation?

 4            A.        It was during discussions during November

 5       and December 2014.

 6            Q.        Who told you that?

 7                      MR. SPOTSWOOD:       If that requires you to

 8            talk about communication with counsel, then I

 9            would ask that you not answer that question.

10                      THE WITNESS:      I cannot answer that
11            question.

12       BY MR. WELLS:

13            Q.        Have you discussed it with Mr.
14       Collingsworth?

15            A.        Not that I recall.

16                      Can I have a quick break?
17            Q.        If I could --

18            A.        Just need one minute; I need to go to the

19       bathroom real quick.

20                      MR. WELLS:      Okay.

21                      THE VIDEOGRAPHER:        1:46.     We are off the

22            record.

23                      (Brief recess was taken.)

24                      THE VIDEOGRAPHER:        1:47 p.m.      Back on the

25            record.

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 1                      (Plaintiff's Exhibit 23, e-mail, was marked

 2       for Identification.)

 3       BY MR. WELLS:

 4            Q.        I'm going to show you what's been marked as

 5       Exhibit 23.       These are some more e-mails between you

 6       and Mr. Williams and it appears you are providing him

 7       a spreadsheet?

 8                      MR. PRESLEY:       I think we are on a

 9            different exhibit than what we just gave him.

10                      MR. WELLS:      Strike everything I just said.
11                      MR. SPOTSWOOD:        Okay.    Can I get a copy of

12            whatever it is we are looking on?

13                      MR. WELLS:      I think you have a correct
14            copy.

15                      MR. SPOTSWOOD:        I don't have anything yet.

16            He was trying to get clarity on that one first.
17                      MR. WELLS:      Okay.

18                      THE WITNESS:       Is this --

19       BY MR. WELLS:

20            Q.        Starting again, what I've handed you is a

21       March 4th e-mail from you to Dennis Williams and

22       others.     Appears like you are responding to some of

23       Mr. Williams' questions, is that what that is?

24            A.        Let me read the e-mail.

25            Q.        Sure.

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 1            A.        Okay.

 2            Q.        Would that accurately describe that you

 3       were responding some questions from Mr. Williams and

 4       his team?

 5            A.        For Mr. Graham.

 6            Q.        Who is a member of Mr. Williams' team?

 7            A.        Yes.

 8            Q.        One of those questions down towards the

 9       middle of the page is, "Who moved files from the Mac

10       to the HP laptop," right?
11            A.        Correct.

12            Q.        And your response is, "No idea."

13            A.        That's correct.
14            Q.        Is that still true today?

15            A.        I still don't know who moved the files.

16            Q.        Or if anyone moved them at all?
17                      MR. SPOTSWOOD:       Object to the form.

18                      You may answer.

19                      THE WITNESS:      I don't know.

20                      (Plaintiff's Exhibit 24, e-mail, was marked

21       for Identification.)

22       BY MR. WELLS:

23            Q.        Now I'm handing you Exhibit 24.             It's

24       another e-mail from you to Dennis Williams and this

25       one appears like you're providing him a spreadsheet

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 1       called the "CS hard drive inventory list," is that

 2       right?

 3                      MR. SPOTSWOOD:       Give him a chance to take

 4            a look at this; this is several pages.

 5                      THE WITNESS:      That's correct.

 6       BY MR. WELLS:

 7            Q.        What is this inventory list supposed to

 8       reflect?

 9            A.        The hard drives that we had in

10       possession -- we have in possession.
11            Q.        That the firm has in possession?

12            A.        Uh-huh.

13            Q.        Is that a yes?
14            A.        Yes.

15            Q.        So we should be able to look at this list

16       and determine all of the hard drives that the firm
17       currently possesses?

18                      MR. SPOTSWOOD:       Object to the form.

19                      You may answer.

20                      THE WITNESS:      Yes.

21                      (Plaintiff's Exhibit 25, e-mails, was

22       marked for Identification.)

23       BY MR. WELLS:

24            Q.        Going to show you what has been marked as

25       Exhibit 25.      This is some more correspondence between

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 1       you and Mr. Graham of Dennis Williams' team, is that

 2       right?

 3            A.        Okay.

 4            Q.        Looks like Mr. Graham is asking you if

 5       anyone looked in the deleted folder for Mr.

 6       Collingsworth's account?

 7            A.        Yes.

 8            Q.        And you said you had but there was nothing

 9       there, is that right?

10            A.        Yes.
11            Q.        You say, "Those PSTs there are from his

12       Gmail."     What are you referring to there?

13            A.        Sorry, but I don't recall.
14            Q.        Did you obtain any PSTs from Mr.

15       Collingsworth's Gmail account?

16            A.        Yes.
17            Q.        Where are those PSTs located today?

18                      MR. SPOTSWOOD:       Object to the form.

19                      You may answer.

20                      THE WITNESS:      In our servers.

21       BY MR. WELLS:

22            Q.        You have a copy of Mr.

23       Collingsworth's -- well, what PSTs did you take from

24       the Gmail account?

25            A.        Can you read my answer, please?

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 1                      (The Reporter read back the requested

 2       portion.)

 3                      THE WITNESS:      Can I correct the

 4            question -- the answer to the question?

 5                      At the time that was on December 2014

 6            during the litigation, it was requested by counsel

 7            to grab some keyword searches on Terry's Gmail

 8            account.      So those results were exported into a

 9            PST file and Terry was given the chance to review

10            those results.        So those are the PSTs that he was
11            referring to.

12       BY MR. WELLS:

13            Q.        Okay.    Did you run the same search terms on
14       his Gmail account as were being run in the Exchange

15       Server at that time?

16                      MR. SPOTSWOOD:       Okay.    If you know, I'll
17            let you answer the question.

18                      THE WITNESS:      The problem is it was

19            discussed with you guys, so --

20                      MR. SPOTSWOOD:       No, it's okay.        I'm going

21            to let you answer that question.              Without waiving

22            the privilege, we'll let you answer the question

23            about the search terms.

24                      THE WITNESS:      Can you ask me the question

25            again?

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 1                      (The Reporter read back the requested

 2       portion.)

 3                      THE WITNESS:      At the time, there were

 4            provided me some search terms by counsel, by

 5            external counsel, and I run those terms on Terry's

 6            Gmail account.

 7       BY MR. WELLS:

 8            Q.        And did you run those same terms on both

 9       the Exchange Server and the Gmail account?                 The

10       question I'm being asked, were you given a set of
11       search terms and you went out and ran it on the

12       Exchange Server, you also ran it on the Gmail

13       account, and then you may have also run the same
14       terms on the IRA 365 server.            Is that what you did?

15            A.        Yes.

16            Q.        Okay.    And the PSTs resulting from those
17       searches are currently saved on the Conrad & Scherer

18       server?

19            A.        Yes, and it was given to counsel for

20       document review.

21            Q.        Okay.    You would be able to access those

22       PSTs here in the office in this building?

23            A.        Yes.

24            Q.        And go through by date and try to find an

25       e-mail from a particular date?

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 1            A.        If the e-mail fell in the keyword

 2       searches, yes.

 3            Q.        Okay.

 4                      (Plaintiff's Exhibit 26, e-mails, was

 5       marked for Identification.)

 6       BY MR. WELLS:

 7            Q.        I'm going to show you what's being marked

 8       as Exhibit 26.        And if you look at that very bottom

 9       e-mail from Albert Van Bilderbeek to Terry

10       Collingsworth's Gmail account, right?
11            A.        Yes.

12            Q.        All right.      Now, if that e-mail was in the

13       PSTs you collected from his Gmail account, how long
14       do you think it would take you to find it?

15            A.        I don't know --

16                      MR. SPOTSWOOD:       I object to the form of
17            that, but go ahead and finish your answer.

18                      THE WITNESS:      I'm sorry, can you ask --

19            can you read me the question again.

20       BY MR. WELLS:

21            Q.        I'll just ask you a different way.

22                      If I want to ask you open up those PSTs

23       and see if you can find this July 19th e-mail from

24       Albert Van Bilderbeek to Terry Collingsworth, how

25       long do you think that would take you to do?

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 1                      MR. SPOTSWOOD:       Object to the form.

 2                      You may answer.

 3                      THE WITNESS:      I don't know.        An hour at

 4            the most.

 5                      (Plaintiff's Exhibit 27, e-mails, was

 6       marked for Identification.)

 7       BY MR. WELLS:

 8            Q.        Let me show you what's been marked as

 9       Exhibit 27, I apologize.           Is this an e-mail where you

10       were provided I'll call them notes from an interview
11       for lack of a better term?

12            A.        Okay.

13            Q.        This is sort of some notes about questions
14       and answers in a conversation with Maggie Crosby?

15            A.        Yes.

16            Q.        Did you participate in this interview?
17            A.        No.

18            Q.        Okay, but you were provided a copy of it?

19            A.        That's what it says in the e-mail.

20            Q.        And you've just taken the time to read the

21       document.      Do you see where she discusses in there

22       the practice of periodically archiving Mr.

23       Collingsworth's e-mails to an external hard drive?

24            A.        That is correct.

25            Q.        And is it Conrad & Scherer's knowledge that

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 1       that, in fact, occurred during the time of Ms.

 2       Crosby's employment at the firm?

 3                      MR. SPOTSWOOD:       Object to the form.

 4                      You may answer.

 5                      THE WITNESS:      I think that she is not

 6            right on some facts on this interview.

 7       BY MR. WELLS:

 8            Q.        Like what?

 9            A.        We did not help Terry Collingsworth to

10       archive any of his e-mails.
11            Q.        How about just the process of archiving

12       e-mails to an external hard drive?

13                      MR. SPOTSWOOD:       Object to the form.
14       BY MR. WELLS:

15            Q.        Regardless of who did it.

16                      MR. SPOTSWOOD:       Object to the form.
17       BY MR. WELLS:

18            Q.        Does Conrad & Scherer have any knowledge

19       that she's incorrect that his e-mails were archived

20       to an external hard drive?

21                      MR. SPOTSWOOD:       Object to the form.            You

22            may answer.

23                      THE WITNESS:      I did not teach anybody how

24            to move e-mails onto a PST file.

25

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 1       BY MR. WELLS:

 2            Q.        Onto an external hard drive?

 3            A.        Much less onto an external hard drive.

 4            Q.        But she's saying in here that that

 5       occurred, that someone was archiving onto an external

 6       hard drive.      Do you have reason to dispute that that

 7       actually occurred, that someone archived e-mails onto

 8       an external hard drive?

 9                      MR. SPOTSWOOD:       Object to the form.

10                      You may answer.
11                      THE WITNESS:      I wouldn't know.

12                      (Plaintiff's Exhibit 28, e-mail, was marked

13       for Identification.)
14       BY MR. WELLS:

15            Q.        Showing you Exhibit 28, go ahead and read

16       that e-mail and let me know when you're ready.
17            A.        Okay.

18            Q.        This is a March 25, 2015 e-mail from Dennis

19       Williams to you and it appears like he's asking you

20       some questions, one of which is about this auto

21       archive rule, right?

22            A.        Correct.

23            Q.        It says on here, "Juan Carlos was able to

24       look at Terry Collingsworth's e-mail account and saw

25       that it was set to auto archive."              Did you see an

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 1       auto archive rule anywhere?

 2             A.       I don't know from where Dennis got this

 3       statement, but I don't recall ever seeing a rule for

 4       auto archive.

 5             Q.       Okay.    Well, he said the same thing and

 6       that's why I was confused about this e-mail.                   You did

 7       not actually see an auto archive enabled on any of

 8       Terry Collingsworth's accounts?

 9             A.       Yes.

10             Q.       I'm going to ask that in a different way.
11       Sometimes, like you said, the double negatives get

12       us.

13                      Did you see an auto archive enabled on any
14       of Terry Collingsworth's accounts?

15                      MR. SPOTSWOOD:       Object to the form.

16                      You may answer.
17                      THE WITNESS:      I do not -- I did not see

18             anything any auto archive function on any of Terry

19             Collingsworth's computer.

20       BY MR. WELLS:

21             Q.       Then he's asking some follow-up questions

22       and one of those is, "Did you take any screenshots,"

23       right?

24                      MR. SPOTSWOOD:       Just to be clear, I don't

25             see any answers to these on here.             Am I missing

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 1            something or --

 2                      MR. WELLS:      I'm getting the answers right

 3            now.

 4                      MR. SPOTSWOOD:       Okay.

 5                      THE WITNESS:      Yeah, I don't recall.             I

 6            don't recall.

 7       BY MR. WELLS:

 8            Q.        This would be a lot easier if there were

 9       answers.

10                      In any event, one of the questions he's
11       asking you here is, "Did you take any screenshots?"

12       Do you see that?

13            A.        Yes.
14                      Okay.    I don't recall.

15                      (Plaintiff's Exhibit 29, e-mail, was marked

16       for Identification.)
17       BY MR. WELLS:

18            Q.        Going to hand you Exhibit 29, which is an

19       e-mail from you to Dennis Williams a couple days

20       later.

21            A.        Oh.

22            Q.        And you appear to be providing him a

23       screenshot of something, right?

24            A.        Yes.

25            Q.        What is this?

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 1            A.        This is a rule that states that any

 2       e-mails -- and if I am not mistaken -- let me read

 3       this back again.

 4                      Oh, I remember this.

 5                      MR. ENYARD:      I think there are two

 6            separate documents attached.

 7                      THE WITNESS:      There's two documents here.

 8                      MR. ENYARD:      In this exhibit.

 9                      MR. WELLS:      Okay.    Yeah, the last two

10            pages should not be on there.
11                      MR. SPOTSWOOD:       We will pull those off and

12            give them back to you.

13       BY MR. WELLS:
14            Q.        I'm just looking at this April 1, 2015

15       e-mail.

16            A.        So again what is the question?
17            Q.        What is this a screenshot of?

18            A.        This is a screenshot of a rule set up on

19       Terry Collingsworth's Conrad & Scherer mailbox.

20            Q.        And what is the rule doing?

21            A.        If there is an e-mail sent to

22       TC@iradvocates.org, move to the IRAdvocates whatever

23       folder and stop processing more rules.

24            Q.        Where is that folder?

25            A.        It's inside of his inbox in a folder in

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 1       the server.

 2            Q.        There was a -- Dennis Williams told us

 3       about there was some rule enabled where if e-mails

 4       went to both Mr. Collingsworth's Conrad & Scherer

 5       account and IRAdvocates account at the same time, it

 6       would go into some special folder?

 7            A.        That's correct.

 8            Q.        Is that what this rule is?

 9            A.        That is correct.

10            Q.        Okay.    Do you have any idea why that rule
11       was set up?

12            A.        I don't recall the rule.

13                      THE VIDEOGRAPHER:        10 minutes to tape
14            change.

15       BY MR. WELLS:

16            Q.        Do you have any idea who asked that it be
17       set up?

18            A.        I don't recall.

19            Q.        Do you have any idea when it was set up?

20            A.        No idea when it was set up.

21                      (Plaintiff's Exhibit 30, e-mail, was marked

22       for Identification.)

23       BY MR. WELLS:

24            Q.        Let me show you Exhibit 30, which is

25       another e-mail between you and Dennis Williams around

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 1       that same time period.

 2            A.        Okay.    It has a missing attachment.

 3            Q.        That's how it was produced to us.               I'm just

 4       reading what it says was attached.              It says, "Juan,

 5       attached is a spreadsheet of DBX files in Terry's

 6       file path on an external hard drive in Jenny's

 7       office."     What are DBX files?

 8            A.        Those are Outlook Express e-mail files.

 9       It's like a PST version of Outlook Express.

10            Q.        Okay.    So those are e-mail storage files?
11            A.        That is correct.

12            Q.        And these were on an external hard drive in

13       the Washington, D.C. office?
14            A.        That's what it says on the e-mail.

15            Q.        And that external hard drive had a label on

16       it called, "IRAdvocates backup," right?
17            A.        That's what it says in the e-mail.

18            Q.        And these e-mails are just from 2006, 2007

19       and 2008.      Is that what that says?

20            A.        No.   It says that the last written dates

21       are like 2006, 2007 and 2008.

22            Q.        Okay.    If they had a last written date of

23       2008, could they contain any e-mails that postdate

24       2008?

25            A.        No.

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 1            Q.        So that external hard drive had backups of

 2       e-mails from 2008 and before, true?

 3                      MR. SPOTSWOOD:       Object to the form.

 4                      You may answer.

 5                      THE WITNESS:      True.

 6       BY MR. WELLS:

 7            Q.        So we know that, at least for these files,

 8       someone was using the external hard drive to back up

 9       Mr. Collingsworth's IRAdvocates e-mails, right?

10                      MR. SPOTSWOOD:       Object to the form.
11                      You may answer.

12                      THE WITNESS:      Can you read the question

13            slowly, please?
14                      (The Reporter read back the requested

15       portion.)

16                      THE WITNESS:      I'm sorry, slowly.
17                      (The Reporter read back the requested

18       portion.)

19                      MR. SPOTSWOOD:       Object to the form.

20                      You may answer.

21                      THE WITNESS:      Yes.

22                      MR. WELLS:      All right.      Now is a good time

23            for a break.

24                      THE VIDEOGRAPHER:        We are off the record

25            at 2:16 p.m.

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 1                      (Brief recess was taken.)

 2                      THE VIDEOGRAPHER:        We are back on record.

 3            It is 2:40 p.m.        This begins media 3.

 4       BY MR. WELLS:

 5            Q.        Mr. Rodriguez, we were discussing a little

 6       while ago an e-mail between you and Dennis Williams

 7       where he had asked the question who transferred data

 8       from the MacBook to the HP and your response was, "No

 9       idea."     Do you recall that?

10            A.        Yes, I do.
11            Q.        Okay.    Am I correct to assume that since

12       you don't know if anyone transferred any data from

13       that MacBook you also do not know if anyone wiped
14       that MacBook before it was given to Mr.

15       Collingsworth's relative, is that right?

16                      MR. SPOTSWOOD:       Object to the form.
17                      You can answer.

18                      THE WITNESS:      I don't know any of that.

19       BY MR. WELLS:

20            Q.        Okay.    So if Mr. Collingsworth testified

21       that Conrad & Scherer wiped that MacBook laptop

22       before he gave it away, Conrad & Scherer does not

23       have knowledge of that?

24                      MR. SPOTSWOOD:       Well, that depends upon

25            whether or not Terry Collingsworth is the only

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 1            knowledgeable person.          If he is, then he is.

 2                      MR. WELLS:      Well, Terry Collingsworth

 3            testified repeatedly he has no idea essentially

 4            how to do anything with the computer, which may or

 5            may not be true, but he clearly did not wipe the

 6            laptop himself.        He said someone at Conrad &

 7            Scherer did.       He doesn't know much about it, he

 8            was in Spain at the time.

 9                      MR. SPOTSWOOD:       All right.      That will go

10            on our list that we need to track down.
11                      THE WITNESS:      So what is my question

12            again?

13       BY MR. WELLS:
14            Q.        The question is based on your personal

15       knowledge as well as any knowledge you had gained in

16       preparation for this deposition, do you know whether
17       anyone at Conrad & Scherer wiped the MacBook laptop

18       before it was given to Mr. Collingsworth's relative?

19                      MR. SPOTSWOOD:       Object to the form.

20                      You may answer.

21                      THE WITNESS:      What I would say is that

22            nobody from the IT staff at Conrad & Scherer wipe

23            that Mac.

24       BY MR. WELLS:

25            Q.        Okay.    We discussed also during the course

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 1       of this deposition an Acer notebook that Mr.

 2       Collingsworth used to use right before the MacBook?

 3            A.        Yes.

 4            Q.        Mr. Williams told us that that Acer was

 5       still in the firm's possession but had been

 6       reformatted or wiped sometime in the last year.                    Are

 7       you aware of that?

 8            A.        I don't have any knowledge on that Acer

 9       notebook.

10            Q.        Okay.    So you would not know who it was
11       that reformatted and/or wiped that Acer notebook?

12            A.        No idea.

13            Q.        All right.      Could you get back out
14       Exhibit 26?

15            A.        Yes.

16            Q.        By my account, we've got a little over
17       three hours left of time.           I would like for you to go

18       to those PSTs of Mr. Collingsworth's Gmail account

19       and see if you can locate just this e-mail from

20       Albert Van Bilderbeek to Mr. Collingsworth, not any

21       of the ones above it, just that one.

22                      MR. SPOTSWOOD:       What is this, a test?           I

23            don't think that's an appropriate deposition

24            question.

25                      MR. WELLS:      This is a request that we made

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 1            of the Defendants probably 10 days ago.

 2            Apparently Mr. Rodriguez is able to do it within

 3            an hour.      We'd like him to use some of the

 4            remaining three hours that we have to do that for

 5            us.

 6                      MR. SPOTSWOOD:       Well, so what you're

 7            asking for here is the PST version of this e-mail?

 8                      MR. WELLS:      Yes, or whatever the native

 9            file is that comes out of Gmail.

10                      MR. SPOTSWOOD:       Okay.    Well, let me take a
11            break and see if we can accommodate your request.

12                      THE VIDEOGRAPHER:        Off the record,

13            2:45 p.m.
14                      (Brief recess was taken.)

15                      THE VIDEOGRAPHER:        We are back on record.

16            It's exactly 3:23 p.m.
17                      MR. SPOTSWOOD:       We have work that we, as

18            the attorney team, need to do in response to this

19            request and we need to be -- need time to get back

20            with you about it.         We will do so as soon as we

21            can, certainly within 48 hours, but I am not able

22            to offer JC to address your requests for this

23            e-mail in the native format file from that file

24            that we were discussing.

25                      MR. WELLS:      Y'all are committing to have

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 1            it to us, or an answer to us, I guess, either the

 2            e-mail or an answer otherwise, within 48 hours?

 3                      MR. SPOTSWOOD:       Yes.

 4                      MR. WELLS:      Just to be clear, within

 5            48 hours, we will either have the e-mail -- native

 6            e-mail provided to us or an answer as to its

 7            whereabouts?

 8                      MR. SPOTSWOOD:       Yes.

 9                      MR. WELLS:      Okay.    Do you have something

10            to say?
11                      MR. DAVIS:      Do we have an explanation as

12            to why it takes more?

13                      MR. SPOTSWOOD:       I couldn't answer that
14            without, you know, invading the attorney-client

15            privilege.      I'm sorry, I know this is a delay, I

16            know this is frustrating for you guys, but I've
17            got a process I've got to work through here.

18                      MR. DAVIS:      Yeah.    Well, we've come a long

19            way for y'all to have to do more work.                You've

20            come a long way.

21                      MR. ENYARD:      I have no problem; I have to

22            go back and do the work.

23                      MR. DAVIS:      Yeah.

24                      MR. WELLS:      Why don't we take a break so

25            we can --

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 1                      MR. SPOTSWOOD:       Okay.

 2                      MR. WELLS:      -- discuss.

 3                      THE VIDEOGRAPHER:        Okay.     We are off the

 4            record.     It's 3:27 p.m.

 5                      (Off the record.)

 6                      THE VIDEOGRAPHER:        We are back on record.

 7            It's 3:29 p.m.

 8                      MR. WELLS:      Can we get a commitment within

 9            the next 42 hours so that we will have an answer

10            in advance of Mr. Collingsworth's re-deposition?
11                      MR. SPOTSWOOD:       That's a fair request.

12                      MR. WELLS:      Okay.

13                      MR. SPOTSWOOD:       So that would be, just to
14            be specific, we are talking about --

15                      MR. WELLS:      Let's say 9:00 Thursday

16            morning.
17                      MR. SPOTSWOOD:       9:00 a.m. Thursday.

18                      MR. DAVIS:      6:00 Wednesday afternoon is

19            what we will need, don't you think?

20                      All right, whatever; you do whatever.

21                      MR. WELLS:      I won't need much time.

22                      MR. SPOTSWOOD:       And that's when Terry is

23            scheduled to reconvene?

24                      MR. WELLS:      Well, that -- we hadn't set

25            the exact time, but that would be the typical time

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 1            we can start and we can maybe bump it back a

 2            little bit if we need a little bit of time to

 3            digest the answer.

 4                      MR. SPOTSWOOD:       Okay.

 5                      MR. WELLS:      I think we are still waiting

 6            ruling by the Court how much time we will get with

 7            him.

 8                      MR. SPOTSWOOD:       Okay.

 9                      MR. WELLS:      All right?

10                      Thank you, Mr. Rodriguez.
11                      THE WITNESS:      Thank you.

12                      MR. SPOTSWOOD:       I have just a couple of

13            questions.      Just two seconds with Kendall, I'll be
14            right back.

15                      THE VIDEOGRAPHER:        We are off the record.

16            It's 3:31 p.m.
17                      (Off the record.)

18                      THE VIDEOGRAPHER:        We are back on the

19            record at 3:34 p.m.

20                              CROSS EXAMINATION

21       BY MR. SPOTSWOOD:

22            Q.        Mr. Rodriguez, I just have a couple of

23       questions I want to ask you.

24                      The first is on the Conrad & Scherer

25       server system since you arrived at the firm, if a

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 1       person sends an e-mail in to the firm from outside or

 2       sends an e-mail or if a person inside the

 3       firm -- well, let me go back because I have to break

 4       this down.

 5                      If a person from outside the firm sends an

 6       e-mail in to the firm and copies more than one

 7       person, if one of the recipients of the multiple

 8       recipients inside the firm but not others deletes the

 9       e-mail, will the e-mail still remain on your system?

10            A.        Yes.
11            Q.        And if -- now I want to switch topics on

12       you and talk about the deletion features of the

13       e-mail system or the e-mails at the Conrad & Scherer
14       server since you've been here and that is has there

15       ever been an auto delete feature that would delete

16       regular e-mail traffic that comes into and out of the
17       firm at any particular point in time?

18            A.        As I said on my deposition, we do not have

19       any of those auto delete features or mechanisms in

20       our organization.        We prefer to keep everything in

21       our system.

22            Q.        Okay.    And if someone wants to delete a

23       particular e-mail that comes in to them, they have to

24       do it twice in order to get it off of your system;

25       they have to first delete it, if goes into the trash

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 1       and then you have to empty the trash box?

 2            A.        That is correct.

 3            Q.        Okay.    And then that trash box would be

 4       preserved but no longer than 90 days up until June of

 5       2014?

 6            A.        Can you repeat the --

 7            Q.        Yeah, I just want to make sure I understood

 8       your testimony correctly.           During much of the period

 9       we've talked about prior to June of 2014, if someone

10       had deleted an e-mail twice, how long would it be on
11       the system after that second deletion, if at all?

12            A.        90 days.

13            Q.        Okay.
14            A.        But let me add something to that.               If a

15       person deletes an e-mail and leaves it in the trash

16       can, it's going to be there forever if he never
17       purges the e-mail.         There are no policies to empty a

18       trash can every certain amount of days, it's just

19       going to stay in the trash can until the user purge

20       the trash can.

21            Q.        Okay.    Is there a write protected feature

22       on the C&S file server?

23            A.        Yes, there is.

24            Q.        Can you tell us what that means?

25            A.        It means that for every document that we

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 1       store in our file server, in our document management

 2       system -- excuse me, I'm sorry.             It means that for

 3       every document that we store in our document

 4       management system, it's going to be saved and it's

 5       going to be write protected so no one can delete the

 6       file from the document management system.

 7            Q.        Okay.    There was a question on the table

 8       earlier this afternoon about routine data transfers

 9       and you asked to take a break after that while that

10       question was on the table or it was really after you
11       made an answer to the question.             Do you remember

12       that?

13            A.        Yes, I do remember that.
14            Q.        Could you tell us why you asked to take a

15       break?

16            A.        Well, I felt that I did not answer the
17       question correctly.

18            Q.        Okay.

19            A.        And I wanted to ask counsel how do I fix

20       this mistake.       This is my first deposition, I don't

21       know how this works.

22            Q.        In any event, when you returned to this

23       room, what did you do?

24            A.        I tried to fix my answer.

25            Q.        And was your answer correct as you returned

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 1       and stated it?

 2            A.        When I stated my answer, it was correct.

 3                      MR. SPOTSWOOD:       I'd like to designate the

 4            deposition transcript as confidential in its

 5            entirety and we will deal with the issues arising

 6            from that in the future.

 7                      MR. WELLS:      Just a couple of follow-ups.

 8                      MR. SPOTSWOOD:       Yes, sir.

 9                             REDIRECT EXAMINATION

10       BY MR. WELLS:
11            Q.        How many e-mails for Mr. Collingsworth's

12       Conrad & Scherer inbox did you find in the firm's

13       document management system for the year 2012?
14            A.        I don't recall the number of documents.             I

15       don't recall how many documents; a lot of documents.

16            Q.        It's been represented to us there is a gap
17       in Mr. Collingsworth's e-mails from March of 2013

18       back to sometime in 2011 depending on which account

19       you're talking about.          Do you understand that?

20            A.        Yes.

21            Q.        Are there e-mails of Mr. Collingsworth in

22       that time period saved to the firm's document

23       management system concerning Drummond?

24            A.        I don't know.

25            Q.        You cannot testify here today that any

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 1       e-mails concerning Drummond between 2011 and 2013

 2       were actually saved on the document management system

 3       for Mr. Collingsworth's account?

 4            A.        Can you read the question again?

 5                      (The Reporter read back the requested

 6       portion.)

 7                      MR. SPOTSWOOD:       You're talking about

 8            during that time frame they were saved, not any

 9            work we've been doing since then when we got

10            involved to try to supplement the record here?
11       BY MR. WELLS:

12            Q.        Yeah, I'm talking about you don't have

13       e-mails between 2011 and 2013.             Are those e-mails
14       saved on the document management system had they been

15       saved during that time period?

16            A.        That's a different question.            You asked me
17       if I can testify if those documents were saved.                    You

18       are saying that they were not.             So which question do

19       you want me to answer?

20            Q.        What I'm trying to get at here is there's a

21       gap in e-mails between 2011 and 2013, right?

22            A.        Yes.

23            Q.        You offered some testimony about this write

24       protect feature on the document management system.

25       Do you recall that?

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 1            A.        That is correct.

 2            Q.        The only way that write protect has any

 3       pertinence to the issue of missing e-mails would be

 4       if those missing e-mails were actually saved on the

 5       document management system, right?

 6            A.        That is correct.

 7            Q.        Were any of those e-mails saved on the

 8       document management system?

 9            A.        I don't know.

10            Q.        Okay.    Is there any way on your system to
11       see from the server side whether someone has double

12       deleted their entire inbox?

13            A.        Not that I know of.
14            Q.        And if they were double deleted, they would

15       disappear from the server, so I guess you would see

16       the absence of e-mails, right?
17            A.        I don't see the absence of e-mails.                 I

18       mean --

19            Q.        Okay.

20            A.        I wouldn't know what's in there.

21            Q.        I'll ask it a different way.

22                      The only way, or tell me if you know, but

23       do you know if the only way to determine whether

24       someone actually double deleted their entire inbox

25       would be to have the computer they used to do that

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 1       double deletion?

 2                      MR. SPOTSWOOD:        Object to the form of the

 3            question.

 4                      You may answer.

 5                      THE WITNESS:       I don't know the answer to

 6            that.

 7                      MR. WELLS:      Okay.     That's it for us.

 8                      MR. SPOTSWOOD:        Okay.    Thank you.

 9                      THE WITNESS:       Thank you.

10                      THE VIDEOGRAPHER:         Everybody is in
11            agreement to end the video deposition?

12                      MR. SPOTSWOOD:        Yes, sir.

13                      THE VIDEOGRAPHER:         This is the end of the
14            deposition.       We are off the record at 3:45 p.m.

15                      (Thereupon, the deposition was concluded at

16       approximately 3:45 a.m.           Signature and formalities
17       were not waived.)

18

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 1                        EXCEPT FOR ANY CORRECTIONS MADE ON THE
                          ERRATA SHEET BY ME, I CERTIFY THIS IS A
 2                        TRUE AND ACCURATE TRANSCRIPT.

 3

 4                        JUAN CARLOS RODRIGUEZ

 5
                        Sworn to and subscribed before me this
 6
                    day of                   2015.
 7
         Personally known               or I.D. _______
 8

 9

10
                          Notary Public in and for the
11                        State of Florida at Large

12       My commission expires:

13
14

15

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 1                            C E R T I F I C A T E

 2

 3       STATE OF FLORIDA:

 4       COUNTY OF BROWARD:

 5

 6                    I, the undersigned authority, certify that

 7       JUAN CARLOS RODRIGUEZ personally appeared before me

 8       on August 25th, 2015 and was duly sworn by me.

 9

10                    WITNESS my hand and official seal this 26th
11       day of August, 2015.

12

13
14                                    BEVERLY BOURLIER JAMES
                                      My Commission #EE091768
15                                    Expires September 9th, 2015

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 1                            C E R T I F I C A T E

 2

 3       STATE OF FLORIDA:

 4       COUNTY OF BROWARD:

 5                    I, BEVERLY BOURLIER JAMES, a Notary Public

 6       for the State of Florida at Large, hereby certify

 7       that I reported the deposition of JUAN CARLOS

 8       RODRIGUEZ; and that the foregoing pages constitute a

 9       true and correct transcription of my shorthand report

10       of the deposition by said witness on this date.
11                    I further certify that I am not an attorney

12       or counsel of any of the parties, nor a relative or

13       employee of any attorney or counsel connected with
14       the action nor financially interested in the action.

15                    WITNESS my hand and official seal in the

16       State of Florida, this 26th day of August, 2015.
17

18

19                        BEVERLY BOURLIER JAMES
                          Registered Professional Reporter
20                        Certified Realtime Reporter
                          Certified LiveNote Reporter
21                        Florida Professional Reporter
                          NCRA Realtime Systems Administrator
22

23

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   11:10                96:9,10,11;97:3;        62:7;66:3;67:16        11:22;53:6;
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From:            Bob Spotswood
To:              Trey Wells; William Paulk; Tony Davis; Ben Presley
Cc:              "kmcneil@SusmanGodfrey.com"; "Niewoehner, Christopher"
Subject:         RE: Drummond v. Collingsworth
Date:            Thursday, August 27, 2015 9:38:15 AM



Trey:

My letter states that Defendants located copies of the e-mail from the files of the others, namely
Lorraine Leete and Christian Levesque. We did not locate the native file from Mr. Collingsworth’s
gmail account or the PST files collected from that account.

Bob



From: Trey Wells [mailto:TWells@starneslaw.com]
Sent: Thursday, August 27, 2015 9:29 AM
To: William Paulk <wpaulk@spotswoodllc.com>; Tony Davis <TDavis@starneslaw.com>; Ben
Presley <bpresley@starneslaw.com>
Cc: 'kmcneil@SusmanGodfrey.com' <kmcneil@SusmanGodfrey.com>; 'Niewoehner, Christopher'
<cniewoehner@steptoe.com>; Bob Spotswood <rks@spotswoodllc.com>
Subject: RE: Drummond v. Collingsworth

The email in question was solely between Albert van Bilderbeek and Terry Collingsworth, and was sent
to Mr. Collingsworth's Gmail account. We did not ask about forwarded copies or otherwise. We asked
for, and Defendants agreed to provide, a production of the native file from Mr. Collingsworth's Gmail
account, or an explanation of its whereabouts if it was not there. This letter does not provide what was
agreed to be provided on the record during Mr. Rodiguez's deposition. Please confirm that the
requested email is not in Mr. Collingsworth's Gmail account, or any of the PSTs of that account which
were collected by Defendants. If we do not have a clear answer to this, we will begin Mr.
Collingsworth's deposition with a call to Judge Proctor.


From: William Paulk [mailto:wpaulk@spotswoodllc.com]
Sent: Thursday, August 27, 2015 9:17 AM
To: Tony Davis; Trey Wells; Ben Presley
Cc: 'kmcneil@SusmanGodfrey.com'; Niewoehner, Christopher; Bob Spotswood
Subject: Drummond v. Collingsworth

Counsel for Drummond:

Please see the attached correspondence from Bob Spotswood.

William


William T. Paulk
Spotswood Sansom & Sansbury LLC
1819 5th Ave. North
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Suite 1050
Birmingham, AL 35203
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Main: (205) 986-3620
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www.spotswoodllc.com

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or work product privileges. If you have received this message in error, please notify the sender by
replying to this e-mail and then delete it from your computer.




H. Thomas Wells, III - Attorney
100 Brookwood Place, 7th Floor, Birmingham, AL 35209
P.O. Box 598512, Birmingham, AL 35259-8512
(205) 868-6083 - Fax: (205) 868-6099 - www.starneslaw.com
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                                                                                     One Federal Place
                                                                     1819 Fifth Avenue North, Suite 1050
                                                                           Birmingham, Alabama 35203
                                                                  Phone: 205.986.3620 Fax: 205.986.3639
                                                                                 www.spotswoodllc.com

                                                                                    Robert K. Spotswood
                                                                               Direct Dial: 205.986.3621
                                                                          E-mail: rks@spotswoodllc.com




                                        August 27, 2015

Via Electronic Mail Only

H. Thomas Wells, III
STARNES DAVIS FLORIE LLP
P.O. Box 598512
Birmingham, AL 35259-8512
TWells@starneslaw.com

       Re:    Drummond Company, Inc. v. Terrence P. Collingsworth and Conrad & Scherer,
              LLP, 2:11-cv-3695-RDP

Dear Trey:

       I write in response to your letter dated August 14, 2015, and your request during the
August 25, 2015 deposition of Juan Carlos Rodriguez, that Defendants produce a native file of a
July 19, 2012 email from Mr. Collingsworth’s Gmail account or provide an explanation as to the
whereabouts of the file within 42 hours.

        As you are aware, Defendants previously produced this e-mail to Plaintiff at
CS_TC002827-28 and Defendants disclosed the wire transfer that is reflected in this e-mail in
January 2015. The production copy of the e-mail was produced from the files of Christian
Levesque, an employee of Conrad & Scherer, LLP, who received a forwarded copy of the e-mail
from Defendant Collingsworth on the same date, July 19, 2012. As you know, it is the law firm’s
policy that all emails related to firm business should not be deleted from the Conrad & Scherer
server and this email remained on the server.

        The collection and production of this e-mail shows that Mr. Collingsworth’s e-mail was
preserved. Further, Mr. Collingsworth’s decision to forward the e-mail to other Conrad &
Scherer employees further demonstrates that there were not intentional efforts to delete the e-
mail from the Conrad & Scherer server or his Gmail account. Mr. Collingsworth’s decision to
forward the e-mail resulted in at least two copies of the e-mail being saved and preserved.

        By today’s previously agreed-upon deadline, Defendants have located copies of the e-
mail from the files of the others, namely Lorraine Leete and Christian Levesque.
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August 27, 2015
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                                       Sincerely,



                                       Robert K. Spotswood


Cc:     Tony Davis, Esq.
        Ben Presley, Esq.
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Defendants Collingsworth and Conrad Scherer, LLP's Privilege Log**                                                                                                                                             Designated as Confidential-Attorneys' Eyes Only
Submitted for In Camera Review modified Jan. 9, 2015
No.       Privilege Document Related to         Bates Number - if      Drummond Date       From                   To                   CC               Privilege Basis   Description
          Number             Document           Produced in Redacted   RFP
                             Number             Form                   Number
5432      CSPRIV441863       CSPRIV441863                              4-4;     05/25/2012 Perillo,               Hager,                                AWP, CI           Email chain from Bob Perillo to Terrence Collingsworth, Esq. and Eric Hager, Esq.
                                                                                           Bob<bob.perillo@g      Eric;<EHager@conra                                      regarding legal strategy and mental impressions.
                                                                                           mail.com>              dscherer.com>;
                                                                                                                  Collingsworth,
                                                                                                                  Terrence;
                                                                                                                  <TC@conradscherer.
                                                                                                                  com>;
5433      CSPRIV441869        CSPRIV441869                             4-4; 2-8;   07/13/2012 Collingsworth,      Cuellar,                              AWP, CI           Email chain from Terrence Collingsworth, Esq. to Francisco Cuellar regarding
                                                                                              Terry<terrypc56@gm Francisco<framirez_                                      pending litigation and strategy and communications with Otero.
                                                                                              ail.com>            cuellar@hotmail.com
                                                                                                                  >
5434      CSPRIV441873        CSPRIV441873                             4-5;        07/18/2012 Collingsworth,      Carrera,                              AWP, CI           Email from Terrence Collingsworth, Esq. to Joseph Carrera regarding investigation
                                                                                              Terrence<terrypc56 <Josephjoseph.carrer                                     activities and security strategy.
                                                                                              @gmail.com>         a@sppi-llc.com>
5435      CSPRIV441874        CSPRIV441874                             4-4;        07/24/2012 Collingsworth,      Levesque,            Dahl, Henry      AWP, CI           Email from Terrence Collingsworth, Esq. To Christian Levesque, Rachel Sheridan,
                                                                                              Terrence            Christian;<CLevesqu                                     Eric Hager, Susana Tellez, Christina Stam and Maggie Crosby regarding mental
                                                                                              <terrypc56@gmail.co e@conradscherer.co                                      impressions.
                                                                                              m>                  m> Sheridan, Rachel;
                                                                                                                  Hager, Eric; Tellez,
                                                                                                                  Susana Stam,
                                                                                                                  Cristina; Crosby,
                                                                                                                  Maggie
5436      CSPRIV441876        CSPRIV441876                             4-4;        07/26/2012 Collingsworth,      Levesque,                             AWP, CI           Email chain from Terrence Collingsworth to Christian Levesque regarding legal
                                                                                              Terrence            Christian<CLevesque                                     strategy related to Drummond litigation and witness testimony.
                                                                                              <terrypc56@gmail.co @conradscherer.com
                                                                                              m>                  >
5437      CSPRIV441878        CSPRIV441878                             4-5;        08/02/2012 Collingsworth,      Carrera, Joseph                       AWP, CI           Email from Terrence Collingsworth, Esq. to Joseph Carrera regarding investigation
                                                                                              Terrence                                                                    activities and security strategy.
5438      CSPRIV441879        CSPRIV441879                             1-63;       08/02/2012 Collingsworth,      Van Bilderbeek,                       AWP, CI           Email from Terrence Collingsworth, Esq. to Albert van Bilderbeek regarding legal
                                                                                              Terrence<terrypc56 Albert<albert@vanbi                                      strategy and mental impressions.
                                                                                              @gmail.com>         lderbeek.com>
5439      CSPRIV441881        CSPRIV441881                             4-5;        08/06/2012 Collingsworth,      Carrera,                              AWP, CI           Email from Terrence Collingsworth, Esq. to Joseph Carrera regarding investigation
                                                                                              Terrence<terrypc56 <Josephjoseph.carrer                                     activities and security strategy.
                                                                                              @gmail.com>         a@sppi-llc.com>
5440      CSPRIV441882        CSPRIV441882                             4-5;        08/05/2012 Collingsworth,      Carrera,                              AWP, CI           Email from Terrence Collingsworth, Esq. to Joseph Carrera regarding investigation
                                                                                              Terrence<terrypc56 <Josephjoseph.carrer                                     activities and security strategy.
                                                                                              @gmail.com>         a@sppi-llc.com>
5441      CSPRIV441883        CSPRIV441883                             4-5;        06/06/2012 Carlson,            Collingsworth,                        AWP, CI           Email from Mark Carlson to Terrence Collingsworth, Esq. chain regarding payments
                                                                                              Mark<mark.carlson Terrence                                                  to Secure Pointe.
                                                                                              @sppi-llc.com>      <terrypc56@gmail.co
                                                                                                                  m>
5442      CSPRIV441886        CSPRIV441886                             4-5;        06/21/2012 Carrera, J.         Collingsworth, T.                     AWP, CI           Email from Joseph Carrera to Terrence Collingsworth, Esq. regarding investigative
                                                                                                                                                                          work on behalf of Conrad and Scherer.
5443      CSPRIV441889        CSPRIV441889                             4-5;        06/21/2012 Joseph Carrera      Terrence            Mark Carlson        AWP, CI         Email chain from Joseph Carrera to Terrence Collingsworth regarding payments to
                                                                                              <joseph.carrera@spp Collingsworth, Esq. <mark.carlson@sppi-                 Secure Pointe.
                                                                                              i-llc.com>          <tc@iradvocates.org llc.com>
                                                                                                                  >
5444      CSPRIV441893        CSPRIV441893                             4-5;        06/22/2012 Joseph Carrera      Terrence                                AWP, CI         Email from Joseph Carrera to Terrence Collingsworth, Esq. regarding investigative
                                                                                              <joseph.carrera@spp Collingsworth                                           work on behalf of Conrad and Scherer.
                                                                                              i-llc.com>          <tc@iradvocates.org
                                                                                                                  >



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II.        Materials Reviewed ............................................................................................................................... 6

III.       Executive Summary .............................................................................................................................. 7

IV. Analysis ................................................................................................................................................. 8

      A.      The analysis performed by Mr. Williams appears to contradict his claim that there were no intentional
      deletions ..................................................................................................................................................... 9

        1.         Mr. Williams identified, but did not investigate, multiple deletions of email ................................ 10

             I.      Mr. Williams analysis identified email files in the Recycle Bin that he does not further investigate
             or discuss in his declarations ............................................................................................................ 10

             II.     Mr. Williams identified and discussed a deletion in the Williams April Declaration but does not
             address whether the deletion was intentional .................................................................................. 12

        2.         A comparison of data across different sources to determine each sources relative completeness
        does not appear to have been performed............................................................................................. 13

        3.         Mr. Williams identifies email backups but does not describe any analysis of them .................... 14

        4.         Mr. Williams’ conclusion ignores multiple pieces of evidence that are contradictory to his analysis
                   15

      B.      The efforts to backup email do not appear reasonable and were clearly not effective ................... 15

        1.         The Evidence Mr. Williams provides in the Williams April Declaration does not support, and
        appears to contradict, his conclusion that the efforts were reasonable ................................................ 16

        2.         Mr. Williams’ characterization of Mr. Collingsworth’s beliefs is inconsistent with his beliefs about
        the reliability of witnesses ..................................................................................................................... 17

        3.         Contemporaneous information shows that Defendants were aware that emails were not stored
        on the server ......................................................................................................................................... 18

        4.         Defendants appear at least partly responsible for the email archiving setup that Mr. Williams
        states is the cause of the email loss ..................................................................................................... 19

        5.         Mr. Williams’ conclusion that an Auto-Archive Rule resulted in the loss of email is contrary to the
        evidence ................................................................................................................................................ 20

        6.         The external hard drive that likely contained emails “too sensitive” was available to Defendants
        on multiple key dates, but is now purportedly lost ................................................................................ 22
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DECLARATION OF SPENCER LYNCH



      7.          Emails produced by Defendants in October 2013 contradict Mr. Williams narrative and suggest
      defendants had emails on the external hard drive and on the server after they were purportedly lost 24

    C.      The Williams declarations have multiple statements that are unclear, unsupported, or contradicted
    by his own analysis .................................................................................................................................. 26

      1.          Mr. Williams’ discussion of the deleted folder contains at least two substantial issues .............. 26

      2.          Mr. Williams does not provide any clarity and may mislead the reader about how many devices
      were used by Mr. Collingsworth ............................................................................................................ 27

      3.          Mr. Williams mischaracterizes the remaining gaps of email and does not analyze other potentially
      relevant accounts. ................................................................................................................................. 29

           I.       Mr. Williams mischaracterizes the email gaps ......................................................................... 30

           II.      The use of the Verizon account may mean that neither the Conrad & Scherer server nor the
           IRAdvocates server ever contained all of the email ......................................................................... 31

           III.     Mr. Williams does not discuss any analysis of the Gmail account or Dropbox account .......... 32

           IV.      Mr. Williams describes no analysis of the International Labor Rights Forum email address .. 33

V.       Conclusion........................................................................................................................................... 33




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DECLARATION OF SPENCER LYNCH




       1.       Stroz Friedberg, LLC (“Stroz Friedberg”) was retained by Starnes Davis Florie LLP

(“Counsel”), counsel for Drummond Company, Inc. (“Drummond”) in connection with a litigation

captioned Drummond Company v. Terrence P. Collingsworth, et al., Case No 2:11-CV-03695-RDP-

TMP in the United States District Court for the Northern District of Alabama. Stroz Friedberg was

retained to assist in the analysis and attempted recovery of potentially relevant data (including emails)

associated with the Defendants, Terrence Collingsworth and Conrad & Scherer, which has been

disclosed as missing or otherwise lost. Stroz Friedberg understands that the deletion and recovery of

this data is at issue in another litigation involving Mr. Collingsworth (Juana Perez 1A, et al v Dole Food

Company et al, Case No BC412620 in the Superior Court of the State of California for the Country of

Los Angeles). I, Spencer Lynch, have filed a declaration in that other case.

       2.       Established in 2000, Stroz Friedberg is an international firm specializing in digital

forensics, electronic discovery, data breach and cybercrime response, security science, and business

intelligence services and investigations. Stroz Friedberg’s management includes former federal and

state prosecutors and former law enforcement officers with both government and private-sector

experience in traditional and cyber-based investigations, digital forensics, data preservation and

analysis, infrastructure protection, and electronic discovery. Many of its staff of digital forensic

examiners, electronic security professionals, electronic discovery specialists, and private investigators

joined Stroz Friedberg following careers in law enforcement, the intelligence community, and consulting.

       3.       I, Spencer Lynch, am a Director of Digital Forensics for Stroz Friedberg and work out of

the firm’s London office. In this role, some of my responsibilities include co-managing the company’s

digital forensic practice, developing policies and procedures for the forensic team, managing the

development of the company’s capabilities through the acquisition of tools and both internal and

external training programs for its employees, and directly managing the forensic staff in the company’s

international forensic departments in London, Hong Kong, and Switzerland.

       4.       In my role at Stroz Friedberg, I maintain an active case load of digital forensic

engagements in internal investigations and civil, criminal, and regulatory matters relating to (but not

limited to) document authentication, database analytics, the theft or misappropriation of data, and



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 investigations into computer intrusions or hacking. I am frequently involved in large electronic discovery

 matters, including the preservation, analysis, and processing of data from laptop computers, desktop

 computers, servers, removable media, and mobile computing devices such as cellphones,

 smartphones, and tablets. I have testified as an expert in digital forensics in United States District

 Courts for the Northern, Eastern, and Southern Districts of New York, the Royal Courts of Justice in the

 United Kingdom, and in an international arbitration under the UNCITRAL rules.

        5.       Prior to joining Stroz Friedberg, I worked for Ernst & Young performing forensic analysis

 and database analytics within a fraud investigations group. I obtained a B.A from Duke University in

 Computer Science and Public Policy and a minor in Psychology. My CV setting forth my qualifications in

 more detail is set forth as Exhibit 1.


I.      SCOPE OF DECLARATION

        6.       As described above, Stroz Friedberg was retained by Counsel to assist in the analysis

 and attempted recovery of data associated with Mr. Collingsworth and Conrad & Scherer. For this

 declaration, I have been asked to review documents (described below) produced to Drummond by

 Defendants and their counsel, documents produced by Mr. Dennis Williams, a computer forensics

 expert hired by Defendants to assist in the recovery and analysis of their emails, and the transcript and

 exhibits of a deposition of Mr. Williams. I have been asked to determine whether the opinions offered

 by Mr. Williams were supported by his analysis and whether his analysis was complete.

        7.       I have not been provided access to any electronic evidence underlying the claims in the

 documents produced by Mr. Williams. I understand from Counsel and the documents produced by

 Defendants’ counsel that counsel for Mr. Collingsworth and other defendants in the case undertook a

 review in an effort to identify whether any of the missing emails could be recovered. I further understand

 that, a Mr. Williams, was engaged by Defendants and their counsel to assist in that effort and to offer

 opinions that may shed light on whether the emails were missing as a result of reasonable or routine

 computer maintenance and whether or not there is evidence of intentional deletion of any emails or

 other electronic data.



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        8.        As part of my review of these documents, I have been asked, by Counsel, to review the

 documents and offer an opinion regarding the extent to which the evidence supports Mr. Williams’

 contention that all missing emails are the result of reasonable and routine computer maintenance.

 Further, I have been asked to identify whether or not Mr. Williams’ work appears complete, follows

 generally accepted best practices, and whether his opinions are supported by the analysis he offers.

 This declaration sets forth my opinions on those topics. I reserve the right to supplement this

 declaration if new information becomes available to me or if I am asked to address different topics.


II.     MATERIALS REVIEWED

        9.      In producing this declaration, I reviewed and relied on the following materials:
             a. A letter from Steptoe & Johnson dated March 12, 2015 (the “March 12 Letter”);
             b. Exhibit A to the March 12 Letter, a declaration by Dennis Williams dated March 11, 2015
                  (the “Williams March Declaration”);
             c.   A letter from Steptoe & Johnson dated April 14, 2015 (the “April 14 Letter”);
             d. A declaration by Dennis Williams dated April 14, 2015 (the “Williams April Declaration”)
                  that attaches 28 exhibits labelled A to BB;
             e. Drummond’s Motion for Spoliation Sanctions and corresponding exhibits (the “Motion for
                  Sanctions”);
             f.   Defendant’s response to the above motion, and corresponding exhibits (the “Response to
                  Motion for Sanctions”), including a declaration of Dennis Williams dated August 13, 2015
                  (the “Williams August Declaration”);
             g. The transcript from a June 30, 2015 deposition of Mr. Williams, and corresponding
                  exhibits (the “Williams Deposition”);
             h. A declaration of Christopher Niewoehner dated July 15, 2015;
             i.   A bundle of documents produced by Mr. Williams bearing bates numbers CS TC009354
                  to CS TC012296 (the “Williams Document Production”);
             j.   A selection of documents produced by counsel for Defendants in October 2013 bearing
                  bates numbers CS000715 to CS1245;
             k.   An Order dated April 4, 2014 signed by Judge R David Proctor (the “April 4, 2014
                  Order”);
             l.   An email dated June 14, 2012 forwarding an email dated September 13, 2011 bearing
                  bates number CS002673; and
             m. Documents reflecting the dates of certain events in the litigation.




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         10.    I have not been provided access to any of the devices that Mr. Williams purports to have

 analyzed.


III.     EXECUTIVE SUMMARY

         11.    My review of the Williams March Declaration, Williams April Declaration, Williams

 August Declaration, Williams Document Production, and Williams Deposition identified that the work

 described by Mr. Williams appears incomplete and at times contradictory. Most significantly, Mr.

 Williams does not offer sufficient evidence to support his conclusion that “there is no indication that

 emails or computers were intentionally disposed of or deleted to destroy evidence” (Williams April

 Declaration at 21). Instead, the analysis he performed but did not describe in his declarations identified

 evidence contradictory to his opinion regarding likely intentional deletions and disposal of emails. In

 one instance, Mr. Williams’ analysis identified deleted emails he described as having “recent activity in

 12/2014 which is not good.” (CS TC009737). Significantly, these emails appear to be located on Mr.

 Collingsworth current desktop computer. Some of the emails he was referencing in this sentence were

 located in the Recycle Bin of the computer, a location commonly associated with intentional deletions

 by a user.

         12.    Moreover, I disagree with Mr. Williams that “there is overwhelming evidence reflecting

 Collingsworth’s email problems and the reasonable efforts that were taken… to save or back-up his

 electronic information…” (Williams April Declaration at 22). While Mr. Williams does describe some of

 the evidence of email problems, the very facts he presents suggest that the efforts to back-up

 information were not reasonable and clearly not effective at preserving that electronic information.

 Moreover, he stated in his deposition that the first thing he would tell a client to do when facing a newly

 filed lawsuit “would be putting in place a litigation hold.” (Williams Deposition @ 85:17-24). Given his

 view as to the importance of litigation holds, the fact that he was aware of no such process calls into

 question his stated opinion. Additionally, he ignored evidence contradictory to his opinions about the

 loss of the MacBook laptop and an external hard drive. When that evidence is considered, the handling




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of those devices does not reflect reasonable efforts to preserve data and, as it relates to his first

conclusion, may be evidence of the intentional disposal of data.

        13.     Finally, Mr. Williams’ narrative appears to be based largely on unsubstantiated claims

that are not cited, described vaguely, and at times appear to confuse the subject of discussion, making

it difficult to determine what has actually happened. His declarations do not contain the type of technical

details I would expect in a computer forensics report, such as identifying information about the

computers or email accounts he examined, the methodology he employed, and the names and versions

of software in scope for his analysis. In setting forth this declaration, I have attempted to make clear

what can be determined from the facts and narratives that Mr. Williams provides and those found in the

letters from Steptoe and Johnson.

        14.     In my opinion, the analysis described by Mr. Williams is incomplete. Nonetheless, based

on a review of what was done, I believe that the conclusions offered by Mr. Williams are contradicted by

the evidence he reviewed.


IV.     ANALYSIS

        15.     Mr. Williams’ analysis resulted in three primary findings that he sets forth in the Williams

April Declaration. First, he found that “Conrad & Scherer did in fact possess emails for certain time

periods that were identified as missing in [his] March 11, 2015 Preliminary Report” (Williams April

Declaration at 17) but that “some narrow gaps of missing emails remain.” (Williams April Declaration at

19). Second, he concluded that “there is no indication that emails or computers were intentionally

disposed of or deleted to destroy evidence.” (Williams April Declaration at 21). Third, he concluded that

“there is overwhelming evidence reflecting Collingsworth’s email problems and the reasonable efforts

that were taken by Collingsworth and his assistants to save or back-up his electronic information.”

(Williams April Declaration at 22).

        16.     While Mr. Williams’ analysis appears to have located additional emails, as set forth

herein, I disagree with the opinions he offers. However, beyond allowing me to identify inconsistencies

and issues with his analysis, the incomplete analysis and extremely limited amount of technical detail



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he provides in his declarations makes it impossible for me to state with certainty what did in fact occur

with Mr. Collingsworth’s emails and whether or not any more emails are recoverable. The Williams

Document Production includes more technical information than the declarations, but that information is

also extremely limited. Set forth herein are examples of the problems with Mr. Williams’ analysis

highlighting where his work appears incomplete, unsupported, or contradicted by the very evidence he

cites or possessed.

       17.      In considering the dates and facts herein, it is important to consider the timing of events

in this litigation, as some of the events described herein related to the loss of email are in close

temporal proximity to events in the litigation. I understand that this litigation was filed in 2011 (Motion for

Sanctions at page 7), the First Request for Production of Documents was served on February 28, 2013

(Motion for Sanctions at page 10), and a subsequent request for production was served on May 1, 2013

(a Request for Production dated May 1, 2013). I understand from Counsel that the first document

production from Defendants counsel was received on October 3, 2013, and included documents

reflecting that they had been printed in September 2013 (e.g. CS000806, CS000831, and CS001100).

I further understand that on April 3, 2014, April 4, 2014, and April 21, 2014, the Court ordered

Defendants to preserve all electronic data, emails, computers, and hard drives in their present form

(Motion For Sanctions at page 29, April 4, 2014 Order).


    A. THE ANALYSIS PERFORMED BY MR. WILLIAMS APPEARS TO CONTRADICT HIS
       CLAIM THAT THERE WERE NO INTENTIONAL DELETIONS


       18.      Mr. Williams claims that there are no indications of intentional deletions. (Williams April

Declaration at 21). Much of the support for his view originates from emails and service tickets. It is not

made clear in his declaration whether he reviewed all emails and service tickets available, or if instead

he was just provided those that support the narrative adopted in his declarations. He does not offer any

forensic evidence to corroborate the majority of information in those documents. By his own admission,

three of the four earliest known computers are not available to him (Williams April Declaration at 36).




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       1. MR. WILLIAMS IDENTIFIED, BUT DID NOT INVESTIGATE, MULTIPLE DELETIONS OF
             EMAIL


             I.       MR. WILLIAMS ANALYSIS IDENTIFIED EMAIL FILES IN THE RECYCLE BIN THAT
                      HE DOES NOT FURTHER INVESTIGATE OR DISCUSS IN HIS DECLARATIONS


       19.        Contrary to his opinion, the Williams Document Production highlights that Mr. Williams

identified deletions of email but did not discuss them in his first two declarations. Specifically, one of the

documents produced in the Williams Document Production was an email dated April 2, 2015 he sent

discussing deleted emails, which describes that he “highlighted four possible files” and “they have

recent activity in 12/2014 which is not good.”(CS TC009737). That email attaches a chart with 451 lines,

one of which is a header row (CS TC009739 - CS TC009969). Many of those rows reference deleted

email files with activity in December 2014. He does not describe in the email why he says the date is

“not good”, but presumably it is because the recent activity means that the files must have been

recently deleted.

       20.        In his deposition and in the Williams August Declaration, Mr. Williams described that it

was possible for a file to be in the chart as deleted when an active copy of that file still exists because of

the way the “Recover Folders” process he used operates. (Williams Deposition at 216:9 – 217:5,

Williams August Declaration at 36). The way Recover Folders operates, it is possible for the process to

misidentify a file as deleted when it, in fact, it has not been deleted. In order to determine whether that

is the case, it is necessary to identify an active copy of that file through forensic analysis. Mr. Williams

asserts that “most of [the 450 email files in the chart] were still active” but he provides no support for his

statement. (Williams August Declaration at 36g). He also admits that of those 450 email files, four PST

files “do not have corresponding active files.” (Williams August Declaration at 36g). That admission

provides evidence that is contradictory to his opinion.

       21.        Two of the four PST or OST files he highlighted in the chart attached to his email are

PST files that were contained in the Recycle Bin. (CS TC009739 - CS TC009969, Lines 3 and 5). The

Recycle Bin is a special folder on a Windows computer that holds files that have been selected to be

deleted, but which have not yet been marked as deleted on the hard drive. Generally, in my experience,



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files in the Recycle Bin are there as the result of a specific user action to delete files. The fact that these

files are in the Recycle Bin would not be impacted by the Recover Folders process that Mr. Williams

describes.

       22.      It does not appear that Mr. Williams or his associates performed any further analysis of

the circumstances of these deletions. In a reply to Mr. Williams’ email, one of Mr. Williams’ colleagues,

Mr. Chris Graham, stated that “the only one worth going after is maybe the IRA ost which is most likely

just duplicative data from the active OST.” (CS TC010011). In that sentence, Mr. Williams’ colleague

appears to discount any further analysis of these deleted files and of whether or not the deletions were

intentional. The one file he suggests “maybe” worth pursuing he also appears to discount on the

assertion that it is “most likely duplicative.” The declarations and Williams Document Production do not

provide any analysis to support these assertions, and as described herein, an analysis comparing

sources of email to determine if different sources are fully duplicative would be a worthwhile exercise to

have conducted.

       23.      Mr. Williams states in the Williams August Declaration that “all four of these [deleted]

PST files were provided to Defendants’ e-discovery vendor for processing in this matter.” (Williams

August Declaration at 36h). However, it is not clear how that would have been possible given the

circumstances. In order for the files to be successfully processed, Mr. Williams and his colleagues

would have had to successfully recover the files in full. In Mr. Graham’s email, he states that one of the

deleted PST files “will export but the [other] will not” (CS TC010011). As such, it does not appear that

Mr. Williams or his colleagues could recover the files such that they could be processed by the e-

discovery vendor.

       24.       Regardless of whether they could be recovered, Mr. Williams’ explanation does not

discuss whether the deletions were intentional. As set forth herein, I do not have access to the forensic

evidence analyzed by Mr. Williams and cannot perform an analysis of the circumstances surrounding

the deletions. However, based on the information I do have, the evidence (which was highlighted by Mr.

Williams in his spreadsheet) suggests that there was in fact an intentional deletion of some amount of

email in or around December 2014 on one of the Collingsworth computers.



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             II.       MR. WILLIAMS IDENTIFIED AND DISCUSSED A DELETION IN THE WILLIAMS
                       APRIL DECLARATION BUT DOES NOT ADDRESS WHETHER THE DELETION
                       WAS INTENTIONAL


       25.         In another instance, where Mr. Williams does discuss the deletion of email in the

Williams April Declaration, his analysis leaves open more questions than it answers. Specifically, Mr.

Williams states that he identified “some emails in a deleted folder on a hard drive connected to a server

in the Conrad & Scherer DC Office” (Williams April Declaration at 18). Mr. Williams speculates that

those emails may have been stored on the server as part of an email migration (Williams April

Declaration at 48). Because Mr. Williams doesn’t provide any metadata for the emails, it is not possible

for me to assess whether there is any merit to that theory. However, as described later, the email

migration was for different email accounts than were found in this deleted folder, so, on its face, it

seems unlikely that the email migration in 2008 is linked to the emails he found. More importantly,

despite the fact he identified a deleted folder containing email, he offers no analysis about the

circumstances of its deletion.

       26.         The identification of a deleted folder on a server should, in and of itself, give cause for

further analysis given that the question of purposeful user deletions is a key substantive issue in this

matter. Generally speaking, I would not expect a folder containing a user’s email and its contents to be

deleted without some action by a user. Therefore the initial observation of the deletion merits additional

analysis.

       27.         The fact that Mr. Williams actually identified relevant email material from this deleted

folder compounds the need for deeper analysis, to determine, if possible, how and why this email

material came to be deleted. The results of such further analysis could potentially impact Mr. Williams’s

conclusion that “[t]here is no indication that emails…were intentionally...deleted to destroy evidence.”

(Williams April Declaration at 21). If Mr. Williams reached this conclusion having performed the kind of

forensic analysis described below, I would expect that this work would be detailed in his declaration. If

this work was not performed, however, then the analysis set forth in the Williams April Declaration




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would not support his conclusion, and would leave open questions. I am not aware of any evidence in

the Williams Document Production that such analysis was performed.

       28.     It is often possible, through forensic analysis, to determine when files and folders were

deleted, how they were deleted, and by what user they were deleted. For files deleted through being

sent to the Recycle Bin on a Windows computer, like those described above, that information is tracked

and recorded by the operating system. For files deleted in other ways, or where that information has

been overwritten, it is sometimes possible, using other information, to strongly infer those details. For

instance, if files were accessed on a certain date, one can generally infer that the files must have been

deleted after that date, and if files were deleted during a time period that only one user had access to

the computer, one can generally infer that they must have been deleted by that user.

       29.     Mr. Williams provides neither his own such analysis nor the information necessary for

me to perform the analysis. As a result, it is not possible to determine, based on the information

provided, when these files were deleted, by whom, or how. He also does not describe when they were

created on the server. His speculation that they were created as part of an email migration may be the

reason he chose not to investigate this deletion, but as described herein, that speculation regarding the

migration appears unfounded and unlikely to be correct.


       2. A COMPARISON OF DATA ACROSS DIFFERENT SOURCES TO DETERMINE EACH
             SOURCES RELATIVE COMPLETENESS DOES NOT APPEAR TO HAVE BEEN
             PERFORMED


       30.     In addition to not investigating or disclosing the deletion of emails, there are other

analyses that Mr. Williams did not appear to perform (or did not disclose) that I would expect him to

perform, and that I believe are necessary to support his opinions. One such analysis is a comparison of

the emails that have been located from different sources to one another in an effort to determine the

relative completeness of each source. This analysis would be informative in assessing the claim in the

March 12 Letter that “[a]ll of the outgoing emails sent from the Collingsworth Account were preserved

on the Conrad & Scherer E-mail Server”. (March 12 Letter, page 6, emphasis in original).




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       31.      When email for the same account is located in multiple sources, it is possible to

compare those sources to determine whether they have the same emails, or if one or more of the

sources contains emails that are not in another source. If one source has emails that are not in any

other source, that is evidence that the other sources are not complete. In order to fully support Steptoe

& Johnson’s claim that all of the email from a given time period was found in a given source, the

analysis would have to show that no other data source has an email in that time period that is not found

in that source. There is no discussion of that comparison, and it is thus not possible to know whether or

not the claim that all outgoing email was stored “on the Conrad & Scherer E-mail Server”, or any other

similar claim, is supported.

       32.      Mr. Williams, in fact, admits that it is not possible from his analysis to know whether “all”

emails have been recovered from the time periods that he says they were. In his deposition, he stated

in reference to one time period for which he alleges that all emails have been received that “there may

have been a few emails deleted.” (Williams Deposition at 71: 18-19). When questioned whether he

could testify that Defendants had all of Mr. Collingsworth’s emails from a given day, he admitted that he

admitted that he did not “know whether [he had] every email from that day.” (Williams Deposition at

69:1-3).


       3. MR. WILLIAMS IDENTIFIES EMAIL BACKUPS BUT DOES NOT DESCRIBE ANY
             ANALYSIS OF THEM


       33.      The letters and declarations provide very little information about or analysis of the email

backups that may exist. While Mr. Williams and Steptoe & Johnson are correct that backups can be

very expensive if all backups are reviewed (March 12 Letter at Page 4), the assertion downplays the

value such backups can have in conducting the type of analysis he was asked to perform. Similar to the

analysis described above, comparing information in backups to the emails that have been recovered to

date could prove to be valuable in quantifying how much email has been recovered and in helping

assess whether there is value in restoring other backups.




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        34.     Depending on the type and number of backups, it may be possible to perform that

comparison on a very targeted basis such that it is not unduly burdensome. To offer opinions as to a

worthwhile strategy to investigate the backups, I would need additional information about what backups

exist. While I would generally expect an exercise such as the one conducted by Mr. Williams to include

interviews and information gathering about how frequently backups are made, how long they have been

retained, whether any routine destruction of backups has ceased as part of a litigation hold, and the

technology necessary to restore data from those backups, Mr. Williams does not provide any such

information in his declaration. In addition, Mr. Williams provides no information regarding whether a

targeted search of the backups was considered and, if so, why it was rejected. Instead, Mr. Williams

only identifies that backups exist and that they had not been searched (Williams March Declaration at

25b).


        4. MR. WILLIAMS’ CONCLUSION IGNORES MULTIPLE PIECES OF EVIDENCE THAT
              ARE CONTRADICTORY TO HIS ANALYSIS


        35.     In addition to the evidence set forth above, there is evidence, described fully below, that

Mr. Collingsworth should have been aware that disposing of his MacBook would result in the loss of

emails. Therefore, the loss of that MacBook may well have been an intentional disposal of data.

Similarly, the loss of an external hard drive, also described below, occurred extremely recently and no

corroborated explanation for its loss has been provided. With the questions left unanswered by Mr.

Williams’ analysis, it is not possible to know how much email can be recovered, how email was lost, and

how much email was lost through intentional destruction or disposal. Nonetheless, the evidence that

has been provided shows it is possible that there were multiple instances of intentional destruction or

disposal of email data.


     B. THE EFFORTS TO BACKUP EMAIL DO NOT APPEAR REASONABLE AND WERE
        CLEARLY NOT EFFECTIVE




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       36.      In the Williams April Declaration, Mr. Williams offers the opinion that “Collingsworth’s

efforts to save and/or transfer his electronic information, including emails, from old computers to

replacement computers were reasonable.” (Williams April Declaration at 126). Instead of any fault for

the missing emails resting on Mr. Collingsworth or Conrad & Scherer, Mr. Williams assigns the fault to

third-party IT support personnel and states that “[i]t appears that third-party IT support personnel failed

to properly transfer some of Collingsworth’s emails from one computer to a replacement computer…”

(Williams April Declaration at 127). I do not agree with Mr. Williams’ assessment that Mr.

Collingsworth’s efforts were reasonable based on the information provided.


       1. THE EVIDENCE MR. WILLIAMS PROVIDES IN THE WILLIAMS APRIL DECLARATION
             DOES NOT SUPPORT, AND APPEARS TO CONTRADICT, HIS CONCLUSION THAT
             THE EFFORTS WERE REASONABLE


       37.      Based on the narrative Mr. Williams provides, there were multiple instances where Mr.

Collingsworth and others at Conrad & Scherer held and expressed concerns about the third party IT

support personnel or had identified failings in their ability to preserve his emails, yet Mr. Collingsworth

did not appear to take any action and allowed emails to continue to be lost. In my opinion, that is not

consistent with reasonable efforts to save electronic information. Particularly given those concerns and

past failings, a reasonable step would have been for Defendants to check that emails had been properly

transferred to a new computer and preserved before giving away or destroying the old computer.

Moreover, the instruction to not transfer emails from the MacBook resulted in the loss of a substantial

amount of information, and apparently was a decision made by Mr. Collingsworth himself.

       38.      As of December 22, 2010, it was apparent that there were problems with the third-party

IT support CTSS not archiving email properly, yet Defendants appeared to continue with the same

arrangement. (Williams April Declaration at 65). Again almost a year later, on November 22, 2011, Mr.

Collingsworth himself appeared to express some concern that CSC/CTSS was not in a position to

assist as he required (Williams April Declaration Exhibit W).




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       39.      Furthermore, an email dated January 20, 2012, shows that Mr. Collingsworth knew that

he could not access an external hard drive on which he believed email had been archived (Williams

April Declaration at 98d and Exhibit X).

       40.      Despite these concerns, Mr. Collingsworth apparently made no effort to validate that he

could access historical email after changing computers. Checking that e-mail had been transferred

would merely require Mr. Collingsworth to see if he could still access his historical emails on his new

computers. This apparent failure to validate that email had been transferred shows that these actions

were not reasonable particularly given that on March 30, 2010, Mr. Collingsworth received an email that

stated “it is possible that something did not get copied over. This is a common occurrence….” (Williams

April Declaration at Exhibit G). That email shows that Mr. Collingsworth was aware that it was common

for email transfers to fail or be incomplete, and he should have been checking that they were performed

properly.

       41.      Moreover, Mr. Collingsworth’s instruction not to transfer email from the MacBook was

reckless given his past experiences. (Williams April Declaration Exhibit BB). According to Mr. Williams,

that decision resulted in the loss of a substantial amount of email.


       2. MR. WILLIAMS’ CHARACTERIZATION OF MR. COLLINGSWORTH’S BELIEFS IS
             INCONSISTENT WITH HIS BELIEFS ABOUT THE RELIABILITY OF WITNESSES


       42.      Mr. Williams’ characterization of Mr. Collingsworth’s instruction is also misleading about

the evidence he cites. In no place in the document Mr. Williams cites does Mr. Collingsworth provide

any justification for his decision, yet Mr. Williams adopts the justification that Mr. Collingsworth thought

his emails were stored on the server. (Williams April Declaration at 115). None of the documents relied

upon by Mr. Williams indicate where Mr. Collingsworth believed the emails were stored when he made

the decision. Mr. Collingsworth simply says not to transfer his documents.

       43.      In his deposition, Mr. Williams states that his opinion that Mr. Collingsworth believed that

the emails were stored on the server came from talking to Mr. Collingsworth “on a limited extent.”

(Williams Deposition at 161:16-19). Mr. Williams did not have any other evidence to corroborate Mr.




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 Collingsworth’s statements. (Williams Deposition at 162:20 – 163:4). This appears at odds with Mr.

 Williams experience “during [his] years as an investigator.” (Williams Deposition 153:18-22). In his

 deposition, Mr. Williams stated that “contemporaneous information… can be more reliable than

 information provided years later.” (Williams Deposition 153:18-22). In this instance, however, it appears

 that instead of relying on contemporaneous information he relied on statements made years later. In

 fact, the contemporaneous evidence shows that Mr. Collingsworth was told that archiving emails

 “removes emails from your Inbox & off the server, and stores them locally on your computer.” (Williams

 April Declaration at Exhibit N).


        3. CONTEMPORANEOUS INFORMATION SHOWS THAT DEFENDANTS WERE AWARE
              THAT EMAILS WERE NOT STORED ON THE SERVER


        44.      Contrary to his statement, Mr. Collingsworth and his firm were, in fact, aware that some

 email was stored only on the MacBook, and that these emails were not being backed up or archived in

 a separate location. Documents provided as part of the Williams Document Production set out several

 email communications that evidence this.

        45.      Emails sent between two Conrad & Scherer employees in June 2012 demonstrate a

 shared understanding that emails stored on Mr. Collingsworth’s MacBook were only stored on and

 accessible from the MacBook itself. On June 15, 2012, in the course of searching for emails between

 Mr. Collingsworth and two specific individuals,1 Mr. Collingsworth’s assistant, Maggie Crosby,

 requested the assistance of the Director of IT at Conrad & Scherer, Juan Carlos Rodriguez. (CS

 TC011131 – CS TC011132). Once Mr. Rodriguez had assisted by providing the results of his searches,

 Ms. Crosby then asked whether he could tell her “how to look on [Mr. Collingsworth’s] mac also,”

 implying that she knew that email on the MacBook was not also stored on the server, and thus would

 not have been included in the original search. (CS TC011131 – CS TC011132). Mr. Rodriguez

 subsequently told Ms. Crosby that he “cannot get anything from [Mr. Collingsworth’s MacBook],”




1 I understand from Counsel that these two individuals were Jaime Blanco and Ivan Otero.




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because he did not have the device. (CS TC011131 – CS TC011132). This exchange makes clear that

Defendants knew and understood that for at least some of Mr. Collingsworth’s email it was not stored

on and could not be accessed from the Conrad & Scherer server.

       46.      Moreover, a similar email exchange on the same subject, one day earlier on June 14,

2012, establishes that Mr. Collingsworth himself knew that some email was stored exclusively on his

MacBook. Following Ms. Crosby’s request about “the best way” to search through “ALL [Mr.

Collingsworth’s] old emails,” Mr. Rodriguez copied in Mr. Collingsworth to his response. Mr. Rodriguez

explained in his response to both Mr. Collingsworth and Ms. Crosby that the “old emails are in the mac.”

(CS TC011130). These contemporaneous email exchanges make clear that Defendants would have

been aware that emails on his MacBook laptop were not stored anywhere else. In fact, the evidence

shows that Mr. Collingsworth himself likely acted on this information from Conrad & Scherer’s IT

Director. At 1:26PM on June 14, 2012, less than three hours after Conrad & Scherer’s IT Director told

him that his “old emails in the mac”, Mr. Collingsworth forwarded to Ms. Crosby an older email from

September 2011 that was between Mr. Collingsworth and oteromivan@hotmail.com, one of the email

addresses for which Ms. Crosby was searching for emails. (CS 002673).


       4. DEFENDANTS APPEAR AT LEAST PARTLY RESPONSIBLE FOR THE EMAIL
             ARCHIVING SETUP THAT MR. WILLIAMS STATES IS THE CAUSE OF THE EMAIL
             LOSS


       47.      Mr. Williams places the fault for many missing emails on an auto-archive rule that, in his

opinion, “was put in place by CTSS.” (Williams August Declaration at 33). But for this rule, Mr. Williams

says that incoming emails from both IRAdvocates and Conrad & Scherer “for the period between March

2011 and March 2013 would still be on the servers.” (Williams August Declaration at 34). Mr. Williams’

assignment of fault to CTSS ignores the issue as to whether or not CTSS were acting at Mr.

Collingsworth’s direction in setting up the rule, if such a rule existed. If the rule existed (as discussed

later, Mr. Williams’ opinions on this issue are not supported by the evidence), the evidence does show

that Mr. Collingsworth was involved in the decision about archiving. Specifically, service tickets




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demonstrate that Mr. Collingsworth, and not CTSS, was the cause of delays and inaction in setting up a

robust email backup solution on the MacBook.

       48.     First, a service ticket initiated on March 29, 2011 describes that a quote for a third party

provider named AppRiver had been sent to Conrad & Scherer. As described in the ticket, AppRiver was

being recommended to provide “email backup as a more reliable option.” According to the remarks, two

follow up emails were subsequently sent by CTSS on May 4, 2011, and May 26, 2011. No response

was received. The ticket was closed on May 31, 2011, ‘until the client [was] ready to proceed’. (CS

TC009462).

       49.     Another service ticket regarding email archiving and backup indicates that Mr.

Collingsworth himself spoke with Vickie Shores at CTSS on December 1, 2011, and had agreed to call

back once he had decided how he wanted to proceed. There is no evidence in this service ticket to

suggest that a subsequent conversation occurred, and the ticket was closed. (CS TC009468). These

two service tickets demonstrate both that Mr. Collingsworth was aware of the need for, and availability

of, alternatives for archiving email on his MacBook, and that he delayed solutions that would have

safeguarded the email from this period.

       50.     Finally, in another instance, on November 22, 2011, Mr. Collingsworth rejected a

proposal to back up his email to a “cloud” based backup service, insisting instead that email be placed

on an external hard drive. His stated justification for this was because his email was “too sensitive.”

(Williams April Declaration Exhibit W) If that is indeed true, I would expect that the hard drive would be

stored safely to protect its contents. As described herein, it appears the external hard drive used by Mr.

Williams was recently lost.


       5. MR. WILLIAMS’ CONCLUSION THAT AN AUTO-ARCHIVE RULE RESULTED IN THE
             LOSS OF EMAIL IS CONTRARY TO THE EVIDENCE


       51.     Mr. Williams, in discussing the “Auto-Archive Rule” on the MacBook, states

“Collingsworth outgoing IRAdvocates emails between May 17, 2011 and October 17, 2011 likely would

not be missing if this sort of setting had not been enabled.” (Williams August Declaration at 23).




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 However, he does not actually provide any evidence that the rule existed or who enabled it. He

 acknowledges this in saying that “if this kind of setting for Mr. Collingsworth’s outgoing IRAdvocates

 emails were enabled, it is likely that CTSS performed that function.” (Williams August Declaration at

 22.).

         52.      Contrary to Mr. Williams’ assertions, there is evidence that archiving during that time

 period was performed manually, not automatically.2 The evidence also suggests that Mr. Collingsworth

 was aware of and involved in the archiving that was happening. On April 6, 2011, one of Mr.

 Collingsworth’s assistants sent Mr. Collingsworth an email stating “did you have a chance to search for

 those emails you wanted to grab before archiving? Because I could at least start archiving your emails

 on your laptop…” (CS TC011065). On October 7, 2011, Mr. Collingsworth sent an email stating “Do

 need [CTSS] to empty the inbox of iradvoates account on Outlook and archive it.” (CS TC011091).

 Those emails suggest that the archiving from April 6, 2011 to October 7, 2011 was not automatic, but in

 fact manual and performed under Mr. Collingsworth’s instructions. On October 11, 2011, a service

 ticket confirms this and states that CTSS archived over 15,000 emails from April 2011 to October 2011.

 (Williams April Declaration at 91 and Exhibit T).

         53.      Mr. Williams also states that the archives were being saved to the MacBook and not an

 external hard drive. For example, he states “it appears this archive was saved to the MacBook and not

 to any offsite backup.” (Williams April Declaration at 92). Mr. Williams’ analysis appears to ignore the

 possibility that the archives could have saved to an external hard drive. Significantly, the Williams

 March Declaration identified a manual archiving of emails onto an external hard drive as one of the

 three scenarios that would explain why Mr. Collingsworth’s emails are missing. (Williams March

 Declaration at 30). In addition, in his interview with the owner of CTSS, the owner stated that “[he]

 believed that the emails were archived to either Collingsworth’s Mac laptop or to an external hard

 drive.” (Williams April Declaration at 93, emphasis added). Finally, an email sent to Mr. Williams



2 Manual archiving is different than automatic archiving. In manual archiving, a user specifically selects which emails

will be archived and where they will be archived to, and that operation executes once. In automatic archiving, the user
configures a process to automatically select emails and run an ongoing process that archives emails whenever they
match the archive criteria.



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 summarizing an interview with one of Mr. Collingsworth’s assistants who worked for Conrad & Scherer

 from August 2011 to July 2013 states that Mr. Collingsworth had “archived emails that were saved to an

 external hard drive,” that CTSS “did not come in and do the archiving,” that the “archiving was actually

 done by C&S,” and that the “archiving was done periodically and not every day.” (CS TC01261).

 Manually archiving to an external hard drive would have the same result as an auto-archive rule in that

 under either scenario the emails would be removed from the Conrad & Scherer server and stored

 locally to wherever they were being archived.


         6. THE EXTERNAL HARD DRIVE THAT LIKELY CONTAINED EMAILS “TOO SENSITIVE”
               WAS AVAILABLE TO DEFENDANTS ON MULTIPLE KEY DATES, BUT IS NOW
               PURPORTEDLY LOST


         54.      It is clear from documents produced by Mr. Williams that a hard drive used with the

 MacBook laptop is the same hard drive that was in in Conrad & Scherer’s possession on December 8,

 2014. Mr. Williams states that this hard drive was subsequently lost during an office move. (Williams

 April Declaration at 78). On January 21, 2011, Victoria Ryan sent an email stating that she was

 “popping out to staples to pick up a portable external hard drive for Terry’s files” and that someone else

 was “looking into his computer info-transfer.” (CS TC009597). A receipt from Staples dated the same

 day shows that a 500GB GoFlex hard drive was purchased (CS TC010084).3 A billing report from

 CTSS references that slightly later in the day, CTSS configured an external hard drive “for use with both

 Mac and PC”. (Williams April Declaration Exhibit M). A Seagate GoFlex hard drive with serial number

 ‘na02nq70’ was connected to one of Mr. Collingsworth computers on January 21, 2011. (CS

 TC010160). A document produced by Mr. Williams also makes this clear, stating “On 1/21/2011, VR

 purchased external HD from staples”, he provides a “possible SN na02nq70,” and references that it was

 “last used on 12/8/2014 on Dell Vostro.” (CS TC011185).




3 A 500GB hard drive is large enough to store hundreds of thousands of emails and other files, such as Microsoft Word

documents or PDF documents. It is likely that every single email that is now purportedly missing could be stored on a
500GB hard drive.



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       55.        From the above evidence, it seems most likely that this hard drive purchased days after

the MacBook and configured to be used by both Mac and PC was the one to which Mr. Collingsworth’s

email was archived. While the MacBook laptop is not available for analysis, a chart produced by Mr.

Williams show that this Seagate GoFlex hard drive was connected to one of Mr. Collingsworth’s

computers as well as computers of others at Conrad & Scherer multiple times. (CS TC010160 - CS

TC010166). Generally, a computer does not record every time an external hard drive is connected.

Instead, if a hard drive is connected multiple times, computer forensics may only be able to identify the

first time it was connected, the last time it was connected, and potentially a handful of times in between.

It is also possible that the types of dates referenced by Mr. Williams are updated by different processes,

not a connection of an external hard drive. In order to confirm the accuracy of Mr. Williams’ chart, I

would need to perform further analysis of the Collingsworth computers.

       56.        Accepting the chart as it was produced by Mr. Williams, it appears that the Seagate

GoFlex hard drive was connected to a different computer, the Dell Vostro, on September 18, 2012,

connected to the Dell OptiPlex on September 5, 2013, connected to an HP Laptop on March 29, 2014

and April 4, 2014, and connected to other computers on December 5, 2014, December 8, 2014, and

February 26, 2015. Many of those dates are significant, and all are after the date the litigation was filed:

             a. September 2013 is when emails were printed that were produced by Defendants in

                  October 2013.

             b. April 4, 2014, is the same day the Court entered its second order directing Defendants

                  to preserve data (April 4, 2014 Order).

             c.   December 2014 is when Defendants were conducting multiple searches of their email

                  server for emails in this case. (CS TC012016 - CS TC012158).

             d. February 26, 2015 is only 5 days before Mr. Williams received a signed engagement

                  letter for his work in this matter. (CS TC011263).

       57.        Beyond observing that the external hard drive was in Defendants’ possession in

December 2014, Mr. Williams does not appear to investigate any of those dates. In his deposition, Mr.

Williams acknowledges that it is possible to do an analysis to determine how external devices were



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used and that it can be possible to tell what files were accessed from external devices. (Williams

Deposition at 26:1 – 37:24). There is no explanation in his declarations as to why he did not conduct

an analysis of activity around this external hard drive to figure out what it was used for given the

apparent extensive use of this drive.

       58.     The evidence is clear that this hard drive was in the possession of Defendants on

multiple dates after the litigation began and the Court ordered Defendants to preserve all electronic data

and all hard drives. In offering his opinions about the “reasonable efforts” that Defendants undertook to

save electronic information and his opinion about the disposal of emails, Mr. Williams provides no

reasonable explanation for the loss of this drive, perhaps as recently five days before he was engaged.

The Williams April Declaration offers that it was lost in an office move (Williams April Declaration at 78),

but in his deposition, Mr. Williams made clear that was a theory he developed on his own, not one

based on any evidence or statement by those involved in the office move (Williams Deposition at 241:6-

242:1). There is evidence, set forth above, that this hard drive was used on multiple dates before and

after existing gaps and that email archives were saved to external hard drives. It is possible that this

hard drive contained the email data that was archived in October 2011 and would cover at least one of

the gaps in Mr. Collingsworth’s email data.

       59.     Additionally, Williams testified in his Deposition that this external hard drive was used

not only to store Mr. Collingsworth’s emails, but his “emails and files.” (Williams Deposition at 170:5-8).

Accordingly, that external hard drive likely contained electronic files and documents that were not

emails. Examples of such files could include Microsoft Word documents, audio recordings, PDF files,

pictures, and videos. None of these files would be affected by the purported auto-archive rule in

Microsoft Outlook, and would all now be lost.


       7. EMAILS PRODUCED BY DEFENDANTS IN OCTOBER 2013 CONTRADICT MR.
             WILLIAMS NARRATIVE AND SUGGEST DEFENDANTS HAD EMAILS ON THE
             EXTERNAL HARD DRIVE AND ON THE SERVER AFTER THEY WERE PURPORTEDLY
             LOST




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       60.     The emails produced by Defendants in October 2013 are particularly noteworthy. Some

of the emails in that production fall into periods Mr. Williams believed were gaps prior to his work. For

example, an email sent solely to Mr. Collingsworth IRAdvocates account on August 16, 2010

(CS000975) falls into the period from February 26, 2010 through January 27, 2011 which Mr. Williams

stated he located and had been “identified as missing” prior to his work. (Williams April Report at 17).

Had emails from this period been missing, it is not clear how Defendants were able to produce this

email in October 2013. Given the Seagate GoFlex hard drive, purchased “for Terry’s files,” was

connected to one of Mr. Collingsworth’s computers in the same month that other emails in this

production were being printed, it is possible that those emails were found on this hard drive.

       61.     Another email in the production is even more noteworthy and potentially contradicts the

narrative offered by Mr. Williams. This email was sent on December 21, 2012 and was only addressed

to accounts for Mr. Collingsworth. The page in the production reflects that it was printed September 17,

2013 from the Conrad & Scherer email server. (CS000879). The date of that email falls into a period

where incoming emails addressed to Mr. Collingsworth’s IRAdvocates email address are purportedly

missing and emails addressed to his Conrad & Scherer email account also are purportedly missing and

were lost when Mr. Collingsworth gave the MacBook to his niece in June 2013. (Williams April

Declaration at 120 and 123).

       62.     This email appears to have been addressed to both Mr. Collingsworth’s Conrad &

Scherer and his IRAdvocates email addresses. Mr. Williams stated in his deposition that there was a

rule for emails “addressed to both Terry Collingsworth at IRAdvocates and Terrence Collingsworth at

Conrad & Scherer to move it into a separate folder.” (Williams Deposition at 54:11-16). Mr. Williams

suggests that the auto-archive process would not act on these e-mails. I am not aware of any evidence

of such a rule. Mr. Williams asked Conrad & Scherer for the rules on Mr. Collingsworth’s outlook

account and there was no such rule in the screenshot he was provided. (CS TC009734). As a result, I

have no reason to believe that emails addressed to both accounts simultaneously would be treated any

differently than an email addressed to just one of his accounts.




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       63.      If that email was on the server in September 2013, it’s possible that Mr. Williams’

narrative is incorrect as this email may be evidence that emails in a time period that is now purportedly

missing were in fact on the email server in September 2013, after Mr. Williams believes they would

have been archived.


     C. THE WILLIAMS DECLARATIONS HAVE MULTIPLE STATEMENTS THAT ARE UNCLEAR,
       UNSUPPORTED, OR CONTRADICTED BY HIS OWN ANALYSIS


       64.      In addition to the weaknesses in the analysis offered by Mr. Williams to support his

opinions described above, there are, more generally, repeated instances of discussions that are

unclear, unsupported by evidence, or contradicted by the evidence Mr. Williams offers. As a result,

among other things, it is not clear in Mr. Williams’ declarations how many computers or email addresses

were used by Mr. Collingsworth. The total extent of what email gaps exist is also not clear. Using the

information provided, I have attempted to bring clarity those issues.


       1. MR. WILLIAMS’ DISCUSSION OF THE DELETED FOLDER CONTAINS AT LEAST TWO
             SUBSTANTIAL ISSUES


       65.      One example of unclear, unsupported, or contradictory analysis is found in Mr. Williams’

discussion of the deleted folder that contained email. As set forth above, Mr. Williams identified a

deleted folder contained on a hard drive connected to a Conrad & Scherer server. He attributed the

possible source of that folder to an email migration. (Williams April Declaration at 48). He further states

that “one of the remaining gaps in Collingsworth’s IRAdvocates incoming emails is from June 3, 2008

(which is shortly after the migration from GroupWise to Outlook) through February 25, 2010.” (Williams

April declaration at 55). Based on Mr. Williams’ own report and the evidence he provides, that is not

correct. June 3, 2008 is not “shortly after the migration.” Mr. Williams identified and quoted in his report

that the migration occurred on June 6, 2008. (Williams April Declaration at 45). If Mr. Williams does not

believe the information he relied on is correct and the migration in fact occurred on another date, he has

not provided that information.




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        66.      There is an additional issue with Mr. Williams’ statements on this subject. Mr. Williams

 describes that the email in the deleted folder was from “Collingsworth’s IRAdvocates and International

 Labor Rights Forum email accounts.” (Williams April Declaration at 48). However, the migration that

 Mr. Williams mentions was a migration performed by Conrad & Scherer staff, not IRAdvocates staff.

 (Williams April declaration at 45). The migration of IRAdvocates email did not occur until substantially

 later, on October 27, 2011, a fact that Mr. Williams provides in a different discussion. (Williams April

 Declaration at 99). The email cited by Mr. Williams in reference to the 2008 migration even states that

 Conrad & Scherer had “no access or knowledge of anything with the email before Terry came aboard

 with us at the IRAdvocates domain.” (Williams April Declaration Exhibit B). Given the facts set forth by

 Mr. Williams, it appears unlikely that the email found on the Conrad & Scherer server related to the

 2008 migration as he suggests.


        2. MR. WILLIAMS DOES NOT PROVIDE ANY CLARITY AND MAY MISLEAD THE
              READER ABOUT HOW MANY DEVICES WERE USED BY MR. COLLINGSWORTH


        67.      Mr. Williams sets forth a table of the “five primary computers used by Collingsworth from

 2008 through 2014” (Williams April Declaration at 36). In addition to those computers, he states that

 Mr. Collingsworth used a Dell Vostro Desktop4, an Acer netbook, and a Dell Inspiron laptop. Mr.

 Williams does not provide serial numbers or any other identifying information about any of these

 devices. Finally, Mr. Williams references that Mr. Collingsworth also used an iPhone and iPad.

 (Williams April Declaration at 37).

        68.      In addition to those devices, Mr. Williams, and the supporting documentation he

 provides, make reference to a home computer that does not appear to be accounted for in his

 description. Specifically, Exhibit V to the Williams April Declaration identified that on November 10,

 2011, a technical support person visited Mr. Collingsworth’s residence to work on “Terry’s home PC




4 In Paragraph 37 of the Williams April Declaration, Mr. Williams describes that Mr. Collingsworth used a Dell Vostro

desktop sometime between 2008 to 2014 and that he currently has a Dell Vostro desktop in his office. It is not clear
whether the two references to a Vostro desktop refer to the same device or a different device. For the purposes of
counting the number of computers, I assume they refer to the same device.



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with Outlook” and that part of the work included backing up data to a “PST file” and restoring a “PST file

over 8.5GB”.

       69.     Mr. Williams’ chart sets forth that the primary computer used by Mr. Collingsworth at that

time was a MacBook laptop (Williams April Declaration at 36), and Mr. Williams also describes that the

Outlook software on the MacBook used the OLM format, not the PST format. (Williams April Declaration

at 93c). Thus, the home computer appears to be a different computer. Mr. Williams’ narrative about the

MacBook could mislead a reader to believe mistakenly that the work described related to the MacBook.

       70.     In summary, it appears as though Mr. Collingsworth has used at least 9 computers since

2008. Mr. Williams describes that two of those computers were disposed of (Williams April Declaration

at 36c) but provides no indication in his declarations as to why he believes that or whether there is any

evidence of that. Significantly, he stated at this deposition that this disposal occurred during the course

of this litigation. (Williams Deposition 125 – 129). A third computer, the Apple MacBook, is purported to

have been given to Mr. Collingsworth’s niece in June 2013 and subsequently stolen (Williams April

Declaration 120). Again, Mr. Williams provides no indication as to where this information came from.

Mr. Williams does not describe what analysis has been performed on the other computers beyond

stating that he has conducted an examination of some of them, including the Dell Optiplex (Williams

April Declaration at 62), the Vostro Desktop (Williams April Declaration at 37), and Inspiron Laptop

(Williams April Declaration at 37). He does not state whether he has performed an analysis of the HP

laptop used from June 2013 to May 2014.

       71.     Finally, in the Williams August Declaration, Mr. Williams describes that the “Acer

Netbook laptop was transferred to Conrad & Scherer employee [sic] before the lawsuit was filed and

has since been returned and analyzed.” (Williams August Declaration at 42b). As Mr. Williams stated in

the Williams April Declaration, the Acer netbook had previously been used by Mr. Williams when he

travelled, and was replaced by the MacBook. (Williams April Declaration at 73). It is not clear when it

was first used from the information available to me. A document produced by Mr. Williams references

that the Acer netbook was serviced on March 30, 2010, so it must have been first used by Mr.

Collingsworth on or before that date. (CS TC011183) As such it is possible, if not likely, that the Acer



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netbook had historical email on it, including email prior to February 26, 2010, that Mr. Williams states

was lost by CTSS failure to transfer data properly between computers. (Williams April Declaration at

68).

         72.     Mr. Williams does not describe his analysis or any findings from the Acer netbook.

Though he was aware of these facts from an email dated April 14, 2015 sent to him, Mr. Williams does

not describe that Windows had been re-installed on the netbook on January 13, 2014, during the

litigation, and that while there was evidence of a PST file from September 2010 on the computer, the

content of the file was lost and had been entirely “overwritten, all zeros.” (CS TC010608 & CS

TC010609). The re-installation of Windows generally serves to delete all of the data on the computer. In

my experience, the re-installation of Windows is sometimes done to intentionally delete and make data

unrecoverable. Had the Acer netbook been preserved before Windows was re-installed, that PST may

still be recoverable.

         73.     However, it is possible that a more targeted deletion of this PST occurred in addition to

the re-installation of Windows, as I would not generally expect the re-installation of Windows to

overwrite a PST with “all zeros.” It is therefore possible that a user of the computer undertook a prior

exercise to wipe or destroy data on that computer before re-installing Windows. Since the PST is

overwritten, it is not possible to know what was lost through the handling of the Acer netbook and the

re-installation of Windows in 2014.


         3. MR. WILLIAMS MISCHARACTERIZES THE REMAINING GAPS OF EMAIL AND DOES
               NOT ANALYZE OTHER POTENTIALLY RELEVANT ACCOUNTS.


         74.     Throughout his declarations, Mr. Williams refers primarily to two email accounts for Mr.

Collingsworth, one held at IRAdvocates and one held at Conrad & Scherer. Mr. Williams does not

identify the email addresses or account names of the accounts he focused on, but from the March 12

Letter written by Steptoe & Johnson, it appears as though the two accounts were

tc@conradscherer.com and tc@iradvocates.com. Based on the summary and discussion in the

Williams April Declaration, it appears that most, if not all, of his analysis was focused on those two




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accounts. It is, however, also clear that those were not the only accounts used by Mr. Collingsworth.

The April 14 Letter makes reference to a Gmail account, and the April Williams Declaration makes

reference to a Verizon account and an International Labor Rights Forum account. The Williams August

Declaration also makes reference to a Dropbox account, which could have stored email data. Beyond a

few references to the other accounts, Mr. Williams and Steptoe & Johnson provide very little information

about those other accounts. Thus, it is not possible to know whether there are additional missing emails

or other documents from those accounts.


             I.       MR. WILLIAMS MISCHARACTERIZES THE EMAIL GAPS


       75.        For the two accounts that Mr. Williams does identify, he sets out a timeline of what

emails remain missing, and describes that “some narrow gaps of missing emails remain.” (Williams

April Declaration at 19). I disagree with Mr. Williams’ characterization of the gaps as narrow. As Mr.

Williams sets forth, some of the gaps are over a year long. Attached as Exhibit 2 is a chart prepared by

Stroz Friedberg using the information in the Williams April Declaration and the April 14 Letter that

shows the gaps of email that still exist, the “primary computers” used by Mr. Collingsworth, and some of

the discrete events described in the Williams April Declaration and exhibits.

       76.        The chart prepared by Stroz Friedberg does not match a chart presented to Mr. Williams

in his deposition that he testified accurately represented additional gaps. (Williams Deposition at Exhibit

5). For example, that chart included a gap in outgoing email from the IRAdvocates account from June 2,

2008 to May 3, 2011. While Mr. Williams disagreed with some of the gaps represented in that chart, he

did not dispute this gap and accepted the chart to be accurate in that respect (Williams Deposition at

64:17). This serves to highlight that Mr. Williams’ declarations are not clear as to what the gaps are. As

further evidence of this, both of these charts differ from a chart produced by counsel for Defendants.

(Response to Motion for Sanctions at page 3).

       77.        In the Williams August Declaration, Mr. Williams attempts to revise one of the gaps he

had previously identified. (Williams August Declaration at 15 and 16) That revision, if accurate, would

serve to change the end date of a period of missing outgoing email from the IRAdvocates account from



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February 22, 2012 to October 27, 2011. Mr. Williams, in the conclusion of this discussion, states “the

forensic evidence indicates that all of Collingsworth outgoing IRAdvocates email after October 26, 2011

were retained.” (Williams August Declaration 17). Mr. Williams does not cite any evidence in the

discussion of his revision.

       78.         Mr. Williams’ revision also does not discuss a gap in outgoing IRAdvocates emails he

previously stated existed from February 22, 2012 to March 22, 2013. (Williams April Declaration at 19d).

At his deposition, Mr. Williams was presented with a chart that identified, among other gaps, this gap

from February 22, 2012 to March 22, 2013. While he disagreed with some of the gaps represented in

that chart, he did not dispute this gap and accepted the chart to be accurate in that respect (Williams

Deposition at 64:17). Thus, Mr. Williams’ statement that “all of Collingsworth outgoing IRAdvocates

email after October 26, 2011 were retained” is contradictory to his other descriptions of the email gaps.


             II.       THE USE OF THE VERIZON ACCOUNT MAY MEAN THAT NEITHER THE CONRAD
                       & SCHERER SERVER NOR THE IRADVOCATES SERVER EVER CONTAINED ALL
                       OF THE EMAIL


       79.         The Verizon account is of particular importance, as it is possible that the account was

used to send email from either the IRAdvocates or Conrad & Scherer account. An invoice from the

third-party IT support provider attached to the Williams April Declaration describes that, in an effort to

help resolve Mr. Collingsworth’s email problems, at least some of his devices were configured to send

email using “Verizon’s SMTP server” in April 2010. (Williams April Declaration Exhibit H). An “SMTP

server” provides an email user with the ability to send email – any outgoing email will travel through that

server on its way to the addressees. It is therefore possible, depending on the configuration, that

outgoing emails sent by Mr. Collingsworth on devices configured to use the Verizon server would never

be transmitted to either the Conrad & Scherer or IRAdvocates email servers.

       80.         Another invoice, this time referencing work done in November 2011, references the

Verizon account. (Williams April Declaration Exhibit V). Depending on the configuration put in place

then, it is again possible that Mr. Collingsworth’s emails were being sent or received through Verizon,




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 not through either Conrad & Scherer or IRAdvocates. There is no analysis of these issues in any of the

 documents I have been provided. If emails did not travel through the Conrad & Scherer servers, that

 fact would call into question Steptoe & Johnson’s statements that all outgoing emails were stored on

 those servers. (March 12 Letter, page 6).


               III.       MR. WILLIAMS DOES NOT DISCUSS ANY ANALYSIS OF THE GMAIL ACCOUNT
                          OR DROPBOX ACCOUNT


         81.          In addition to the Verizon account, there are at least two other accounts that do not

 appear to have been analyzed by Mr. Williams. The first is a Gmail account that Steptoe & Johnson

 references in the April 14 Letter but is not discussed in the Williams April Declaration. Steptoe &

 Johnson stated that the “Collingsworth G-Mail account (terrype56@gmail.com) has been searched” but

 do not describe who performed the search or how it was searched. (April 14 Letter at page 3). In the

 Williams August Declaration, Mr. Williams states that he preserved a copy of the Gmail account.

 (Williams August Declaration at 24). He does not describe whether he performed any analysis of that

 account or if he searched any of the other evidence for emails from the Gmail account.

         82.          Regardless of whether Mr. Williams has now preserved the Gmail account, it is

 particularly notable that it was not preserved or analyzed earlier, as it may have contained emails to fill

 some of the gaps. On January 25, 2012, Victoria Ryan sent an email stating that “we want to use a

 Gmail account to route [Mr. Collingsworth’s] emails.” (CS TC011104). Mr. Williams described in the

 Williams April Declaration that both incoming and outgoing emails for the IRAdvocates accounts were

 missing for almost all of 2012 and into 2013. (Williams April Declaration at 19). Mr. Williams should

 have investigated whether the Gmail account had any of those emails.

         83.          Similar to the Gmail Account, Mr. Williams states that he preserved a copy of a Dropbox

 account.5 (Williams August Declaration at 27). He does not describe when he performed that

 preservation. He further describes that “Mr. Collingsworth's Dropbox account is mirrored on the hard




5 Dropbox is service that allows a user to, among other things, backup files, including documents or emails, to a cloud-

based storage service and synchronize those files across computers



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 drive of his work computer.” As a result, he concluded that his analysis of that computer would

 encompass an analysis of the Dropbox account. However, there is information stored on Dropbox that

 is not “mirrored” to the computer. For instance, it is possible to recover files deleted from a Dropbox

 account using the web interface that would not be accessible on a computer.6 Mr. Williams does not

 describe when he performed the preservation, whether he preserved any deleted content, or when the

 Dropbox account was “mirrored” to the work computer.


               IV.       MR. WILLIAMS DESCRIBES NO ANALYSIS OF THE INTERNATIONAL LABOR
                         RIGHTS FORUM EMAIL ADDRESS


         84.         The other account referenced but apparently not investigated by Mr. Williams is the

 International Labor Rights Forum email account. As described earlier, Mr. Williams found a folder of

 deleted email on a Conrad & Scherer server. That email included email from Mr. Collingsworth’s

 account at International Labor Rights Forum from November 2, 2005 through June 20, 2007. (Williams

 April Declaration at 48). Mr. Williams does not purport to have investigated this account any further. It

 is not clear whether or not Mr. Collingsworth stopped using the account on June 20, 2007 or later, and

 from the currently available information, it is possible that other emails exist in this account that have

 not been searched for or located.


V.       CONCLUSION

         85.         My review of the Williams March Declaration, Williams April Declaration, Williams

 August Declaration, Williams Document Production, and Williams Deposition identified that the work

 described by Mr. Williams appears incomplete and at times contradictory. Most significantly, Mr.

 Williams does not offer sufficient evidence to support his conclusion that “there is no indication that

 emails or computers were intentionally disposed of or deleted to destroy evidence” (Williams April

 Declaration at 21). Instead, the analysis he performed but did not describe in his declarations identified




6 Dropbox’s allows a user to see an event history that includes the deletion of files from a Dropbox account and allows

a user to restore those deleted files. See https://www.dropbox.com/en/help/296



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evidence contradictory to his opinion regarding likely intentional deletions and disposal of emails. In

one instance, Mr. Williams’ analysis identified deleted emails he described as having “recent activity in

12/2014 which is not good.” (CS TC009737). Significantly, these emails appear to be located on Mr.

Collingsworth current desktop computer. Some of the emails he was referencing in this sentence were

located in the Recycle Bin of the computer, a location commonly associated with intentional deletions

by a user.

       86.      Moreover, I disagree with Mr. Williams that “there is overwhelming evidence reflecting

Collingsworth’s email problems and the reasonable efforts that were taken… to save or back-up his

electronic information…” (Williams April Declaration at 22). While Mr. Williams does describe some of

the evidence of email problems, the very facts he presents suggest that the efforts to back-up

information were not reasonable and clearly not effective at preserving that electronic information.

Moreover, he stated in his deposition that the first thing he would tell a client to do when facing a newly

filed lawsuit “would be putting in place a litigation hold.” (Williams Deposition @ 85:17-24). Given his

view as to the importance of litigation holds, the fact that he was aware of no such process calls into

question his stated opinion. Additionally, he ignored evidence contradictory to his opinions about the

loss of the MacBook laptop and an external hard drive. When that evidence is considered, the handling

of those devices does not reflect reasonable efforts to preserve data and, as it relates to his first

conclusion, may be evidence of the intentional disposal of data.

       87.      Finally, Mr. Williams’ narrative appears to be based largely on unsubstantiated claims

that are not cited, described vaguely, and at times appear to confuse the subject of discussion, making

it difficult to determine what has actually happened. His declarations do not contain the type of technical

details I would expect in a computer forensics report, such as identifying information about the

computers or email accounts he examined, the methodology he employed, and the names and versions

of software in scope for his analysis. In setting forth this declaration, I have attempted to make clear

what can be determined from the facts and narratives that Mr. Williams provides and those found in the

letters from Steptoe and Johnson.




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        88.     In my opinion, the analysis described by Mr. Williams is incomplete. Nonetheless, based

 on a review of what was done, I believe that the conclusions offered by Mr. Williams are contradicted by

 the evidence he reviewed.




I declare under penalty of perjury under the laws of the United States of America that the above and
foregoing is true and correct. Executed on August 18, 2015.




                                                          ________________________________

                                                                 Spencer C. Lynch




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                                                     2007                                        2008                                       2009                                       2010                                        2011                                          2012                                         2013                                         2014
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                 Gmail                                                                                                                                                                                                                                                                                                                                                                              Periods for which all email has
                                                                                                                                                                                                                                                                                                                                                                                                    been purportedly recovered.

                Verizon                                                                                                                                                                                                                                                                                                                                                                             No claims as to whether email
                                                                                                                                                                                                                                                                                                                                                                                                    is missing or complete.

          International Labour
                                                                                                                                                                                                                                                                                                                                                                                                    Periods for which there is
              Rights Forum
                                                                                                                                                                                                                                                                                                                                                                                                    purportedly missing email.
 Email
Account      C&S incoming                                                                                                                                                                                                                         March 17, 2011 ‐ March 22, 2013

             C&S outgoing


             IRA incoming                                June 21, 2007 ‐ May 19, 2008                             June 3, 2008 ‐ February 25, 2010                                                                                                         October 27, 2011 ‐ March 22, 2013

                                                         June 21, 2007 ‐                                                                                                                                                           May 17, 2011 ‐ February 3,
             IRA outgoing                                                                                                                                                                                                                                               February 22, 2012 ‐ March 22, 2013
                                                         January 6, 2008                                                                                                                                                                     2012




                                                                                                                       1. Dell Latitude laptop                                         3. Dell Optiplex desktop                                                                                                                            5. HP laptop
            Computer in use                                                                                                                                                 2. HP
                                                                                                                                                                           Compaq                                                                           4. MacBook laptop
                                                                                                                                                                           desktop




                Events


                                                                           June 2008                                                                                                                                 January 21, 2011                              January 20, 2012                                                                                December 8, 2014
                                                                       C&S migration from                                                                      April 30, 2010            December 22,                                                          Draft email showing that                April 23. 2013
                                                                                                                                                              Collingsworth's                 2010                CSC/CTSS assists with                                                                Collingsworth                                           A hard drive used in 2011
                                                                      GroupWise to Outlook.                                                                                                                           configuration of                          Collingsworth could not                                                                        to transfer Collingsworth
                                                                           (Exhibit B)                                                                             iPhone              Ryan notices that                                                       access emails archived on              instructs not to
                                                                                                                                                                configured to           Collingsworth's              MacBook, stores                                                                transfer email from                                       email is attached to a C&S
                                                                                                                                                                                                                   electronic data on a                               his MacBook.                                                                                     computer
                                                                                                                                                              send email from           Outlook archive                                                                 (Exhibit X)                    the MacBook
                                                                                                                                                               Verizon server.          folder is empty.          'remote attach drive'.                                                                (Exhibit BB)                                          (Williams April Declaration
                                                                                                                                                                 (Exhbiti H)               (Exhibit J)


                                                                                                                                                                                                                                                                                                                             June 2013                                Week of December 14,
                                                                                                                                                                                                                                                                                                                     Collingsworth gives away                                  2014
                                                                                                                                                                                                                                                        November 22, 2011                                            MacBook, which is later                           A hard drive is lost in
                                                                                                                                                                                                                       November 10, 2011                    Collingsworth                                                 stolen in Brazil.                            C&S DC office move
                                                                                                                                                                                                                       CSC/CTSS works on                 expresses concern                                          (Williams April Declaration                           (Williams April
                                                                                                                                                                                                                    Collingsworth's home PC,            about CSC/CTSS, and                                                at 78 and 120)
                                                                                                                                                                                                                    technician calls Verizon to         rejects cloud backup
                                                                                                                                                                                                                    obtain password required             proposal, insisting
                                                                                                                                                                                                                          for POP setup.                  instead on a hard
                                                                                                                                                                                                                            (Exhibit V)                  drive for storage of
                                                                                                                                                                                                                                                         sensitive material.
                                                                                                                                                                                                                                                             (Exhibit W)
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                    Exhibit 16
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                       FOR THE NORTHERN DISTRICT OF ALABAMA

                                     SOUTHERN DIVISION


                                                          )
DRUMMOND COMPANY, INC.                                    )
                                                          )
        Plaintiff,                                        )
                                                          )
v.                                                        ) Case No. 2:11-CV-3695-RDP
                                                          )
TERRENCE P. COLLINGSWORTH, individually                   )
and as an agent of Conrad & Scherer, LLP; and             )
CONRAD & SCHERER, LLP,                                    )
                                                          )
        Defendants.                                       )
                                                          )
                                                          )

     DEFENDANTS’ EIGHTH AMENDED AND SUPPLEMENTAL OBJECTIONS AND
      RESPONSES TO PLAINTIFF DRUMMOND COMPANY, INC.’S THIRD SET OF
                       INTERROGATORIES NUMBER 2

        Defendants TERRENCE P. COLLINGSWORTH and CONRAD & SCHERER, LLP
(collectively, “Defendants”) hereby submit their Eighth Amended and Supplemental Objections
and Responses to Plaintiff Drummond Company, Inc.’s (“Drummond’s”) Third Interrogatories,
dated February 11, 2014.
                                  GENERAL OBJECTIONS

         Defendants’ responses to Drummond’s Third Interrogatories (“Interrogatories”) are
subject to the following General Objections, as applicable. The General Objections are set forth
here to avoid the duplication and repetition of restating them for each Interrogatory. Defendants
are amending and supplementing the General Objections set forth in Defendants’ prior responses
to all Interrogatories. The General Objections set forth here supersede and govern Defendants’
responses to the extent that there are any inconsistencies between these General Objections and
prior General Objections. The failure to list any General Objection applicable within a specific
response should not be construed as a waiver of that General Objection.

        Defendants reserve the right to revise, correct, add to, supplement, modify or clarify any
of the responses or objections set forth herein.

        1. Defendants object to these Interrogatories to the extent they seek information or
materials that were generated, received or obtained by Defendants in anticipation of litigation, or
that are protected from discovery by the attorney-client privilege, the work product doctrine or
any other applicable privilege of discovery immunity. Such privileged or otherwise protected
information or materials includes the advice of counsel with respect to particular claims. Any


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inadvertent disclosure of such information or materials shall not be deemed a waiver of the
attorney-client privilege, the attorney work-product doctrine or any other applicable privilege or
doctrine.

        2. Defendants object to the Interrogatories to the extent they seek information or
documents not relevant to the subject matter of this lawsuit and not reasonably calculated to lead
to the discovery of admissible evidence. To the extent that Defendants produce information or
materials in response to these Interrogatories, Defendants do not concede that any such
information or materials are admissible in evidence or relevant to issues in this action.
Defendants reserve any and all objections to the use or admission of any information, materials
or documents contained, identified or produced in response to these Interrogatories.

        3. Defendants object to the Interrogatories to the extent they seek information that is
already in Drummond’s possession, custody or control or that is obtainable from another source
that is more convenient or less expensive.

       4. Defendants object to the Interrogatories to the extent they seek information or
documents that do not already exist, or information or documents that are not within Defendants’
possession, custody or control.

        5. Defendants object to these Interrogatories, including the “Definitions” and
“Instructions” contained in them, to the extent they purport to impose obligations in addition to,
or different from, those imposed by the Federal Rules of Civil Procedure and/or the Local Rules
of this Court.

       6. Defendants object to these Interrogatories to the extent they seek information
containing confidential, proprietary or sensitive business information.

        7. Defendants’ responses and objections to the Interrogatories are based on information
now known to Defendants. Defendants have not yet completed their search for relevant
documents, their discovery of the facts in this lawsuit or their preparation for trial, and therefore,
reserves the right to amend, modify or supplement its responses and objections if Defendants
learn of new information.

       8. Defendants object to the Interrogatories to the extent they seek information after
December 31, 2012. Unless otherwise noted, the responses to these Interrogatories will relate to
information before December 31, 2012.

                                             ANSWER

INTERROGATORY NO. 2

       Identify every instance in which Defendants (or any member of their litigation team)

have offered to provide assistance (regardless of whether such assistance was actually provided)

to any witness, any relative or friend of any witness, any Colombian paramilitary, or any relative
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of any Colombian paramilitary. For purposes of this interrogatory, "assistance" is meant to

include, but not be limited to, solicitation of business proposals, legal advice, payment of

attorneys' fees, provision of any attorney, prison transfers, negotiations or other communications

with Colombian prosecutors, offers to communicate with contacts in Washington, D.C., offers to

assist in requests for extradition, offers to communicate with the FBI, and assistance with

sentencing.

AMENDED AND SUPPLEMENTAL OBJECTIONS AND RESPONSE:

       Defendants incorporate the General Objections above and the Objections set forth in their

response dated November 24, 2014, as if fully stated herein. Defendants object to the

Interrogatory to the extent that it seeks information that is protected by the attorney-client or

attorney work product doctrine or any other applicable privilege. Defendants object to the

phrase “to any witness, any relative or friend of any witness” as vague, ambiguous, and overly

broad. For example, there have been allegations of payments to witnesses with fact testimony

when in fact the individuals were not witnesses with fact testimony. Further, the identification of

non-fact witnesses in unrelated matters is privileged work product and in this case, could impact

the safety of the individuals involved. Defendants object to the term “witness” as applied to

plaintiffs or potential plaintiffs in Romero, Balcero, Baloco or Melo, as those individuals

typically did not have information about Drummond. Subject to that objection, in this response,

when Defendants use the term plaintiff or potential plaintiff they are referring only to individuals

who could serve in that role in the cases of Romero, Balcero, Baloco or Melo. Moreover, much

of the information sought by this Interrogatory is irrelevant and not reasonably calculated to lead

to the discovery of admissible evidence.




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       Although the term “offer of assistance” is extremely vague and Defendants are not

required to provide anything other than concrete offers, out of an abundance of caution,

Defendants are hereby providing information beyond the scope of the interrogatory posed.

       Subject to and without waiving the foregoing general and specific objections, Defendants

respond as follows.

1.     Jaime Blanco Maya

       A.      Defendant Collingsworth

       After reviewing additional documents, I see that Mr. Van Bilderbeek sent $60,000 to Mr.

Otero in about September 2011, which I understand to have been, at least in part, for Mr. Blanco.

       B.      Defendant Conrad & Scherer, LLP

       Defendant Conrad & Scherer, LLP does not have any independent knowledge as to the

payments made by Mr. Van Bilderbeek to Mr. Blanco via Mr. Otero. William Scherer,

managing partner of Conrad & Scherer, LLP, did not know of the information detailed above in

Defendant Collingsworth’s response. Mr. Scherer only just learned about this in the course of

preparing this supplementary response.




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I declare under penalty of perjury that the foregoing Interrogatory Response 1A is true and
correct to the best of my knowledge.




__________________________
Terrence P. Collingsworth




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 19th day of August 2015, I caused a true and correct copy of

the foregoing DEFENDANTS’ EIGHTH AMENDED AND SUPPLEMENTAL RESPONSES

AND OBJECTIONS TO PLAINTIFF’S THIRD SET OF INTERROGATORIES NUMBER 2 to

be served on the following parties electronically:


   William Anthony Davis, III, Esq.
   H. Thomas Wells, III, Esq.
   Benjamin T. Presley
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   Birmingham, Alabama 35259
   tdavis@starneslaw.com
   htw@starneslaw.com
   btp@starneslaw.com

   Sara E Kropf
   LAW OFFICE OF SARA KROPF PLLC
   1001 G Street NW, Suite 800
   Washington, D.C. 20001
   sara@kropf-law.com

   Counsel for Plaintiff


                                                     s/ Christopher S. Niewoehner
                                                     Christopher S. Niewoehner




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                      FOR THE NORTHERN DISTRICT OF ALABAMA

                                     SOUTHERN DIVISION


                                                          )
DRUMMOND COMPANY, INC.                                    )
                                                          )
       Plaintiff,                                         )
                                                          )
v.                                                        ) Case No. 2:11-CV-3695-RDP
                                                          )
TERRENCE P. COLLINGSWORTH, individually                   )
and as an agent of Conrad & Scherer, LLP; and             )
CONRAD & SCHERER, LLP,                                    )
                                                          )
       Defendants.                                        )
                                                          )
                                                          )

     DEFENDANTS’ NINTH AMENDED AND SUPPLEMENTAL OBJECTIONS AND
     RESPONSES TO PLAINTIFF DRUMMOND COMPANY, INC.’S THIRD SET OF
                      INTERROGATORIES NUMBER 2

        Defendants TERRENCE P. COLLINGSWORTH and CONRAD & SCHERER, LLP
(collectively, “Defendants”) hereby submit their Ninth Amended and Supplemental Objections
and Responses to Plaintiff Drummond Company, Inc.’s (“Drummond’s”) Third Interrogatories,
dated February 11, 2014.
                                  GENERAL OBJECTIONS

         Defendants’ responses to Drummond’s Third Interrogatories (“Interrogatories”) are
subject to the following General Objections, as applicable. The General Objections are set forth
here to avoid the duplication and repetition of restating them for each Interrogatory. Defendants
are amending and supplementing the General Objections set forth in Defendants’ prior responses
to all Interrogatories. The General Objections set forth here supersede and govern Defendants’
responses to the extent that there are any inconsistencies between these General Objections and
prior General Objections. The failure to list any General Objection applicable within a specific
response should not be construed as a waiver of that General Objection.

        Defendants reserve the right to revise, correct, add to, supplement, modify or clarify any
of the responses or objections set forth herein.

        1. Defendants object to these Interrogatories to the extent they seek information or
materials that were generated, received or obtained by Defendants in anticipation of litigation, or
that are protected from discovery by the attorney-client privilege, the work product doctrine or
any other applicable privilege of discovery immunity. Such privileged or otherwise protected
information or materials includes the advice of counsel with respect to particular claims. Any


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inadvertent disclosure of such information or materials shall not be deemed a waiver of the
attorney-client privilege, the attorney work-product doctrine or any other applicable privilege or
doctrine.

        2. Defendants object to the Interrogatories to the extent they seek information or
documents not relevant to the subject matter of this lawsuit and not reasonably calculated to lead
to the discovery of admissible evidence. To the extent that Defendants produce information or
materials in response to these Interrogatories, Defendants do not concede that any such
information or materials are admissible in evidence or relevant to issues in this action.
Defendants reserve any and all objections to the use or admission of any information, materials
or documents contained, identified or produced in response to these Interrogatories.

        3. Defendants object to the Interrogatories to the extent they seek information that is
already in Drummond’s possession, custody or control or that is obtainable from another source
that is more convenient or less expensive.

       4. Defendants object to the Interrogatories to the extent they seek information or
documents that do not already exist, or information or documents that are not within Defendants’
possession, custody or control.

        5. Defendants object to these Interrogatories, including the “Definitions” and
“Instructions” contained in them, to the extent they purport to impose obligations in addition to,
or different from, those imposed by the Federal Rules of Civil Procedure and/or the Local Rules
of this Court.

       6. Defendants object to these Interrogatories to the extent they seek information
containing confidential, proprietary or sensitive business information.

        7. Defendants’ responses and objections to the Interrogatories are based on information
now known to Defendants. Defendants have not yet completed their search for relevant
documents, their discovery of the facts in this lawsuit or their preparation for trial, and therefore,
reserves the right to amend, modify or supplement its responses and objections if Defendants
learn of new information.

       8. Defendants object to the Interrogatories to the extent they seek information after
December 31, 2012. Unless otherwise noted, the responses to these Interrogatories will relate to
information before December 31, 2012.

                                             ANSWER

INTERROGATORY NO. 2

       Identify every instance in which Defendants (or any member of their litigation team)

have offered to provide assistance (regardless of whether such assistance was actually provided)

to any witness, any relative or friend of any witness, any Colombian paramilitary, or any relative
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of any Colombian paramilitary. For purposes of this interrogatory, "assistance" is meant to

include, but not be limited to, solicitation of business proposals, legal advice, payment of

attorneys' fees, provision of any attorney, prison transfers, negotiations or other communications

with Colombian prosecutors, offers to communicate with contacts in Washington, D.C., offers to

assist in requests for extradition, offers to communicate with the FBI, and assistance with

sentencing.

AMENDED AND SUPPLEMENTAL OBJECTIONS AND RESPONSE:

       Defendants incorporate the General Objections above and the Objections set forth in their

response dated November 24, 2014, as if fully stated herein. Defendants object to the

Interrogatory to the extent that it seeks information that is protected by the attorney-client or

attorney work product doctrine or any other applicable privilege. Defendants object to the

phrase “to any witness, any relative or friend of any witness” as vague, ambiguous, and overly

broad. For example, there have been allegations of payments to witnesses with fact testimony

when in fact the individuals were not witnesses with fact testimony. Further, the identification of

non-fact witnesses in unrelated matters is privileged work product and in this case, could impact

the safety of the individuals involved. Defendants object to the term “witness” as applied to

plaintiffs or potential plaintiffs in Romero, Balcero, Baloco or Melo, as those individuals

typically did not have information about Drummond. Subject to that objection, in this response,

when Defendants use the term plaintiff or potential plaintiff they are referring only to individuals

who could serve in that role in the cases of Romero, Balcero, Baloco or Melo. Moreover, much

of the information sought by this Interrogatory is irrelevant and not reasonably calculated to lead

to the discovery of admissible evidence.




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       Although the term “offer of assistance” is extremely vague and Defendants are not

required to provide anything other than concrete offers, out of an abundance of caution,

Defendants are hereby providing information beyond the scope of the interrogatory posed.

       Subject to and without waiving the foregoing general and specific objections, Defendants

respond as follows.

1.     Jaime Blanco Maya

       A.      Defendant Collingsworth

       After reviewing additional documents, Mr. Collingsworth sees that Mr. Van Bilderbeek

sent $25,000 to Mr. Otero in about December 2011, which Mr. Collingsworth understands to

have been, at least in part, for Mr. Blanco.

       B.      Defendant Conrad & Scherer, LLP

       Defendant Conrad & Scherer, LLP does not have any independent knowledge as to the

payments made by Mr. Van Bilderbeek to Mr. Blanco via Mr. Otero. William Scherer,

managing partner of Conrad & Scherer, LLP, did not know of the information detailed above in

Defendant Collingsworth’s response. Mr. Scherer only just learned about this in the course of

preparing this supplementary response.




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I declare under penalty of perjury that the foregoing Interrogatory Response 1A is true and
correct to the best of my knowledge.




__________________________
Terrence P. Collingsworth




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As to objections,

/s/Christopher S. Niewoehner
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                    CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 25th day of August, 2015, I caused a true and correct copy of

the foregoing DEFENDANTS’ NINTH AMENDED AND SUPPLEMENTAL RESPONSES

AND OBJECTIONS TO PLAINTIFF’S THIRD SET OF INTERROGATORIES NUMBER 2 to

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